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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                         www.flsb.uscourts.gov

In re:                                                                             Chapter 11

COSTA HOLLYWOOD PROPERTY OWNER, LLC1                                               Case No. 19-22483-AJC
      Debtor.
_____________________________________________/

                           SUMMARY OF FIRST INTERIM APPLICATION
                              OF MELAND RUSSIN & BUDWICK, P.A.

1.       Name of Applicant:       Meland Russin & Budwick, P.A.
2.       Role of Applicant:       Counsel for Debtor in Possession
3.       Name of Certifying Professional:
                                  Peter D. Russin, Esquire
4.       Date case filed:         September 19, 2019
5.       Date of Retention Order: October 23, 2019 [ECF No. 113],
                                  nunc pro tunc to the Petition Date
IF INTERIM APPLICATION, COMPLETE 6, 7 AND 8 BELOW:
6.   Period for this Application:    September 19, 2019 to January 31, 2020
7.   Amount of Compensation Sought:  $393,552.00
8.   Amount of Expense Reimbursement $5,211.53
     Sought:
IF FINAL APPLICATION, COMPLETE 9 AND 10 BELOW:
9.       Total Amount of Compensation Sought                    N/A
         during case:
10.      Total Amount of Expense                                N/A
         Reimbursement Sought during case:
11.      Amount of Original Retainer (s) Please                 $0
         disclose both Fee Retainer and Cost
         Retainer if such a Retainer has been
         received:
12.      Current Balance of Retainer(s) remaining:              $02
13.      Last monthly operating report filed                    January 2020 [ECF No. 238]
         (Month/Year and ECF No.):
14.      If case is Chapter 11, current funds in the            $ 309,212.82 per ECF No. 238
         Chapter 11 estate:
15.      If case is Chapter 7, current funds held by            N/A
         Chapter 7 trustee:

1
  The Debtor’s current mailing address is 777 North Ocean Drive, Hollywood, FL 33019. The Debtor’s EIN is 47-
4883778.
2
  Prepetition, MRB waived fees and costs due totaling $75,016.03.
                                                            1
                                     LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
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                                          First Interim Application

        Meland Russin & Budwick, P.A. (“MR&B”), counsel to the Debtor in Possession,

applies for compensation for fees for services rendered and costs incurred in this Chapter 11

proceeding. This application is filed pursuant to 11 U.S.C. §331 and Bankruptcy Rule 2016 and

meets all of the requirements set forth in the Guidelines incorporated in Local Rule 2016-

1(B)(1). The exhibits attached to this application, pursuant to the Guidelines, are:

        Exhibit "1" – Fee Application Summary Chart

        Exhibits “2-A” and “2-B”- Summary of Professional and Paraprofessional Time.

        Exhibit "3" - Summary of Requested Reimbursements of Expenses.

        Exhibit "4" - The applicant's complete time records, in chronological order, by activity
code category, for the time period covered by this application. The requested fees are itemized to
the tenth of an hour.

                                             Summary of Services

        1.       While this application seeks only compensation for post-petition services

rendered to the Debtor from September 19, 2019 through and including January 31, 2020, it is

important to understand the history of this Debtor, how it ended up in bankruptcy, and the

extensive pre-petition services rendered by applicant.

        2.       Pre-petition, on or about April 23, 2019, 777 N. Ocean Dr. LLC (the “Secured

Lender”) filed a six-count complaint against the Debtor (and 12 other defendants)3 for, among

other things, foreclosure of its mortgage and appointment of a receiver. Between April 23, 2019

and September 18, 2019, the Debtor and the Secured Lender engaged in extensive negotiations

involving both the filing of bankruptcy and potential ways to avoid bankruptcy. As is clear,

given the very difficult situation the Debtor found itself in – facing appointment of a receiver and


3
 In July 2019, the complaint was amended to, among other things, name additional defendants, bringing the total
number of defendants to 15 (including the Debtor).
                                                          2
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lengthy foreclosure litigation with many creditors and potential significant additional litigation –

ultimately the Debtor and applicant determined that bankruptcy was the best option for the

Debtor and all of its creditors. As set forth more fully in the application to employ applicant

[ECF No. 21], applicant waived fees and costs totaling over $75,000 for pre-petition services

rendered to the Debtor.

       3.       The applicant believes that the requested fee of $393,552.00 for 924.1 hours

worked for the period of time from September 19, 2019 and January 31, 2020, is reasonable

considering the nature, extent, and the value of such services, taking into account all relevant

factors, including:

                a)       The time spent on such services.

       Many of the fee categories are interrelated. However, MR&B has attempted to categorize

its services as follows:

                         i)        Case Administration. MR&B devoted 72.3 hours for a total of

                $22,183 towards case administration. This time includes advising and counseling

                the Debtor regarding matters concerning the administration of this case; drafting

                and filing pleadings and other legal papers required under the Bankruptcy Code,

                the Federal Rules of Bankruptcy Procedure and the Local Rules of this Court

                relating to the administration of the Debtor's estate and making Court appearances

                in connection with those filings; numerous calls and meetings with the Debtor

                regarding status and strategy and overall management of the bankruptcy case,

                amending the Debtor’s schedules, attending to exclusivity issues, and attending to

                issues relating to the administration of this Debtor’s estate. Additionally, MR&B

                reviewed and responded to motions for stay relief and successfully defeated the


                                                         3
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             United States Trustee’s (I) Emergency Motion to Dismiss or Convert this Case to

             Chapter 7 or Alternatively, to Direct the Appointment of a Chapter 11 Trustee and

             (II) Request for an Expedited Hearing [ECF No. 46] and non-substantive joinders

             were filed by various parties, including the hotel manager Evolution Hospitality,

             LLC at ECF Nos. 49, 51-68.

                      ii)       DIP Reports/AUST Guidelines. MR&B devoted 41.5 hours for a

             total of $15,357 towards compliance with the US Trustee Guidelines, and

             attention to, review and e-filing of monthly DIP reports for the Debtor.

                      iii)      Claims. MR&B devoted 18.7 hours for a total of $6,876.50

             towards the review and attention to claims and research. This time also includes

             analysis of claims (including reviewing claims to determine which may be

             executory), preparing a table of creditors, calls with claimants, and attention to

             various specific alleged claims.

                      iv)       Plan/Disclosure Statement. MR&B devoted 216.2 hours for a

             total of $93,312.50 towards the analysis, research, strategy and preparation of the

             Debtor’s draft disclosure statement and plan of liquidation and related documents.

             This time includes, among other things: (A) multiple rounds of drafting and

             negotiating: (i) a stalking horse purchase and sale agreement with counsel and

             local counsel the Secured Lender; (ii) the Debtor’s disclosure statement; (iii) the

             Debtor’s Chapter 11 plan of liquidation; (iv) a proposed liquidating trust

             agreement; (B) preparing the Debtor’s liquidation analysis; (C) considering the

             assumption and rejection of executory contracts; (D) multiple rounds of

             negotiation and drafting a Motion for Entry of (A) an Order Approving Bidding


                                                      4
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             Procedures, (B) Approving Certain Protections to Stalking Horse Purchaser, (C)

             Approving Notice Procedures, and (D) and Order (I) Approving the Authorizing

             the Sale of All or Substantially All of the Assets of the Debtor Free and Clear of

             All Liens, Claims, Encumbrances and other Interests, (III) Authorizing the

             Assumption and Assignment of Certain Executory Contracts and Unexpired

             Leases, (IV) Scheduling Dates to Conduct Auction and Hearing to Consider Final

             Approval of Sale, and (V) Granting Related Relief (and related pleadings); and

             (E) working on extensive service issues relating the Debtor’s Chapter 11 plan

             package given the number of interested parties required to be served.

                      v)        Fee Application/Employment. MR&B devoted 35.9 hours for a

             total of $11,400.50 towards the preparation of retention applications, affidavits

             and orders for itself, Robb E. Udell, Esq. and Rennert Vogel Mandler &

             Rodriguez, P.A. as Special Tax Appeal Counsel, and of Michael R. Kassower,

             Esq. and Frank Weinberg Black, P.L. as Special Counsel. MR&B further prepared

             this interim fee application.

                      vi)       Business Operations. MR&B devoted 472.8 hours for a total of

             $216,307.50 towards operational issues. This time includes preparing and

             negotiating (with the Secured Lender) the approval of an operating budget and

             dealing with numerous funding issues, including critical DIP financing. MR&B

             has also had to address a number of unanticipated issues relating to operations,

             including for example, expedited payment of heavily discounted real estate taxes

             following a successful tax appeal [see ECF No. 242]. In all, MR&B devoted

             numerous hours negotiating budget, critical vendor, shared facilities operating and


                                                      5
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                other critical operational issues, without which the Debtor would have likely had

                to cease operations.

                         vii)      Litigation. MR&B devoted 66.7 hours for a total of $28,115

                towards litigation. The majority of this time includes addressing litigation issues

                that arose prior to retention of special counsel, addressing a motion to dismiss

                filed by the U.S. Trustee [see ECF No. 46], addressing and responding to multiple

                stay relief motions, addressing stay relief violations, addressing and responding to

                motions filed by purported creditor Costa Investors LLC to extend time to object

                to dischargeability [ECF No. 196] and compel the Debtor’s 2004 examination

                [ECF No. 197], and addressing and responding to numerous litigation issues for

                which bankruptcy counsel involvement or input was necessary post-retention of

                special counsel.

                b)       The rates charged for such services.

       MR&B is requesting the amount of $393,552.00 in attorneys’ fees for services rendered.

MR&B logged a total of 924.1 hours at hourly rates ranging from $180 for paralegals to $695 for

partners. The transcribed time records and details of services rendered by MR&B are attached

hereto as Exhibit 4. A summary of the hours is attached as Exhibit 2-A and 2-B.

       All attorneys and legal assistants of MR&B record the time expended in the rendition of

professional services for the Debtor by recording a detailed description of such professional

services rendered. Exhibit 4 does not include any time spent by secretaries or staff in providing

support services, which were substantial.

       All professionals involved in the rendering of services in this proceeding avoided any

unnecessary duplication of work and time expended. A substantial amount of time incurred by


                                                         6
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Peter D. Russin, Esquire, was either not recorded or written down in order to avoid any potential

duplicate time charges to the estate.

                c)     Whether the services were necessary to the administration of, or beneficial
       at the time at which the service was rendered toward the completion of the case.

       The services performed by MR&B on behalf of the Debtor were necessary and beneficial

towards the completion of this case. As detailed above, such services included drafting and filing

a Chapter 11 plan of liquidation and disclosure statement, negotiating related matters including a

potential sale of substantially all of the Debtor’s extensive assets to a stalking horse bidder, and

dealing with day to day operational issues of the Debtor.

              d)    Whether the services were performed within a reasonable amount of time
       commensurate with the complexity, importance, and nature of the problem, issue, or task
       addressed.

       The services performed by MR&B were within a reasonable amount of time, and

commensurate with the complexity and importance of this large Chapter 11 case.

               e)     With respect to a professional person, whether the person is board certified
       or otherwise has demonstrated skill and experience in the bankruptcy field.

       MR&B is a specialized commercial litigation and transactional firm having substantial

experience in bankruptcy. MR&B represents clients throughout the Southern District of Florida

and appears regularly in the Southern District Bankruptcy Courts. The quality of work performed

by MR&B in this proceeding attests to the firm’s experience, reputation and ability.

       Peter D. Russin obtained his B.A. degree with departmental honors in 1985 from Tulane

University. He received his J.D. degree in 1988 from The George Washington University

National Law Center, where he was a member of the Moot Court Board and was the winner of

the 1987 Van Vleck Advanced Moot Court Competition. Mr. Russin was admitted to the Florida

Bar in 1988, and is admitted to practice before the United States District Court and United States


                                                         7
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Bankruptcy Court for the Southern District of Florida. He is a member of the Dade County Bar

Association and was the President of the Bankruptcy Bar Association of the Southern District of

Florida, and a member of the UCC/Bankruptcy Committee of the Business Law Section of the

Florida Bar. Mr. Russin has lectured throughout the State of Florida on bankruptcy topics and

has published several articles on bankruptcy issues. Mr. Russin is AV rated by Martindale

Hubbell and highly ranked by Chambers.

       James C. Moon obtained his B.G.S. from the University of Connecticut in 1995. He

received his J.D. from the University of Connecticut School of Law (with Honors) in 2000. Mr.

Moon was a member, editor and published author of the Connecticut Law Review, a member of

the Connecticut Moot Court Board, and won the 1998 Alva P. Loiselle Moot Court Competition.

Mr. Moon was admitted to the Connecticut bar in 2000, the New York bar in 2001, and the

Florida bar in 2004, and is admitted to practice before the United States District and Bankruptcy

Courts for the Southern and Eastern Districts of New York and the United States District and

Bankruptcy Courts for the Southern and Middle Districts of Florida. Mr. Moon is a past-

president of the Bankruptcy Bar Association for the Southern District of Florida. Mr. Moon is

AV rated by Martindale-Hubbell.

       Meaghan E. Murphy obtained her B.S. from the University of Idaho in 2008. She

received her J.D. from the University of Miami School of School (magna cum laude) in 2012.

Ms. Murphy was a member and managing editor of the Psychology, Public Policy & Law

Journal, and is a member of the Order of the Coif. Ms. Murphy was admitted to the Florida bar in

2013 and is admitted to practice before the United States District and Bankruptcy Courts for the

Southern District of Florida. Ms. Murphy has co-authored several articles published in the

American Bankruptcy Institute Journal.


                                                         8
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                f)  Whether the compensation is reasonable based on the customary
       compensation charged by comparably skilled practitioners in cases other than cases under
       title 11.

       The rates charged by the attorneys providing services to the Debtor are well within the

reasonable range for hourly rates charged by attorneys of comparable skills in bankruptcy

proceedings in the Southern District of Florida.

       The applicant represents that the fees applied for are in conformity with the fees allowed

in similar proceedings for similar services rendered and results obtained. MR&B respectfully

requests that the Court take notice of the awards which have been made in similar proceedings.

       4.        The applicant seeks an award of fees in the amount of $393,552.00 and costs in

the amount of $5,114.96.

       WHEREFORE, MR&B requests the Court to enter an Order (i) awarding, on an interim

basis, the sum of $393,552.00 for fees and $5,114.96 for costs incurred between September 19,

2019 and January 31, 2020, for a total of $398,763.53; (ii) authorizing and directing the Debtor

to immediately pay applicant such amounts awarded subject to any applicable and standard

holdbacks; and (iii) granting such other and further relief as the Court deems appropriate.

                                             CERTIFICATION

       1.        I have been designated by Meland Russin & Budwick, P.A. (the “Applicant”) as

the professional with responsibility in this case for compliance with the “Guidelines for Fee

Applications for Professionals in the Southern District of Florida in Bankruptcy Cases” (the

"Guidelines").

       2.        I have read the Applicant's application for compensation and reimbursement of

expenses (the "Application"). The application complies with the Guidelines, and the fees and




                                                         9
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Expenses sought fall within the Guidelines, except as specifically noted in this certification and

described in the application.

       3.       The fees and expenses sought are billed at rates and in accordance with practices

customarily employed by the Applicant and generally accepted by the Applicant's clients.

       4.       In seeking reimbursement for the expenditures described on Exhibit 3, the

Applicant is seeking reimbursement only for the actual expenditure and has not marked up the

actual cost to provide a profit or to recover the amortized cost of investment in staff time or

equipment or capital outlay (except to the extent that the Applicant has elected to charge for in-

house photocopies and outgoing facsimile transmissions at the maximum rates permitted by the

Guidelines).

       5.       In seeking reimbursement for any service provided by a third party, the Applicant

is seeking reimbursement only for the amount actually paid by the Applicant to the third party.

       6.       The following are the variances with the provisions of the Guidelines, the date of

each court order approving the variance, and the justification for the variance: none.




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                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Local Rule 2002-1(F), a true and correct copy

of the foregoing was served on March 20, 2020, to Registered Users via the Court’s Notice of

Electronic Filing as set forth on the attached Exhibit A and via U.S. Mail on the Manual Notice

List. A copy will be served by U.S. Regular Mail along with the Notice of Hearing once

docketed and a certificate of service will be filed.

                                                              s/ Peter D. Russin
                                                              Peter D. Russin, Esquire
                                                              Florida Bar No. 765902
                                                              prussin@melandrussin.com
                                                              MELAND RUSSIN & BUDWICK, P.A.
                                                              3200 Southeast Financial Center
                                                              200 South Biscayne Boulevard
                                                              Miami, Florida 33131
                                                              Telephone: (305) 358-6363
                                                              Telecopy: (305) 358-1221

                                                              Attorneys for Debtor in Possession




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 EXHIBIT A

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email
notice/service for this case.

      Alejandro R Alvarez service@ara-lawfirm.com
      Scott Andron sandron@broward.org
      Robert C. Arnold bob@thevictorialawgroup.com, bankruptcy@thevictorialawgroup.com
      Eric N Assouline ena@assoulineberlowe.com, ah@assoulineberlowe.com
      Paul J. Battista pbattista@gjb-law.com, gjbecf@gjb-law.com;chopkins@gjb-
       law.com;jzamora@gjb-law.com;gjbecf@ecf.courtdrive.com;vlambdin@gjb-law.com
      Jeffrey S. Berlowitz jberlowitz@siegfriedrivera.com, jortega@siegfriedrivera.com
      Yasin Daneshfar ydaneshfar@bplegal.com,
       ecuellar@bplegal.com;kbrown@bplegal.com;FTLefile@bplegal.com;tfritz@beckerlawyers.c
       om
      Steven M Davis sdavis@bplegal.com
      Darin A DiBello dibello@fasidibellolaw.com, perry@fasidibellolaw.com
      Michael P Dunn michael.dunn@dunnlawpa.com,
       rbasnueva@dunnlawpa.com;mzucker@dunnlawpa.com
      Julie Feigeles jf@womenatlawfl.com, way@womenatlawfl.com
      Jerold C Feuerstein jfeuerstein@kandfllp.com,
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      Brandon J Hechtman bhechtman@wickersmith.com
      Kimberly H Israel kisrael@mcglinchey.com, jglus@mcglinchey.com
      Mark Journey mjourney@broward.org, swulfekuhle@broward.org
      Michael R Kassower mkassower@fwblaw.net, mrothman@fwblaw.net
      Andrew V Layden alayden@bakerlaw.com,
       orlbankruptcy@bakerlaw.com;cmartin@bakerlaw.com
      Mendy Lieberman mmlegalpa@gmail.com,
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       leveylaw.com
      James C. Moon jmoon@melandrussin.com,
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       aum@ecf.courtdrive.com;phornia@ecf.courtdrive.com
      Meaghan E Murphy mmurphy@melandrussin.com,
       ltannenbaum@melandrussin.com;mrbnefs@melandrussin.com;mmurphy@ecf.courtdrive.co
       m
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
      Alberto H Orizondo aorizondo@aglawpa.com, bfernandez@aglawpa.com
      Alexander S Orlofsky alex@orlofskylawfirm.com
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      Christina V Paradowski cvp@trippscott.com,
       bankruptcy@trippscott.com;hbb@trippscott.com
      Meghan E Paraschak meghan@orlofskylawfirm.com
      Chad P Pugatch cpugatch.ecf@rprslaw.com
      Alexis S Read alexis.read@dunnlawpa.com, asr@alexisreadlaw.com
      Humberto E Rivera humberto@hriveralaw.com,
       G61034@notify.cincompass.com;humberto@ecf.courtdrive.com
      Raymond L Robinson teri@rrobinsonlaw.com, ray@rrobinsonlaw.com
      Victor K Rones vrones@victorkronespa.com, jrones@victorkronespa.com
      Peter D. Russin prussin@melandrussin.com,
       ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltannen
       baum@ecf.courtdrive.com;phornia@ecf.courtdrive.com
      Zana Michelle Scarlett Zana.M.Scarlett@usdoj.gov
      James Schwitalla jwscmecf@bellsouth.net,
       miamibkcmyecf@gmail.com;schwitallajr74031@notify.bestcase.com
      Zach B Shelomith zbs@lsaslaw.com,
       fpd@lsaslaw.com;info@lsaslaw.com;zshelomith@ecf.inforuptcy.com
      Andrew D. Zaron azaron@leoncosgrove.com, jgomez@leoncosgrove.com

Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service for this case
(who therefore require manual noticing/service).

       Michael R. Kassower
       FRANK WEINBERG & BLACK, P.L.
       7805 SW 6th Court
       Plantation, FL 33324

       Jairo Romero
       16979 NW 19th Street
       Pembroke Pines, FL 33028

       Robb Udell
       100 SE 2nd ST 29th Flr
       Miami, FL 33131
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                                                 FEE APPLICATION SUMMARY CHART - EXHIBIT 1
REQUEST                                                        APPROVAL                                        PAID                          HOLDBACK

                        Period         Fees         Expenses   Date Order                 Fees     Expenses        Fees           Expenses         Fees         Expenses
  Date Filed   ECF #   Covered       Requested     Requested    Entered     ECF #       Approved   Approved        Paid             Paid         Holdback       Holdback

N/A




TOTALS:                          $           -     $     -                          $         -    $     -     $          -   $         -    $         -    $         -
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                           Summary of Professional and Paraprofessional Time Total
                                       per Individual for this Period Only
                                                (EXHIBIT “2-A”)
[If this is a final application, and does not cumulate fee details from prior interim applications, then a
separate Exhibit 1-A showing cumulative time summary from all applications is attached as well]

                                                                            Average
                         Partner, Associate           Year   Total          Hourly
Name                     or Paraprofessional        Licensed Hours          Rate*              Fee
Peter D. Russin          Partner                                   66.2       $695.00          $46,009.00
James C. Moon            Partner                                  481.4       $492.46         $237,798.00
Meaghan Murphy           Associate                                159.3       $354.38          $56,388.00
Marianne Callaos         Associate                                  7.9       $297.50           $2,338.50
Bryan N Vega             Associate                                  1.8       $325.00            $585.00
Lisa Tannenbaum          Paraprofessional                         163.1       $255.90          $41,713.50
Patricia Hornia          Paraprofessional                          11.2       $245.00           $2,744.00
Melissa Ramos            Paraprofessional                           33        $180.00           $5,940.00
Irene Hernandez          Paraprofessional                           0.2       $180.00              $36.00
                                                   Blended Hourly Rate       $425.88
                                   TOTAL HOURS AND FEES: 924.1                                $393,552.00
*Indicate any changes in hourly rate and the date of such change:
                                          Rates:       2019 1/1/2020
                        Peter D. Russin           $695.00     $695.00
                        James C. Moon             $495.00     $495.00
                        Meaghan Murphy            $350.00     $365.00
                        Marianne Callaos          $295.00     $305.00
                        Bryan N Vega              $325.00     $325.00
                        Lisa Tannenbaum           $255.00     $260.00
                        Patricia Hornia           $245.00     $245.00
                        Melissa Ramos             $180.00     $180.00
                        Irene Hernandez           $180.00     $180.00
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                    Summary of Professional and Paraprofessional Time by
                       Activity Code Category for this Time Period Only
                                       (EXHIBIT “2-B”)

CATEGORY: 5589-2 Case Admin
            Name                                      Rate      Hours      Fees
Partners:   Peter D. Russin                             $695.00        8.6    $5,977.00
            James C. Moon                               $495.00        1.8      $891.00
Associates  Meaghan Murphy                              $350.00        4.9    $1,715.00
Paralegals: Lisa Tannenbaum                             $260.00        9.7    $2,522.00
                                                        $255.00       31.5    $8,032.50
              Patricia Hornia                           $245.00        3.1      $759.50
              Melissa Ramos                             $180.00       12.7    $2,286.00
              Irene Hernandez                           $170.00                   $0.00
                                   CATEGORY SUBTOTAL:                 72.3 $22,183.00

CATEGORY: 5589-3 UST/DIP
            Name                                      Rate      Hours      Fees
Partners:   Peter D. Russin                             $695.00        1.0      $695.00
            James C. Moon                               $495.00       17.1    $8,464.50
Associates  Meaghan Murphy                              $365.00        0.4      $146.00
                                                        $350.00        2.0      $700.00
Paralegals:   Lisa Tannenbaum                           $260.00        0.8      $208.00
                                                        $255.00       20.1    $5,125.50
              Melissa Ramos                             $180.00        0.1       $18.00
                                   CATEGORY SUBTOTAL:                 41.5 $15,357.00

CATEGORY: 5589-4 Claims
            Name                                      Rate      Hours      Fees
Partners:   Peter D. Russin                             $695.00        2.5    $1,737.50
            James C. Moon                               $495.00        2.7    $1,336.50
Associates  Meaghan Murphy                              $365.00        2.0      $730.00
                                                        $350.00        1.8      $630.00
Paralegals:   Lisa Tannenbaum                           $260.00        2.8      $728.00
                                                        $255.00        6.3    $1,606.50
              Melissa Ramos                             $180.00        0.6      $108.00
                                   CATEGORY SUBTOTAL:                 18.7    $6,876.50
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CATEGORY: 5589-5 Plan/Disclosure Statement
            Name                                     Rate      Hours      Fees
Partners:   Peter D. Russin                            $695.00       25.6 $17,792.00
            James C. Moon                              $495.00       90.9 $44,995.50
Associates  Meaghan Murphy                             $365.00       25.7    $9,380.50
                                                       $350.00       20.1    $7,035.00
              Marianne Callaos                         $305.00        0.8      $244.00
                                                       $295.00        7.1    $2,094.50
              Bryan N. Vega                            $325.00        1.3      $422.50
Paralegals:   Lisa Tannenbaum                          $260.00        3.5      $910.00
                                                       $255.00       40.3 $10,276.50
              Melissa Ramos                            $180.00        0.9      $162.00
                                  CATEGORY SUBTOTAL:               216.2 $93,312.50

CATEGORY: 5589-7 Fee App/Employ
            Name                                     Rate      Hours      Fees
Partners:   Peter D. Russin                            $695.00        1.0      $695.00
            James C. Moon                              $495.00        5.7    $2,821.50
Associates  Meaghan Murphy                             $365.00        0.2       $73.00
                                                       $350.00        8.2    $2,870.00
Paralegals:   Lisa Tannenbaum                          $260.00        7.1    $1,846.00
                                                       $255.00        5.7    $1,453.50
              Patricia Hornia                          $245.00        3.1      $759.50
              Melissa Ramos                            $180.00        4.9      $882.00
                                  CATEGORY SUBTOTAL:                 35.9 $11,400.50

CATEGORY: 5589-8 Business Operations
            Name                                     Rate      Hours      Fees
Partners:   Peter D. Russin                            $695.00       21.0 $14,595.00
            James C. Moon                              $495.00     340.5 $168,547.50
Associates  Meaghan Murphy                             $365.00        5.2    $1,898.00
                                                       $350.00       54.4 $19,040.00
              Bryan N. Vega                            $325.00        0.5      $162.50
Paralegals:   Lisa Tannenbaum                          $260.00        0.6      $156.00
                                                       $255.00       33.7    $8,593.50
              Patricia Hornia                          $245.00        4.2    $1,029.00
              Irene Hernandez                          $180.00        0.2       $36.00
              Melissa Ramos                            $180.00       12.5    $2,250.00
                                  CATEGORY SUBTOTAL:               472.8 $216,307.50
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CATEGORY: 5589-9 Litigation
            Name                                   Rate       Hours      Fees
Partners:   Peter D. Russin                          $695.00         6.5    $4,517.50
            James C. Moon                            $495.00        21.7 $10,741.50
                                                        $0.00        1.0        $0.00
Associates    Meaghan Murphy                         $365.00         8.7    $3,175.50
                                                     $350.00        25.7    $8,995.00
Paralegals:   Lisa Tannenbaum                        $260.00         0.1       $26.00
                                                     $255.00         0.9      $229.50
              Patricia Hornia                        $245.00         0.8      $196.00
              Melissa Ramos                          $180.00         1.3      $234.00
                                CATEGORY SUBTOTAL:                  66.7 $28,115.00
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                       Summary of Requested Reimbursement Of Expenses
                                   for this Time Period Only
                                          "EXHIBIT 3"

    [If this is a final application which does not cumulate prior interim applications, a separate
            summary showing cumulative expenses for all applications is attached as well]


1. Filing Fees                                                                                 $31.00
2. Process Service Fees                                                                         $0.00
3. Witness Fees                                                                                 $0.00
4. Court Reporter Fees and Transcripts                                                          $0.00
5. Lien and Title Searches:                                                                     $0.00
6. Photocopies:
   (a) In-house copies (23,300 at $0.15/page)                                               $3,495.00
   (b) Outside copies                                                                           $0.00
7. Postage                                                                                   $694.57
8. Overnight Delivery Charges                                                                  $34.44
9. Outside Courier/Messenger Services                                                           $0.00
10. Long Distance Telephone Charges (conf calls)                                                $0.00
11. Long Distance Fax Transmissions (@ $1/page)                                                 $0.00
12. Computerized Research                                                                    $928.77
13. Out-of-Southern-District-of-Florida Travel:
   (a) Transportation                                                                           $0.00
   (b) Lodging                                                                                  $0.00
   (c) Meals                                                                                    $0.00
14. Other Permissible Expenses (must specify and
justify): Parking                                                                              $27.75
                                                TOTAL:                                      $5,211.53
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                                MELAND RUSSIN & BUDWICK
                                         PROFESSIONAL ASSOCIATION

                                      3200 SOUTHEAST FINANCIAL CENTER
                                       200 SOUTH BISCAYNE BOULEVARD
                                             MIAMI, FLORIDA 33131




                                                                                TELEPHONE (305) 358-6363


Costa Hollywood Property Owner, LLC                                             FACSIMILE (305) 358-1221


                                                                                FID# XX-XXXXXXX
c/o Moses Bensusan
201 N Ocean Drive                                                              February 26, 2020
Hollywood, FL 33019

Attention: Moses Bensusan
                                                                               Matter #:            5589-1

                                                                               Invoice #:            69834



RE:    Costa Hollywood Property Owner - CI 1 BKC (Costs)



DISBURSEMENTS                                                        Disbursements               Receipts


                                                                           3,495.00

                  DUPLICATION EXPENSE
                                                                             694.57

                  POSTAGE EXPENSE

October 1,2019    FEDEX                                                       34.44

                  INV.6-754-03214

October 3, 2019 AMERICAN EXPRESS                                              31.00

                  5589-1/FlLING FEES- FL SOUTHERN
                  CM ECF TRACKING ID#26KKA2B2
October 7, 2019 PACER SERVICE CENTER                                           4,10

                  INV.260 1 644-Q320 1 9

November 1,       Legacy Parking Company                                      18.00

2019
                  INV.391715

                  West Payment Center                                        255.07

                  INV.841202801

November 2 1 ,    AMERICAN EXPRESS                                             9.75

2019
                  PARKING (VERRUS) 0971/ JCM
                  PARKING
December 1,       West Payment Center                                        213.77

2019
                  INV. 84 13 694 17

January 1, 2020   West Payment Center                                        188.53

                  INV.841 549370
                                                                                            EXHIBIT 4
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January 7, 2020   PACER SERVICE CENTER                                  267.30

                  INV.260 1 644-Q420 1 9


             Totals                                                   $5,211.53        $0.00
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                            MELAND RUSSIN & BUDWICK
                                      PROFESSIONAL ASSOCIATION

                                 3200 SOUTHEAST FINANCIAL CENTER
                                  200 SOUTH BISCAYNE BOULEVARD
                                        MIAMI, FLORIDA 33131




                                                                             TELEPHONE (305) 358-6363


Costa Hollywood Property Owner, LLC                                           FACSIMILE (305) 358-1221


                                                                             FID# XX-XXXXXXX
c/o Moses Bensusan
201 N Ocean Drive                                                            February 26, 2020
Hollywood, FL 33019

Attention:
                                                                             Matter #:            5589-2

                                                                             Invoice #:            69835



RE:    Costa Hollywood Property Owner - CI 1 BKC (Case Admin)



DATE            LAWYER       DESCRIPTION                           RATE      HOURS                FEE


September 20,         PDR    Review and revise lengthy            $695.00       1.60            $1,112.00
2019                         draft schedules

                      JCM    Review and consider email            $495.00       0.90              $445.50
                             regarding request from
                             Court for any motions
                             requiring expedited relief
                             (.2); review suggestions of
                             bankruptcy for various cases
                             in which Debtor was
                             prepetition defendant (.4);
                             review and revise case
                             management summary (.3).
                      MM     Review upcoming state                 $350.00      0.40              $140.00
                             court deadlines to determine
                             any deadlines that may
                             require continued
                             compliance (0.1). Review
                             notice of appearance filed by
                             Rones in bankruptcy case
                             (0.1). Review status of
                             expedited first days and
                             necessary tasks associated
                             with same (0.2).
                      LRT    Revise case management                $255.00      0.40              $102.00
                             summary (.3).
                             Revise schedule F (.1).
                      MR     Finalize and send                     $180.00      0.20                $36.00
                             correspondence to
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                           Association Specialty Group
                           and Evolution Hospitality

September 23,        LRT   Email re payroll/sale tax         $255.00      0.50      $127.50

2019                       report (1.). Prepare Cll
                           table of deadlines per rules
                           and code provisions (.2).
                           Work on MSL (.2).
                     MR    Review Notice of                  $180.00      0.20       $36.00
                           Deadline(s) to Correct Filing
                           Deficiencies [DE 4] [.1];
                           update calendar; Receipt of
                           several notices of
                           appearances; update Master
                           Service List [.1]
                    JCM    Review IDI scheduling letter      $495.00      0.20       $99.00
September 24,
2019                       and email regarding
                           documents needed for IDI.
                     LRT   Telephone conference with         $255.00      1.00      $255.00
                           Star from office of counsel
                           for Beachamp Construction
                           and email Petition (.2).
                           Review additional litigation
                           matters (.2). Update
                           statement of financial affairs
                           and schedule F (.3). Update
                           pending items memo (.3).
                     MR    Receipt of Notice of              $180.00      0.10       $18.00
                           Appearance; update Master
                           Service List
                      MR   Review updated litigation         $180.00      0.50       $90.00
                           search; prepare Suggestions
                           of Bankruptcy in (3)
                           additional matters
                     LRT   Work on schedules and             $255.00      0.80      $204.00
September 25,
2019                       statement.

                      MR   Calculate and calendar all        $180.00      0.60      $108.00
                           Cll deadlines pursuant to
                           the Bankruptcy Code
                     PDR   Review and revise: Chapter        $695.00      0.30      $208.50
September 26,
2019                        1 1 Case Management
                           Summary (.3);
                      MR   Revise, compile exhibits and      $180.00      0.80      $144.00
                           finalize Case Management
                           Summary and Notice of
                           Filing Master Service List
                           [.4]; receipt of Notice of
                           Appearance of Rivera Law
                           Firm; update Master Service
                            List [.1]; telephone
                            conference and email
                            exchanges with Edy Gomez
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                             at Judge Ray's chambers re:
                             hearing on first day motions
                             [.2]; receipt of various
                             Notices of Appearance;
                             update and maintain Master
                             Service List [.1]
September 27,          LRT   Email latest draft of balance         $255.00      1.00       $255.00
2019                         of filing to Jairo re status.
                             Review docs from clients
                             and continue working on
                             schedules.
September 29,          LRT   Review revisions and make             $255.00      3.20       $816.00

2019                         same to schedules.

September 30,          MM    Review notice of appearance           $350.00      0.10        $35.00

2019                         by senior secured lender.

                       MR    Receipt of Notice of                  $180.00      0.10        $18.00
                             Appearance [DE 32]; update
                             Master Service List
                       MM    Review notice of 341                  $350.00      0.30       $105.00
October 1, 2019
                             meeting (0.1). Review status
                             of bankruptcy, upcoming
                             deadlines and associated
                             tasks (0.2).
                       LRT   Work on further revisions to          $255.00      4.70      $1,198.50
                             schedules/SOFA and
                             exchange emails with Jairo
                             re same.

                       MR    Receipt of Notice of                  $180.00      0.10        $18.00
                             Meeting of Creditors;
                             review and calendar all
                             deadlines
                       PDR   Review revised draft of               $695.00      0.50       $347.50
October 2, 2019
                             SOFA (.5)

                       MM    Review withdrawal of                  $350.00      0.10        $35.00
                             appearance by AMO
                             attorney (0.1).
                       LRT   Work on revisions to                  $255.00      3.80       $969.00
                             schedules and SOFA (2.1).
                             Finalize attachments 3 and 4
                             to SOFA (.4). Work on LF-4
                             add, correct and delete lists
                             (1.3).
                       LRT   Revise pleadings and                  $255.00      0.90       $229.50
October 3, 2019
                             exhibits for filing.

                        MR   telephone conference with             $180.00      0.60        $108.00
                              Melva at Bankruptcy Court
                             re: balance of schedules
                             filing; review Local Form 4
                             and prepare service list for
                             creditors [.3]; serve Notice
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                             of Meeting of Creditors on
                             additional notice parties;
                             review local form 4 and
                             prepare Certificate of
                             Service re: same [.3]
October 4, 2019       JCM    Review email from                   $495.00     0.20         $99.00
                             chambers regarding
                             scheduling of hearings;
                             respond to same.
October 7, 2019       PDR    Calls from Jerry Fuerstein          $695.00      1.50      $1,042.50
                             re: numerous issues
                             including false accusations
                             in UST Motion to Dismiss,
                             status of budget and
                             funding, status of PSA etc
                             (.6); Follow up on these
                             several matters re: same (.4);
                             TC w Jairo Romero re:
                             related issues (.2); TC with
                             Moses Bensusan and Jairo
                             Romero re: Evolution
                             issues, spreading of false
                             rumors and accusations and
                             related matters (.3)
                       MR    Receipt of Notices of               $180.00      0.20         $36.00
                             Appearance; update Master
                             Service List and Notice of
                             Filing MSL
                        PH   Review BNC from BKC                 $245.00      1.90       $465.50
                             Court. Research better
                             addresses and review Jairo's
                             communications re same.
                             Prepare form for correcting
                             bad addresses for filing with
                             Court.
                       JCM   Review and consider email           $495.00      0.20         $99.00
October 8, 2019
                             regarding notice required for
                             undeliverable addresses.
                       LRT   Exchange emails and read            $255.00      0.30         $76.50
                             LR re updating matrix re
                             better addresses.
                       MR    Review Notice of Hearing            $180.00      0.10         $18.00
                             on Emergency Motion to
                             Dismiss; review local rules
                             and calculate and calendar
                             response deadline
                        PH   Review additional BNC               $245.00      0.70        $171.50

                             from Court and prepare draft
                             form addressing same.
                             Research better addresses.
                             Email communications with
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                              Jim Moon and Lisa
                              Tannenbaum re same.

October 9, 2019        JCM    Review email from Clerk            $495.00      0.10       $49.50
                              regarding resubmission of
                              order; draft email regarding
                              same (.1).
                        LRT   Review numerous emails re          $255.00      0.90      $229.50
                              pending items and recent
                              budget and backup.
                         PH   Prepare Notice of Change of        $245.00      0.20       $49.00
                              Address re 10-9-19 BNC
                              from Court.
October 10, 2019        MR    Review Notice of                   $180.00      0.20       $36.00
                              Undeliverable Mail;
                              compare to Master Service
                              List and update as necessary
                         PH   Prepare certificate of service     $245.00      0.20       $49.00
                              of BNC undeliverable
                              documents ECF 34 and 50.
October 11, 2019       PDR    Review notice of recusal and       $695.00      0.20      $139.00
                              reassignment to Judge
                              Olson.
                        LRT   Compare contracts to Sched         $255.00      1.10      $280.50
                              G and consider amendment
                              to schedule G (.7). Attention
                              to return mail and research
                              better addresses (.4).
October 15, 2019        MR    Receipt of various notices of      $180.00      1.00      $180.00
                              appearance; update Master
                              Service List [.2]; revise and
                              finalize Response to Motion
                              for Relief (DE 36) [.4];
                              revise and finalize Response
                              to Motion for Relief (DE 37)
                              [-4]
October 16, 2019        MR    Compile extensive                  $180.00      1.10      $198.00
                              documents and prepare JCM
                              and MEM for hearings on
                              10-17-19 re: Motion to
                              Dismiss, Joinders, Motions
                              for Stay Relief, etc. [1.0];
                              receipt of Notice of
                              Appearance for Beauchamp
                              Construction Co; update
                              Master Service List and
                              Notice of Filing MSL [.1]
                         PH   Monitor docket.                    $245.00      0.10       $24.50



October 17, 2019        PDR   Review results of hearings         $695.00      1.10      $764.50
                              and consider strategy going
                              forward; TC from Michael
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                              Schlessinger re: buyer client
                              and related matters; TC w
                              Moses Bensusan re: results
                              of hearing and sales process;
                              Review follow up matters
                              on the following
                              1). Expedited Motion to Use
                              Cash Collateral [DE 23]
                              2). Debtor's Expedited
                              Motion to Maintain Bank
                              Accounts [DE 19];
                              3). PSO Investments'
                              Motion for Relief from Stay
                              (DE 36);
                              4). Costa 402's Motion for
                              Relief from Stay (DE 37);
                              5). US Trustee's Motion to
                              Dismiss (DE 46) and all
                              Joinders
                        LRT   Research whether Order was          $255.00      0.40      $102.00
                              appealed re Order on
                              Plaintiffs Verified
                              Emergency Motion to Strike
                              Affidavit of Alexey Burya
                              From Public Records.
                        MR    Receipt of Notice of                $180.00      0.10       $18.00
                              Appearance (DE 100);
                              update Notice of Filing
                              Master Service List and
                              service list
                        MM    Call with Tom Lehman re:            $350.00      0.20       $70.00
October 18, 2019
                              hearing updates (0.2).

                        MR    Receipt of Notice of                $180.00      0.10       $18.00
                              Appearance for LA Cuisine,
                              LLC; update service list and
                              Notice of Filing Master
                              Service List
                        MM    Review United agreement to          $350.00      0.60      $210.00
October 21, 2019
                              determine if lease or finance
                              (0.2). Review issues
                              concerning incomplete
                              operating reports (0.2).
                              Email to Zana Scarlett re:
                              operating report (0.1).
                              Review correspondence
                              from IRS re: request for
                              business information (0.1).
                        LRT   Review letter from IRS              $255.00      0.10       $25.50
                              requesting information.
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October 22, 2019       PDR    Review demand letter from          $695.00      0.20      $139.00
                              High Horizons counsel,
                              Rodrigo Da Silva and
                              consider violation of stay
                              and related matters
                        MM    Draft letter to Da Silva re:       $350.00      2.80      $980.00
                              automatic stay, collection
                              efforts (0.3). Begin review
                              of stalking horse agreement
                              (0.5). Review current draft
                              of DIP report (0.4). Develop
                              strategy issues regarding
                              difficulty in finalizing DIP
                              reports (0.6).
                              Correspondence with UST
                              re: DIP reports (0.2). Begin
                              drafting motion to pay trust
                              fund taxes (0.4). Continue
                              reviewing stalking horse
                              agreement (0.4).
                        LRT   Research and email re              $255.00      0.30       $76.50
                              scheduling of High
                              Horizons. Exchange emails
                              re same.

                        MR    Prepare Notice of Filing           $180.00      0.20       $36.00
                              Correspondence from Max
                              Goldfarb, Esq.; update
                              Master Service List
                              accordingly
                        LRT   Update pending items memo          $255.00      1.00      $255.00
October 23, 2019
                              (.3). Work on returned mail
                              (.7).
                        MR    Receipt of Notice of Hearing       $180.00      0.10       $18.00
                              on Creditor, Pamela Terry's
                              Motion for Relief from Stay
                              [ECF No. 25]; review rules
                              and calculate deadline to
                              respond
                        MM    Review final executed order        $350.00      0.20       $70.00
October 24, 2019
                              denying motion to dismiss
                              case (0.1). Review order
                              continuing hearing on
                              motions for stay relief (0.1).
                         MR   Receipt of Notice of               $180.00      0.10       $18.00
                              Appearance (DE 108);
                              update Master Service List
                              and Notice of Filing same
                        LRT   Email re notice of filing          $255.00      0.10       $25.50
October 25, 2019
                              update master service list.

                         MR   Compile documents and              $180.00      0.80      $144.00

                              prepare JCM for 341
                              Meeting [.5]; revise and
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                              finalize updated Master
                              Service List for filing [.3]

October 28, 2019       PDR    consider results of 341              $695.00      0.40      $278.00
                              Meeting and review follow
                              up matters
                        LRT   Exchange emails re prep for          $255.00      0.40      $102.00
                              341 meeting. Exchange
                              emails re response to IRS
                              request for business
                              information. Leave vmail for
                              creditor Vincenzo Imparato
                              from Aqua Green Services
                              LLC
October 30, 2019        LRT   Review returned mail and             $255.00      0.20       $51.00
                              email Jairo re same.

                        MR    Receipt of various returned          $180.00      1.00      $180.00
                              mail and emails from Court;
                              research division of
                              corporations in various
                              states to locate alternate
                              addresses; prepare list of
                              corrected addresses; prepare
                              list of bad addresses unable
                              to locate
October 31, 2019        LRT   Work on returned mail (bad           $255.00      0.60      $153.00
                              addresses).

November 1,             MR    Receipt of Notice of                 $180.00      0.30       $54.00

2019                          Appearance (DE 125);
                              update Master Service List
                              and notice of fding same
                              [.1]; receipt of court's
                              returned mail notice;
                              research Colorado Division
                              of Corporations; update
                              Matrix and COR mailing list
                              [•2]
November 5,             JCM   Review and respond to                $495.00      0.20       $99.00

2019                          emails regarding recusal of
                              Judge Olson and
                              rescheduling of hearings.
                        LRT   Update notes and review              $255.00      0.90      $229.50
                              emails re required
                              amendments to schedules
                              F/G.
                        MR    Receipt of returned mail;            $180.00      0.20       $36.00
                              review division of
                              corporations; update Matrix
                              and Master Service List and
                              corrected addresses list
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November 6,        LRT    Work on returned mail (.7).         $255.00     0.80       $204.00
2019                      Email Jairo re better
                          addresses and known bad
                          addresses (.1).
                    MR    Update CORR service list            $180.00     0.40        $72.00
                          and MSL [.1]; review Order
                          Query re: status of pending
                          orders on ECF Nos. 18 and
                          20; telephone conference
                          with Cheryl at Judge
                          Cristol's office; email
                          exchange with Edy Gomez
                          at Judge Grossman's office
                          [•3]
November 7,         LRT   Update pending items                $255.00      0.20       $51.00

2019                      memo. Exchange emails re
                          Jairo re same.
                    MR    Receipt of Notice of                $180.00      0.80      $144.00
                          Appearance (DE 137);
                          update Notice of Filing
                          Master Service List and
                          MSL; review NEF list and
                          mark Matrix with all
                          appearances; review notes
                          from client regarding
                          updated creditor addresses;
                          update corrected addresses
                          list and matrix [.7]; receipt
                          of Notice of Hearing on
                          Pamela Terry's Motion for
                          Relief from Stay (DE 25);
                          review local rules and
                          calendar and calendar
                          response deadline [.1]
                    LRT   Update notes re required            $255.00      0.60      $153.00
November 8,
2019                      amendments to
                          schedules/better addresses
                          (.6).
                    LRT   Work on notes re                    $255.00      2.80      $714.00
November 12,
2019                      amendments to schedules
                          and contracts/leases.
                    LRT   Leave vmail returning call to       $255.00      0.10       $25.50
November 15,
2019                      Julia of SOS Security.

                    MR    Receipt of various returned         $180.00      0.30       $54.00
November 19,
2019                      mail; research division of
                          corporations for better
                          addresses; update corrected
                          and bad service lists and
                          matrix
                    LRT    Work on return mailed (.3).        $255.00      0.70      $178.50
November 20,
2019                       Update memo re items to
                           amend on schedules (.4).
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November 21,       LRT    Review bad address list and         $255.00     0.10         $25.50
2019                      email Jairo re same.

                    MR    Update BAD addresses                $180.00      0.40        $72.00
                          service list [.2]; Compile
                          documents re: Motions for
                          Relief from Stay and prepare
                          JCM re: hearing on
                          11-26-19 [.2]
November 25,        MR    Compile documents and               $180.00      0.50        $90.00

2019                      prepare MEM for hearing on
                          11-26-19
November 26,       PDR    Prepare for and attend              $695.00      2.30      $1,598.50

2019                      hearings on:
                          1). Motion for Payment of
                          Prepetition Tourist
                          Development Taxes (DE
                          121)
                          2). App to Employ Robb
                          Udell, Esq. (DEI 24)
                          3). PSO Investments Motion
                          for Relief from Stay (DE
                          36)
                          4). Costa 402's Motion for
                          Relief from Stay (DE 37)
                          5). Debtor's Motion to Use
                          Cash Collateral (DE 97)
                          6). Expedited App to
                          Employ Jairo Romero of JV
                          Int'l [DE 143]
                    LRT   Telephone conference with           $255.00      0.80       $204.00
                          rep of Aqua Green Services
                          and email 341 notice. Work
                          on returned mail.
                    LRT   Exchange emails re attorney         $255.00      0.60        $153.00
December 3,
2019                      for unit owner appearing for
                          client.; Work on returned
                          mail.
                    MR    Receipt of various returned         $180.00      0.30         $54.00
                          mail; update bad addresses
                          list and Matrix
                    LRT   Email Jairo re bad addresses        $255.00      0.40        $102.00
December 4,
2019                      (.1). Email Meli re reply
                          from Jairo re same (.1).
                          Email Jairo re amendments
                          to schedules (.2).
                     MR   Revise and finalize Notice          $180.00      0.20         $36.00
                          of Filing Master Service List

                    LRT   Update pending items                $255.00      0.30         $76.50
December 11,
2019                      memo.
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                        MR    Receipt of returned mail and       $180.00      0.40      $72.00
                              review of email from Jairo
                              regarding corrected
                              addresses; update Matrix,
                              corrected and bad addresses
                              lists
December 12,            LRT   Exchange emails with Jim re        $255.00      1.10      $280.50
2019                          contracts (.1). Update
                              spreadsheet (.3). Work on
                              returned mail (.7).
December 13,            LRT   Email Jairo re better              $255.00      0.30       $76.50

2019                          addresses for returned mail.
                              Update service lists.
                        MM    Review insurance issues and        $350.00      0.20       $70.00
December 17,
2019                          confirm prior order allows
                              Debtor to finance premiums
                              (0.2).
                        MR    Receipt of Notices of              $180.00      0.10       $18.00
December 19,
2019                          Appearance; update Master
                              Service List and Notice of
                              Filing same
                        LRT   Email Jairo re info needed         $255.00      0.10       $25.50
December 30,
2019                          for amendments to
                              schedules.
                        LRT   Email re updated MSL.              $260.00      0.30       $78.00
January 3, 2020
                              Review pending items
                              memo.

                        LRT   Update pending items               $260.00      0.20       $52.00
January 6, 2020
                              memo.


                        LRT   Email Jairo re info to amend       $260.00      0.10       $26.00
January 7, 2020
                              schedules.

                        PDR   Conf call with Lender's            $695.00      0.50      $347.50
January 8, 2020
                              counsel re: status of various
                              pending matters
                        MR    Revise and finalize latest         $180.00      0.30       $54.00
                              Notice of Filing Master
                              Service List [.2]; receipt of
                              returned mail; update matrix
                              accordingly [.1]
                        LRT   Review spreadsheet from            $260.00      0.30       $78.00
January 13, 2020
                              Jairo and email re same.

                         MR   Revise and finalize Debtor's       $180.00      0.30       $54.00
                              Response in Opposition to
                              Motion for Extension of
                              Time to Object to Notice of
                              Discharge
                        LRT   Review spreadsheet and             $260.00      0.40      $104.00
January 14, 2020
                              email from Jairo and reply
                              re amendments to schedules.
                        LRT   Telephone conference with          $260.00      1.30      $338.00
January 15, 2020
                               Jairo and review newest
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                              version of amendments to
                              schedules spreadsheet.

January 27, 2020        LRT   Attention to MSL.                   $260.00      0.10         $26.00



January 28, 2020        LRT   Work on amendments to               $260.00      7.00       $1,820.00
                              schedules D, F, and G (4.9).
                              Work on service lists (2.1).


              Totals                                                          72.30      $22,183.00
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                            MELAND RUSSIN & BUDWICK
                                      PROFESSIONAL ASSOCIATION

                                 3200 SOUTHEAST FINANCIAL CENTER
                                  200 SOUTH BISCAYNE BOULEVARD
                                        MIAMI, FLORIDA 331 31




                                                                             TELEPHONE (305) 358-6363


                                                                              FACSIMILE (305) 358-1221
Costa Hollywood Property Owner, LLC
                                                                             FID# XX-XXXXXXX
c/o Moses Bensusan
201 N Ocean Drive                                                            February 26, 2020
Hollywood, FL 33019

Attention:
                                                                             Matter #:            5589-3

                                                                             Invoice #:            69836



RE:    Costa Hollywood Property Owner - CI 1 BKC (DIP/UST)



                  LAWYER     DESCRIPTION                           RATE      HOURS                FEE
DATE

                      JCM    Review and analyze Trustee            $495.00      0.40              $198.00
September 23,
2019                         guidelines on large chapter
                             11 cases (.4).
                      LRT    Work on IDI checklist and             $255.00      1.20              $306.00

                             review docs (1.1). Telephone
                             conference with client re
                             DIP accounts (.1).
                      LRT    Review IDI letter and email           $255.00      0.70              $178.50
September 24,
2019                         to client re tel conf and
                             missing items. Work on
                             memo to UST re IDI
                             Checklist.
                      LRT    Review IDI docs received.             $255.00      0.60              $153.00
September 25,
2019

                      LRT    Review docs provided by               $255.00      0.80              $204.00
September 27,
2019                         client and continue to work
                             on IDI checklist.
                      PDR    Review issues in preparation          $695.00      0.20              $139.00
October 1, 2019
                             for 341 meeting

                      JCM    Review and consider emails            $495.00      0.80              $396.00
                             from Ms. Tannenbaum and
                             Mr. Romero regarding IDI
                             information collection and
                             preparation for IDI; respond
                             to same (.6); review notice
                             of 341 meeting; draft email
                             to client regarding same (.2).
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                       LRT    Review IDI documents              $255.00      1.60       $408.00
                              provided by Jairo. Work on
                              IDI checklist.
October 2, 2019        LRT    Review emails re DIP              $255.00     0.80        $204.00
                              accounts (.1). Continue
                              review of IDI docs (.7).
October 3, 2019         LRT   Work on IDI checklist and         $255.00      1.20       $306.00
                              documents.

October 4, 2019        JCM    Review and analyze UST            $495.00      3.20      $1,584.00
                              Motion to Dismiss; consider
                              response (1.8); call with Mr.
                              Romero regarding same (.3);
                              transmit proof of insurance
                              to UST (.2); draft email to
                              Debtor regarding analysis of
                              UST motion to dismiss and
                              strategy with respect to
                              response (.5);call with Mr.
                              Feurstein regarding UST
                              Motion to dismiss (.3);
                              review email from Mr.
                              Battista to UST regarding
                              Motion to Dismiss (.1).
                        LRT   Telephone conference and          $255.00      1.50       $382.50
October 7, 2019
                              several emails with Jairo re
                              IDI deadline and pending
                              items (.4). Review IDI docs
                              and prepare for submission
                              to UST (.9). Revise and
                              finalize memo and checklist
                              (.2).
                        LRT   Email Jairo to prepare for        $255.00      0.10         $25.50
October 8, 2019
                              IDI.

                        JCM   Prepare for IDI with UST          $495.00      7.10      $3,514.50
October 10, 2019
                              analyst (1.2); participate in
                              IDI call with UST analyst
                              (.8); revise and edit response
                              to UST Motion to Dismiss;
                              draft emails regarding same
                              (2.5); review and consider
                              email from Mr. Kronin
                              requesting documents
                              subsequent to the IDI (.2);
                              review and analyze budget
                              documentation and critical
                              vendor documentation for
                              budget and critical vendor
                              analysis (2.4).
                        LRT   Prepare for and attend the        $255.00      1.70        $433.50
                              IDI via conf call (1.1).
                              Emails re pending items
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                              arising out of IDI (.2).
                              Discuss DIP report inclusion
                              of income/receipts from
                              management companies and
                              other required info (.4).
October 15, 2019       JCM    Draft email to UST                    $495.00      0.30       $148.50
                              regarding confirmation from
                              Chase Bank that accounts
                              have been converted to DIP
                              accounts (.1); draft email to
                              UST with requested redline
                              between interim and
                              proposed final Cash
                              Management Order (.2).
                       JCM    Draft email to UST                    $495.00      0.30       $148.50
October 17, 2019
                              regarding proposed Cash
                              Management Order (.1);
                              review emails regarding
                              status of documents
                              requested by UST at IDI
                              (-2)
                        LRT   Email re status of additional         $255.00      0.10        $25.50
                              docs requested at IDI.

                        LRT   Telephone conference with             $255.00      0.90       $229.50
October 18, 2019
                              Jairo re DIP report and
                              attachments. Prepare for
                              additional docs response
                              deadline on Monday.
                        JCM   Review email with                     $495.00      0.20        $99.00
October 21, 2019
                              documents submitted to
                              UST pursuant to requests
                              out of IDI.
                        LRT   Exchange emails with Jairo            $255.00      1.50       $382.50
                              re DIP report (.3). Review
                              DIP report (1.2).
                        PDR   Review draft DIP report and           $695.00      0.40       $278.00
October 22, 2019
                              consider complications
                              relating to reporting
                              financial data
                        LRT   Email Jairo re status of              $255.00      4.10      $1,045.50
                              receipts report (.1). Email
                              Jairo re status of DIP report
                              (.1). Telephone conference
                              with Jairo and review entire
                              DIP report (3.9).
                        PDR   Review and revise MOR                 $695.00      0.40       $278.00
October 23, 2019
                               and related notes

                        LRT    Telephone conference with            $255.00      0.70       $178.50
                               UST and James re DIP
                               report (.2). Telephone
                               conference with Jairo re DIP
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                              report (.2). Review final
                              draft of DIP report (.3).

October 24, 2019       LRT    Review docs for IDI addl           $255.00     0.20         $51.00
                              doc request. Email same to
                              Keith at UST.
October 25, 2019        LRT   Exchange emails re amount          $255.00      0.20        $51.00
                              of UST fees due.

October 27, 2019       JCM    Review email from UST re:          $495.00      0.10        $49.50
                              budget.

October 28, 2019       JCM    Respond to email from UST          $495.00      4.60      $2,277.00
                              (.1); prepare for and attend
                              341 meeting; meeting with
                              clients before and after (4.5).
October 30, 2019        LRT   Follow up on prepetition           $255.00      0.10        $25.50
                              bank accounts converted to
                              DIP accounts.
                       JCM    Review and respond to              $495.00      0.10         $49.50
November 5,
2019                          email from Ms. Scarlett re:
                              transfer of UST to Miami.
                        LRT   Review pending items re            $255.00      0.30         $76.50
November 12,
2019                          Sept DIP report and email re
                              Oct DIP report.
                        LRT   Email Jairo re status of           $255.00      0.10         $25.50
November 13,
2019                          amending Sept DIP report
                              and draft Oct DIP report.
                        LRT   Email Jairo re pending items       $255.00      0.10         $25.50
November 18,
2019                          re DIP reports.

                        LRT   Initial review of Oct DIP          $255.00      0.20         $51.00
November 20,
2019                          report and email Jairo re
                              same.

                        MM    Review draft DIP report            $350.00      1.50        $525.00
November 21,
2019                          (1.2). Brief review of
                              revised DIP report (0.3).
                        LRT   Email re DIP Tax account           $255.00      0.70        $178.50
                              (. 1). Review draft Oct DIP
                              report and email comments
                              to Jairo (.6).
                        MR    Finalize and efile October         $180.00      0.10         $18.00
November 22,
2019                          2019 DIP

                        MM    Review monthly operating           $350.00      0.50        $175.00
December 23,
2019                          report for Nov 2019 prior to
                              filing (0.5).
                        LRT   Review Nov DIP report.             $255.00      0.70        $178.50



                        MM    Preliminary review of              $365.00      0.40        $146.00
January 20, 2020
                              debtor's monthly operating
                              report (0.4).
                        LRT   Review DIP report and              $260.00      0.30         $78.00
January 21, 2020
                              email Jairo re same.
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January 22, 2020       LRT    Calculate 4Q19 UST fees           $260.00     0.50         $130.00
                              due (.2). Create table (.1).
                              Review updated UST fee
                              schedule and email re same
                              (.2).


              Totals                                                       41.50       $15,357.00
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                                MELAND RUSSIN & BUDWICK
                                       PROFESSIONAL ASSOCIATION

                                    3200 SOUTHEAST FINANCIAL CENTER
                                     200 SOUTH BISCAYNE BOULEVARD
                                            MIAMI, FLORIDA 33131




                                                                                TELEPHONE (305) 358-6363


                                                                                 FACSIMILE (305) 358-1221
Costa Hollywood Property Owner, LLC
                                                                                FID# XX-XXXXXXX
c/o Moses Bensusan
201 N Ocean Drive                                                               February 26, 2020
Hollywood, FL 33019

Attention:
                                                                                Matter #:            5589-4

                                                                                Invoice #:            69837



RE:     Costa Hollywood Property Owner - CI 1 BKC (Claims)



                       LAWYER   DESCRIPTION                           RATE      HOURS                FEE
DATE

                          PDR   Review email from Andrew              $695.00      0.30              $208.50
September 30,
2019                            Zaron counsel for
                                Beauchamp and review
                                Beauchamp claim issues
                          LRT   Email Claim no. 2 filed by            $255.00      0.10                $25.50
October 8, 2019
                                Broward County Tourist
                                Dev Tax Section to Jairo re
                                secured claim for taxes.
                          PDR   TC from Andrew Zaron re:              $695.00      0.20              $139.00
October 1 1 , 20 1 9
                                Beachamp claims and
                                related matters.
                          PDR   Review issues raised by               $695.00      0.20              $139.00
October 16, 2019
                                Evolution counsel re: bed
                                tax obligations and related
                                matters
                          MM    Review correspondence re:             $350.00      0.70              $245.00

                                tourism tax (0.3). Call with
                                American Pools re:
                                outstanding balance (0.2).
                                Emails with client re: pool
                                service (0.2).
                          LRT   Review tax claims and email           $255.00      0.10                $25.50
October 17,2019
                                to Jairo.

                          MM    Review Plumbing Expert                $350.00      0.10                $35.00
October 21, 2019
                                proof of claim.

                           MR   Receipt of proof of claim             $180.00       0.10               $18.00
                                from The Plumbing Experts;
                                review claims register
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October 22, 2019       MM     Call with Rodrigo Da Silva           $350.00     0.10       $35.00
                              re: High Horizons claim
                              (0.1).
October 24, 2019       JCM    Review POC 14; draft email           $495.00     0.20       $99.00
                              regarding lack of referenced
                              liens (.2).
October 25, 2019        LRT   Receipt and docket claims            $255.00      0.30       $76.50
                              filed.

October 31, 2019        LRT   Review claims filed.                 $255.00      0.30       $76.50



                        LRT   Review title search with             $255.00      0.80      $204.00
November 7,
2019                          respect to liens (.7). Email
                              Jairo re prepetition purchase
                              and sale contracts for units
                              which didn't close (.1).
                        LRT   Review filed claims.                 $255.00      0.40      $102.00
November 8,
2019

                        MM    Review POC 1 8 filed by              $350.00      0.30      $105.00
November 12,
2019                          Costa Investors LLC (0.3).

                       PDR    Review issues with Davis'            $695.00      0.70      $486.50
November 14,
2019                          unit owner clients and
                              settlement terms to offer;;
                              TC w Jeffrey Berlowitz re:
                              his client's claims and
                              related matters
                        PDR   Review issues raised by IT           $695.00      0.60      $417.00
November 1 8,
2019                          company and large
                              prepetition claim and threat
                              to cease services and options
                        MM    Review POC filed by                  $350.00      0.10       $35.00
November 19,
2019                          Florida Dept. Of Revenue
                              (0.1).
                        LRT   Email priority tax claim to          $255.00      0.10       $25.50
                              Jairo.

                        PDR   Consider negotiations with           $695.00      0.50      $347.50
November 21,
2019                          Lender and IT re: CV
                              pre-petition claim and
                              options if no agreement
                        LRT   Review claim filed and               $255.00      0.20       $51.00
November 22,
2019                          update lease spreadsheet to
                              include cure claim amount.
                        LRT   Export schedules D/E/F and           $255.00      1.60      $408.00
November 25,
2019                          begin to create creditor body
                              table.
                        LRT   Work on table.                       $255.00      0.90      $229.50
December 2,
2019

                        LRT    Read order and update notes         $255.00      0.10       $25.50
December 3,
2019                           re amending schedules re
                               tourist taxes ok to pay.
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December 4,            JCM    Review email with recently       $495.00     0.20       $99.00

2019                          filed proofs of claim.

                        MM    Review proofs of claim filed     $350.00     0.20       $70.00
                              by tax certificate holders.

December 6,             MM    Review proof of claim filed      $350.00     0.20       $70.00
2019                          by Rapallo Group (0.1).
                              Review proof of claim filed
                              by Ximee LLC (0. 1).
December 11,            LRT   Receipt and docket claims        $255.00      0.10      $25.50

2019                          filed.

December 12,           JCM    Review POC 37 and email          $495.00      0.20       $99.00

2019                          related to same (.2).

                        MM    Review proof of claim filed      $350.00      0.10       $35.00
                              by City of Hollywood (0.1).

                        LRT   Receipt and docket claim         $255.00      0.80      $204.00
                              filed and email Jairo re same
                              (.1). Work on table (.7).
                        LRT   Email Jairo re claim and         $255.00      0.20       $51.00
December 13,
2019                          amendments to schedules re
                              claims.
                        LRT   Receipt and docket claim         $255.00      0.10       $25.50
December 18,
2019                          filed. Email client same.

                        LRT   Review claim 41 and email        $255.00      0.20       $51.00
December 19,
2019                          to Jairo.

                        LRT   Review claims.                   $260.00      0.30       $78.00
January 8, 2020


                        JCM   Review POCs 47 and 48;           $495.00      0.30      $148.50
January 16, 2020
                              consider priority deposit
                              claim over cap and need for
                              objection in that amount
                              (.3).
                        MM    Review claim filed by            $365.00      0.20       $73.00
                              United Leasing (0.1).
                              Review priority deposit
                              claim filed by Ramos (0. 1).
                        LRT   Review and email claims to       $260.00      0.10       $26.00
                              Jairo.

                        MM    Review proof of claim filed      $365.00      0.10       $36.50
January 17, 2020
                              by Unit Owner S408 (0.1).

                        MM    Review proof of claim filed      $365.00      0.20       $73.00
January 21, 2020
                              by secured lender (0.2).

                        LRT   Email secured lender's proof     $260.00      0.10       $26.00
                              of claim to Jairo.

                        JCM   Review recently filed proofs     $495.00      0.50      $247.50
January 22, 2020
                              of claim (.3); review and
                              respond to email from Mr.
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                              Kassower regarding proof of
                              claim for prepetition fees
                              (.2).
January 23, 2020       MM     Review amended claim filed         $365.00     0.30        $109.50
                              by secured creditor (0.2).
                              Review claim filed by
                              Evolution (0.1).
                       LRT    Email Jairo amended claim          $260.00     0.10         $26.00
                              of Madison and claim of
                              Evolution.
January 24, 2020       JCM    Review Costa claims                $495.00      0.30       $148.50
                              claiming priority status;
                              review email regarding
                              same. (.3)
                        MM    Review proofs of claim filed       $365.00      0.30       $109.50
                              by unit owners and parking
                              service (0.3).
                        LRT   Search for and link priority       $260.00      0.10        $26.00
                              claims to Meaghan and
                              James.
                       JCM    Review and consider email          $495.00      0.30       $148.50
January 26, 2020
                              from Mr. Shelomith
                              regarding Beje Investments,
                              owner of Unit #N222; draft
                              email to Mr. Romero
                              regarding same (.3).
                       JCM    Review secured and priority        $495.00      0.70       $346.50
January 27, 2020
                              proofs of claim filed (.7).

                        MM    Review priority claims filed       $365.00      0.90       $328.50
                              as of today's date (0.4).
                              Review secured claims filed
                              as of today's date (0.5).
                        LRT   Receipt and docket                 $260.00      2.10       $546.00
                              numerous claims filed,
                              review for secured status
                              and email same to Jim (.4).
                              Begin working on table
                              (1.7).
                        MR    Review claims register;            $180.00      0.50        $90.00
                              mark/organize all secured
                              and priority claims


                                                                             18.70      $6,876.50
              Totals
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                                MELAND RUSSIN & BUDWICK
                                       PROFESSIONAL ASSOCIATION

                                    3200 SOUTHEAST FINANCIAL CENTER
                                     200 SOUTH BISCAYNE BOULEVARD
                                           MIAMI, FLORIDA 331 31




                                                                                TELEPHONE (305) 358-6363


                                                                                 FACSIMILE (305) 358-1221
Costa Hollywood Property Owner, LLC
                                                                                FID# XX-XXXXXXX
c/o Moses Bensusan
201 N Ocean Drive                                                               February 26, 2020
Hollywood, FL 33019

Attention:
                                                                                Matter #:            5589-5

                                                                                Invoice #:            69838



RE:     Costa Hollywood Property Owner - CI 1 BKC (Plan/Disco)



                       LAWYER   DESCRIPTION                           RATE      HOURS                FEE
DATE

                          PDR   Review emails from                    $695.00      0.30              $208.50
October 1, 2019
                                potential brokers and related
                                matters re: potential sale
                                process matters
                          PDR   Exchange emails with                  $695.00      0.20              $139.00
October 3, 2019
                                Lender's counsel re: status of
                                PSA
                          PDR   Review Beauchamp and                  $695.00      0.70              $486.50
October 7, 2019
                                related state court litigation
                                and consider whether claims
                                may impact sale of property
                          LRT   Begin drafting disclosure             $255.00      3.20              $816.00
October 8, 2019
                                statement and consider plan
                                classes and issues.
                          PDR   Review submissions by                 $695.00      0.30              $208.50
October 10, 2019
                                potential brokers for sale of
                                real estate assets
                          LRT   Work on disclosure                    $255.00      0.90              $229.50
                                statement.

                          LRT   Review stalking horse bid             $255.00      0.90              $229.50
October 1 1 , 20 1 9
                                agreement.

                          PDR   Review draft PSA from                 $695.00      0.80              $556.00
October 14, 2019
                                Jerry Feuerstein;

                          LRT   Work on disclosure                    $255.00      4.10            $1,045.50
                                statement (.7). Work on plan
                                (2.7). Work on Liquidating
                                Trust Agreement (.7).
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October 15, 2019       PDR    TC w Brenda Scupple of              $695.00      0.20       $139.00
                              Greenberg Traurig re:
                              escrow funds
October 16, 2019       PDR    Review Sterwart Title               $695.00      0.60       $417.00
                              Indemnity Agreement and
                              issues re: escrow funds from
                              closings
                       MCC    Review Costa Hollywood              $295.00      3.20       $944.00
                              PSA and comment on same

October 17, 2019       BNV    Review PSA (.6); review             $325.00      1.00       $325.00
                              and respond to
                              correspondence. (.4)
                       MCC    Review and respond to               $295.00      3.40      $1,003.00
                              email correspondence (1.0);
                              meeting with Bryan re:
                              review and comment on
                              PSA (1.0); review and make
                              comments/changes to PSA
                              (.8); send email with bullet
                              point summary of items for
                              Jim/Peter to review/confirm
                              (.6)
October 18, 2019       BNV    Finalize comments to PSA            $325.00      0.30        $97.50



                       MCC    Review and respond to               $295.00      0.50       $147.50
                              email correspondence (.1);
                              meeting with Bryan are:
                              comments to PSA (.2); make
                              changes to PSA (.1); send
                              draft email with summary of
                              point for client's
                              review/approval (. 1 )
October 23, 2019        PDR   Review and revise                   $695.00      0.40       $278.00
                              bankruptcy provisions of
                              draft PSA
                        PDR   Meeting with Moses and              $695.00      1.20        $834.00
                              Jairo re: sale process, plan
                              and related matters
October 24, 2019        PDR   Review proposed LOI form            $695.00      0.80        $556.00
                              JMS Family LP; TC w Jay
                              Patel re: same; TC w Jill
                              Barzilay re: interested buyer
                              and process issues; consider
                              potential brokerage firms to
                              run sale
                        PDR   Review and revise draft             $695.00      0.60        $417.00
October 29, 2019
                              PSA from Lender

                        PDR   TC from broker of potential         $695.00      0.30        $208.50
November 1,
2019                          buyer
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November 4,       PDR    Review email and                   $695.00     0.60        $417.00
2019                     attachment from JR Patel re:
                         potential stalking horse bid
                         and related matters
                  JCM    Draft email regarding timing       $495.00     2.90       $1,435.50
                         of plan filing (.1); review
                         and respond to inquiry
                         regarding specific plan
                         provision (.2); consider plan
                         and disclosure statement
                         issues and compliance with
                         bankruptcy code disclosure
                         and confirmation
                         requirements (2.6).
                   LRT   Meet on plan/disco/APA             $255.00      2.50       $637.50
                         issues and update pending
                         items list (2.2). Revise Trust
                         agreement (.3).
November 5,        MM    Legal research re: continued       $350.00      1.60       $560.00

2019                     viability of gifting plans,
                         types of gifting plans (1.6
                         )•
                   LRT   Research re gift plans (.3).       $255.00      3.80       $969.00
                         Revise plan (2.7). Revise
                         disclosure statement (.8).
                   LRT   Work on disclosure                 $255.00      2.30        $586.50
November 6,
2019                     statement.

                   JCM   Review and respond to              $495.00      7.10      $3,514.50
November 7,
2019                     email regarding composition
                         of liquidating trust and
                         trustee (.2); draft and
                         respond to email with Mr.
                         Feurstein regarding call to
                         discuss plan issues (.1); draft
                         plan and disclosure
                         statement; draft emails
                         regarding same (6.8).
                   LRT   Work on plan and disclosure        $255.00      4.80      $1,224.00
                         statement.

                   PDR   Review draft of liquidating        $695.00      1.60      $1,112.00
November 8,
2019                     plan and revise

                   JCM   Draft plan of liquidation and      $495.00      6.90      $3,415.50
                         disclosure statement; draft
                         emails regarding same (6.6);
                         call with Mr. Feurstein
                         regarding plan issues (.3).
                   LRT   Research confirmation              $255.00      1.20        $306.00
                         issues.
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November 12,       PDR    Review additional revisions        $695.00      1.10       $764.50
2019                      to stalking horse PSA with
                          Lender
                   JCM    Draft email to Ms. Murphy          $495.00      4.40      $2,178.00
                          regarding bidding
                          procedures motion (.1);
                          research regarding auction
                          and bidding procedures and
                          other plan confirmation
                          issues (3.4); review proofs
                          of claim and analyze class
                          treatment for plan (.3);
                          review and respond to
                          emails from Ms.
                          Tannenbaum regarding
                          hearing on second interim
                          cash collateral order (.2);
                          consider information needed
                          for liquidation analysis and
                          responsible parties for such
                          information (.4).
                    MM    Begin drafting bidding             $350.00      0.70       $245.00
                          procedures motion (0.7).

                    LRT   Read draft stalking horse          $255.00      1.00       $255.00
                          PSA (.4). Revise disclosure
                          statement (.6).
                    MM    Review recent revisions to         $350.00      3.30      $1,155.00
November 13,
2019                      stalking horse agreement
                          (0.2). Continue drafting
                          bidding procedures motion
                          (3.1).
                    MM    Review status of plan and          $350.00      0.20         $70.00
                          disclosure statement (0.2).

                    LRT   Email exclusivity deadlines        $255.00      0.30         $76.50
                          to Jim (.1). Discuss form of
                          liquidation analysis (.2).
                    PDR   Review liquidating trust           $695.00      0.80        $556.00
November 14,
2019                      issues raised by Lender's
                          counsel; Review legal issues
                          and post confirmation
                          matters re: same               -

                    MM    Analyze status and                 $350.00      0.70        $245.00
                          anticipated timing of plan,
                          disclosure statement and bid
                          procedures motion (0.3).
                          Continue working on bid
                          procedures motion (0.4).
                    LRT   Work on disclosure                 $255.00      1.30        $331.50
                          statement (1.2). Email Jairo
                          re values in schedules (.1).
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November 15,       PDR    Review issues re: escrow            $695.00      0.40      $278.00
2019                      held by GT and process for
                          release of funds
                   PDR    Conf call with Jerry                $695.00      0.50      $347.50
                          Feuerstein and Paul Battista
                          re: proposed plan and sale
                          related issues;
                   JCM    Call with Mr. Feurstein             $495.00      0.40      $198.00
                          regarding plan, disclosure
                          statement and purchase and
                          sale agreement issues (.4).
                    MM    Continue drafting bid               $350.00      1.90      $665.00
                          procedures motion (1.9).

November 18,        PDR   Review issues for bid               $695.00      0.60      $417.00
2019                      procedures motion and
                          related matters
November 21,        JCM   Draft email to and review           $495.00      0.60      $297.00

2019                      response from Mr. Feurstein
                          regarding confirmation of
                          non-default pursuant to Plan
                          (.2); review and respond to
                          email regarding bidding
                          procedures motion; review
                          same (.4);
                    JCM   Draft email to and review           $495.00      1.00      $495.00
                          response from Mr. Feurstein
                          regarding confirmation of
                          non-default pursuant to Plan
                          (.2); review and respond to
                          email regarding bidding
                          procedures motion; review
                          same (.4); call with Mr.
                          Battista and Mr. Feurstein to
                          discuss plan drafting issues
                          (.4).
                    JCM   Draft email to and review           $495.00      0.60      $297.00
                          response from Mr. Feurstein
                          regarding confirmation of
                          non-default pursuant to Plan
                          (.2); review and respond to
                          email regarding bidding
                          procedures motion; review
                          same (.4).
November 22,        PDR   Call with Battista and              $695.00      1.00      $695.00

2019                      Feuerstein re: plan issues;
                          Consider further revisions to
                          plan
                    JCM   Prepare for call with Mr.           $495.00      2.00      $990.00
                          Battista and Mr. Feurstein
                          regarding plan issues;
                          review draft plan and PSA
                          (1.3); call with Mr.
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                          Battista and Mr. Feurstein
                          regarding plan issues (.7).

November 27,        LRT   Read redlined plan. Update         $255.00      0.70       $178.50
2019                      pending items memo.

December 2,        PDR    Review lender's changes to         $695.00      1.40       $973.00
2019                      plan; Review draft bid
                          procedures order included in
                          plan
                   JCM    Review email from Mr.              $495.00      5.70      $2,821.50
                          Feurstein regarding
                          provisions needed in Plan
                          (.1); review and analyzes
                          proposed edits and
                          comments to Plan from Mr.
                          Battista (1.3); preparation
                          for and call with Mr.
                          Feurstein regarding Plan
                          issues (1.6); research for and
                          drafting of plan (2.7).
                    MM    Review secured lender's            $350.00      0.30       $105.00
                          comments to proposed draft
                          plan.
December 3,         PDR   Review updated draft of            $695.00      0.60       $417.00

2019                      plan

                    LRT   Review emails and drafts re        $255.00      0.80       $204.00
                          plan and related documents.

December 4,         JCM   Draft Plan of Liquidation;         $495.00      4.30      $2,128.50

2019                      draft email to Mr. Feurstein
                          regarding same (4.3).
                    LRT   Meeting to review pending          $255.00      1.00       $255.00
                          items re plan/disco and 9019
                          issues. Update memo.
December 5,         PDR   Call with Jerry Feuerstein         $695.00      0.90        $625.50

2019                      re: sale process; Review
                          STG indemnity agreement
                          and review issues to escrow
                          funds release
                    JCM   Call with Mr. Feurstein            $495.00      0.40        $198.00
                          regarding Plan issues (.4).

December 10,        JCM   Prepare for and participate        $495.00      2.80      $1,386.00

2019                      in call with Mr. Feurstein
                          and Mr. Battista regarding
                          the proposed Plan of
                          Liquidation (1.3); draft
                          email regarding condo
                          association (.1); draft email
                          regarding treatment of gym
                          equipment in Plan (.1);
                          review draft plan and
                          consider edits based on
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                           issues raised in call with
                           secured lender (1.3).

December 11,        JCM    Draft email to Mr. Feurstein       $495.00     0.10         $49.50

2019                       confirming Debtor is not in
                           default of filing
                           requirements for Plan and
                           Disclosure Statement (.1).
                     MM    Review status of deadlines         $350.00      1.20       $420.00
                           to file plan and disclosure
                           statement (0.2). Review
                           proposed revisions to
                           bidding procedures order
                           from secured lender (0.7).
                           Review proposed order
                           granting stay submitted by
                           Costa 402 (0.3).
                     LRT   Email re plan/disco                $255.00      0.10        $25.50

                           deadlines.

                    PDR    Review bidding procedures          $695.00      0.50       $347.50
December 12,
2019                       revised by Lender's counsel

                     JCM   Revise and edit draft              $495.00      5.70      $2,821.50
                           bidding procedures order
                           (1.3); review and respond to
                           email from Mr. Feurstein
                           regarding debtor contracts
                           for reference in bidding
                           procedures order (.2);
                           review and consider edits to
                           draft of motion to approve
                           bidding procedures and
                           purchase and sale agreement
                           (.7); review and analyze plan
                           and disclosure statement for
                           necessary comments or edits
                           (3.4).
                           Review status and open             $350.00      0.20         $70.00
                     MM
                           issues regarding plan and
                           disclosure statement (0.2).
                     LRT   Revise disclosure statement        $255.00      0.70        $178.50
                           pending items memo.

                            Revise plan/disco.                $255.00      2.10        $535.50
December 13,         LRT
2019

                            Review revised Plan and           $495.00      0.40        $198.00
December 17,         JCM
2019                        PSA.

                            Review and revise draft           $695.00      0.70        $486.50
December 19,         PDR
2019                        bidding procedures motion

                            Correspondence with Jairo          $350.00     1.40        $490.00
 December 20,        MM
 2019                       re: JLL (0.1).
                            Correspondence with
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                          secured lender re: status of
                          broker, plan and disclosure
                          statement (0.2). Review
                          notice of withdrawal filed in
                          state court litigation (0.1).
                          Review Paul's revisions to
                          motion to approve bidding
                          procedures etc. (0.3).
                          Review draft November DIP
                          report (0.3). Revise motion
                          to pay USPF insurance
                          premium (0.2). Review
                          order authorizing USPF
                          payment (0.1). Email to
                          Jairo re: USPF order issues
                          (0.1).
                    LRT   Work on disclosure                  $255.00      3.80      $969.00
                          statement.

                    MM    Prepare revisions to draft          $350.00      2.20      $770.00
December 23,
2019                      Stalking Horse PSA (0.8).
                          Revise motion to pay USPF
                          (0.2). Correspondence with
                          Jairo re: USPF motion (0.2).
                          Correspondence with Jerry
                          and Paul re: upcoming
                          retention hearing (0.1).
                          Review and approve USPF
                          motion (0.2). Brief review of
                          hotel management
                          agreement provided by Jerry
                          (0.3). Brief review of code
                          provisions and case law re:
                          retention of special counsel,
                          adverse interests (0.4).
                    MM    Review proposed revisions           $350.00      1.80      $630.00
                          to plan from Paul (0.7).
                          Begin review of disclosure
                          statement (0.7). Develop
                          strategy for reconciling plan
                          and disclosure statement
                          (0.4).
                    LRT   Work on plan/disclosure and         $255.00      2.10      $535.50
                          related pleadings.

                    LRT   Work on disco.                      $255.00      2.10      $535.50
December 24,
2019

                    MM    Correspondence with client          $350.00      0.20       $70.00
December 26,
2019                      re: USPF motion, upcoming
                          hearings (0.2).
                    MM    Continue review of                  $350.00      1.60      $560.00
                           disclosure statement.
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                      PDR    Review further revisions to       $695.00     0.40        $278.00
December 27,
2019                         draft PSA

                      PDR    Review draft of Disclosure        $695.00      1.40       $973.00
                             Statement

                       MM    Prepare significant revisions     $350.00     2.80        $980.00
                             to Disclosure Statement
                             (2.6). Correspondence with
                             Secured Lender re: open
                             issues (0.2).
                       LRT   Attention to deadlines and        $255.00      0.60       $153.00
                             update calendar. Consider
                             further edits to disco.
                      PDR    Review exclusivity issues         $695.00      0.20       $139.00
January 2, 2020


                      JCM    Review draft motion to            $495.00      0.20        $99.00
                             extend exclusivity (.2).

                       MM    Revise motion to extend           $365.00      0.40       $146.00

                             exclusivity and acceptance
                             periods (0.4).
                       LRT   Draft motion to extend            $260.00      0.70       $182.00
                             exclusivity and proposed
                             order.
                       JCM   Review draft order granting       $495.00      2.30      $1,138.50
January 3, 2020
                             extension of exclusivity
                             period (.1); review draft plan
                             and disclosure statement
                             (1.5); review draft purchase
                             and sale agreement (.3);
                             review draft motion to
                             approve bidding procedures
                             (.4).
                       MM    Review proposed order             $365.00      0.10         $36.50
                             granting motion to extend
                             exclusivity periods (0.1).
                       JCM   Review and consider               $495.00      2.10      $1,039.50
January 6, 2020
                             revisions for draft Plan
                             (1.5); review motion to
                             approve bidding procedures
                             motion (.4); review draft
                             purchase and sale agreement
                              (.2).
                              review draft motion to           $695.00      0.30        $208.50
January 7, 2020        PDR
                              extend exclusivity

                       JCM    Draft email to Mr. Feurstein      $495.00     5.20      $2,574.00

                              and Mr. Battista regarding
                              draft motion to to extend
                              exclusivity and request to
                              discuss open issues (.3);
                              review and consider open
                              issues with Plan, Disclosure
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                              Statement, Motion to
                              Approve PSA and Motion to
                              Approve Bidding
                              Procedures, and broker
                              retention issues (4.5);
                              meeting with Ms. Murphy
                              regarding same (.4)
January 8, 2020        JCM    Call with Mr. Feurstein and          $495.00     0.50        $247.50
                              Mr. Battista regarding
                              finalization of Plan and
                              Disclosure Statement and
                              related documents (.5).
January 9, 2020        JCM    Draft email to Mr. Feurstein         $495.00     4.10       $2,029.50
                              regarding motion to extend
                              exclusivity (.1); draft emails
                              regarding finalization and
                              filing of motion to extend
                              exclusivity (.2); review and
                              revise Plan and Disclosure
                              Statement, Stalking Horse
                              Agreement and Motion to
                              Approve Bidding
                              Procedures (3.8)
                        LRT   Review revised disco (.7).           $260.00      0.70       $182.00



                        MR    Revise and finalize                  $180.00      0.30         $54.00
                              Expedited Motion to Extend
                              Exclusivity and Solicit
                              Acceptances
                        JCM   Review and revise draft Plan         $495.00      3.60      $1,782.00
January 10, 2020
                              and Disclosure Statement
                              (3.4); review and respond to
                              email regarding
                              administrative deadlines for
                              filing Plan and Disclosure
                              Statement and related
                              deadlines (.2).
                        MM    Review revisions to                  $365.00      0.80        $292.00
                              disclosure statement
                              proposed by secured lender
                              (0.8).
                        MR    Review Notice of Hearing             $180.00      0.20         $36.00
                              on Debtor's Expedited
                              Motion Pursuant To Section
                               1121 (D) Of The Bankruptcy
                              Code For An Extension Of
                              Exclusive Right To File A
                              Plan Of Reorganization And
                              To Solicit Acceptances [ECF
                              No. 215]; update calendar;
                              review local rules for proper
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                             service list for certificate of
                             service of DE 215

January 13, 2020       PDR   Exchange emails with                $695.00      0.20        $139.00
                             broker re: sale process

                       JCM    Review and revise draft             $495.00     3.50       $1,732.50
                              Plan, Disclosure Statement,
                              Motion to Approve Bidding
                              Procedures and Stalking
                              Horse Agreement; draft
                              email regardin same (3.5).
January 14, 2020       PDR    Review revised disclosure           $695.00      1.40       $973.00
                              statement and plan

                       PDR    Review revise PSA                   $695.00     0.60        $417.00



                       JCM    Review and revise draft             $495.00     4.40       $2,178.00
                              Plan, Disclosure Statement,
                              Motion to Approve Bidding
                              Procedures, Stalking Horse
                              Agreement and proposed
                              Order on Motion to Approve
                              Bidding Procedures. (4.4).
                        MM    Review stalking horse               $365.00      2.50        $912.50
                              agreement to determine
                              what must be completed by
                              both sides (0.3). Review bid
                              procedures motion to
                              determine what must be
                              completed or updated (0.3).
                              Develop strategy for
                              completion of outstanding
                              items in cooperation with
                              secured lender (0.5). Revise
                              stalking horse agreement
                              and determine necessary
                              issues for secured lender to
                              address (0.7). Revise
                              bidding procedures motion
                              and order (0.4).
                              Correspondence with
                              secured lender re: missing
                              information and deliverables
                              for stalking horse
                              agreement, changes to
                              bidding procedures motion
                              and order (0.3).
                        MM    Review most recent version          $365.00      3.50      $1,277.50
                              of plan to determine what
                              must be completed (0.4).
                              Review most recent version
                              of disclosure statement to
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                              determine what must be
                              completed (0.3). Revise
                              liquidating plan to be
                              consistent with disclosure
                              statement and psa (1 .2).
                              Revise disclosure statement
                              to be consistent with plan
                              and psa (1.1).
                              Correspondence with
                              secured lender re: missing
                              information and deliverables
                              for plan and disclosure
                              statement (0.5).
                        MR    Compile documents and               $180.00      0.20        $36.00
                              prepare JCM for hearing on
                              1-15-20 re: Motion for
                              Extension of Time to File
                              Plan
January 15, 2020        MM    Review draft liquidation            $365.00      0.30       $109.50
                              analysis (0.3).

                        LRT   Read email of pending items         $260.00      0.30        $78.00
                              for plan/disco and related
                              pleadings (.2). Email re
                              liquidation analysis (exhibit
                              to disco) (.1).
                        PDR   Review issues from call             $695.00      0.40       $278.00
January 16, 2020
                              with Lender's counsel re:
                              plan, disco, PSA etc.
                        JCM   Review and edit draft Plan,         $495.00      3.30      $1,633.50
                              Disclosure Statement and
                              related pleadings and
                              proposed orders (2.3);
                              prepare for and participate in
                              call with Mr. Feurstein and
                              Mr. Battista regarding Plan
                              and Disclosure Statement
                              issues; draft email memo
                              regarding actions items from
                              call (1.0).
                        MM    Correspondence with Victor          $365.00      0.50       $182.50
                              Rones re: proposed orders
                              (0.1). Review and approve
                              proposed orders on debtor's
                              motion to upload to judge
                              (0.1). Prepare clean versions
                              of bidding procedures
                              motion and order and
                              stalking horse agreement for
                              circulation (0.3).
                        PDR   Review and revise PSA               $695.00      0.30       $208.50
January 21, 2020
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                       PDR    Review and revise plan and         $695.00      0.60       $417.00
                              disco based on call with
                              Lender's counsel;
                       JCM    Revise and edit Plan and           $495.00      5.70      $2,821.50
                              Disclosure Statement,
                              Stalking Horse PSA, Motion
                              to Approve Bidding
                              Procedures and draft Order
                              Approving Bidding
                              Procedures; draft email to
                              Mr. Feurstein regarding
                              same; (4.4).; consider
                              procedural issues with
                              confirmation; direct plan of
                              action for completion (.8);
                              Draft email to Prospective
                              Liquidating Trustee
                              regarding retention
                              liquidating trustee (.2); call
                              with Mr. Feurstein regarding
                              plan and sale process issues
                              (.3).
                        MM    Review revised clean plan          $365.00      0.50       $182.50
                              (0.2). Review revised clean
                              disclosure statement (0.3).
                        MM    Review revised clean               $365.00      0.60        $219.00
                              stalking horse agreement
                              (0.2). Review revised clean
                              bid procedures motion and
                              order (0.3). Review
                              correspondence with
                              potential liquidating trustee
                              (0.1).
                        PDR   Review JLL information and         $695.00      0.40        $278.00
January 22, 2020
                              qualifications

                         MR   Receipt of Order Granting          $180.00      0.20         $36.00
                              Debtor's Motion Pursuant to
                              Section 1121(d) of the
                              Bankruptcy Code for an
                              Extension of Exclusive
                              Right to File a Plan of
                              Reorganization and to
                              Solicit Acceptances [ECF
                              No. 222]; review order and
                              local rules for proper service
                              list of DE 222; update
                              calendar
                        PDR   Review revisions to bid            $695.00      0.50        $347.50
January 23, 2020
                              procedures motion; PSA etc.
                              from Lender's counsel
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    PDR    Review additional changes          $695.00      0.60       $417.00
           to plan and disco from
           Lender's counsel
    JCM    Review edits of Plan,              $495.00      2.80      $1,386.00
           Disclosure Statement,
           Stalking Horse PSA, Motion
           to Approve Bidding
           Procedures and Draft Order
           Approving Bidding
           Procedures from secured
           creditor; review open items
           need to be resolved prior to
           filing. (2.4); review
           disinteredness affidavit from
           Prospective Liquidating
           Trustee (.2); review list of
           executory contracts and
           email with same (.2);
     MM    Review Secured Lender's            $365.00      3.60      $1,314.00
           proposed revisions to
           bidding procedures motion
           (0.2). Further revise bidding
           procedures motion (0.5).
           Review Secured Lender's
           proposed revisions to
           bidding procedures order
           (0.2). Further revise bidding
           procedures order (0.5).
           Review Secured Lender's
           proposed revisions to
           stalking horse agreement
           (0.2). Further revise stalking
           horse agreement (1.3).
           Correspondence with Stuart
           K re: missing agreement
           exhibits (0.2). Determine
           open issues and items
           needed for bidding
           procedures motion, bidding
           procedures order and
           stalking horse agreement
           (0.5).
     MM    Review Secured Lender's            $365.00      5.10      $1,861.50
           proposed revisions to plan
           (0.2). Further revise plan
           (0.4). Review Secured
           Lender's proposed revisions
           to disclosure statement (0.2).
           Further revise Disclosure
           Statement (0.8). Determine
           open issues and items still
           needed for plan and
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                              disclosure statement (0.5).
                              Draft motion for conditional
                              approval of disclosure
                              statement and combined
                              hearing with plan (1.8).
                              Draft order granting motion
                              for conditional approval
                              (1.2)
January 24, 2020       JCM    Consider open issues that            $495.00      2.00      $990.00
                              must be addressed prior to
                              filing Plan, Disclosure
                              Statement and releated
                              pleadings (.8); call with Mr.
                              Romero regarding Plan and
                              Disclosure Statement issues;
                              draft email regarding same
                              (.5).; Call with Ms.
                              Rodriguez of JLL regarding
                              market and sale process and
                              listing agreement (.3);
                              review memorandum
                              regarding service of plan
                              and disclosure statement and
                              email from Ms. Tannenbaum
                              regarding same (.4).
                        MM    Review local rules re:               $365.00      2.70      $985.50
                              timing of confirmation,
                              service of plan, disclosure
                              statement and related orders
                              and hearing dates (0.6).
                              Strategize and prioritize all
                              outstanding matters/issues to
                              be addressed in order to
                              comply with rules/statutes
                              and get necessary motions
                              and plan and disclosure
                              statement filed (1.6).
                              Develop to do and priority
                              list (0.5).
                        MM    Review Plan effective date           $365.00      1.60      $584.00
                              and consider issues
                              concerning timing of
                              effective date on sale,
                              assumption and rejection
                              (1 .2). Review Plan re:
                              treatment of priority claims
                              (0.4).
                        LRT   Meet regarding plan track            $260.00      1.10      $286.00

                              and pending items and
                              create task list (.7). Review
                              service rules for
                              plan/disco/ballots (.4)
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January 27, 2020       JCM    Draft email to Mr. Rumpel             $495.00      1.70      $841.50
                              regarding status of retention
                              of broker (.1); call with Ms.
                              Rodriguez and Mr. Rumpel
                              regarding market and sale
                              process and retention (.5);
                              review email from Ms.
                              Tannenbaum regarding
                              litigation targets; consider
                              potential litigation targets
                              (.4); draft email to Mr.
                              Rumpel and Ms. Rodriguez
                              with draft motion to
                              approving bidding
                              procedures (.2); review
                              revised PSA and exhibits
                              and email from Mr. Kossar
                              (•5);
                        LRT   Email Jairo/Moses re list of          $260.00      0.30       $78.00
                              preserved causes of action
                              for exhibit to plan (.1).
                              Work on memo re
                              solicitation packages (.2).
January 28, 2020        PDR   Review JLL Exclusive                  $695.00      0.40      $278.00
                              Listing Agreement

                        JCM   Review email and affidavit            $495.00      2.00      $990.00
                              from Prospective
                              Liquidating Trustee; respond
                              to same regarding potential
                              selection as Liqiudating
                              Trustee (.3); review and
                              revise JLL's draft listing
                              agreement; draft email to
                              Ms. Rodriguez regarding
                              same (.8); review and
                              respond to email regarding
                              potential litigation targets
                              (.2). Review email from
                              Prospective Liquidating
                              Trustee regarding
                              Liquidating Trustee issues
                              (.2); review and revise JLL
                              draft listing agreement (.5).
                        MM    Review outstanding tasks              $365.00      1.30      $474.50
                              and upcoming deadlines
                              (0.3).; Review JLL listing
                              agreement (0.3). Review
                              Secured Lender's revisions
                              to PSA (0.5). Revise legal
                              description in PSA (0.2).
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                        LRT   Email Trustee Services re          $260.00      0.40      $104.00
                              solicitation packages (.1).
                              Prepare plan exhibit: list of
                              potential litigation target
                              (.3).
January 29, 2020       PDR    Review status of plan and          $695.00      0.40      $278.00
                              disco and related matters
                              including status of sale
                              pleadings
                       JCM    Review voicemail from Ms.          $495.00      0.20       $99.00
                              Rodriguez regarding listing
                              agreement and bankruptcy
                              issues (.1); review email
                              from Mr. Kossar regarding
                              acceptance of edits to
                              Stalking Horse Agreement
                              (.1).
                       MCC    Review and respond to              $305.00      0.80      $244.00
                              email correspondence;
                              review stalking horse
                              purchase agreements and
                              make comments on same
                        MM    Review strategy and                $365.00      0.50      $182.50
                              potential timing re:
                              finalizing and filing plan
                              and disco (0.3).Update list
                              of potential litigation targets
                              (0.2).
                        MM    Review strategy and                $365.00      0.90      $328.50
                              potential timing re:
                              finalizing and filing bidding
                              procedures motion, stalking
                              horse agreement (0.5). Make
                              additional minor revisions to
                              exhibits to stalking horse
                              agreement (0.2). Review
                              real estate revisions to
                              stalking horse exhibits (0.2).
                        PDR   Review and revise PSA              $695.00      0.40      $278.00
January 30, 2020


                        JCM   Revise and edit JLL draft          $495.00      1.90      $940.50
                              listing agreement; draft
                              email to Mr. Feurstein
                              regarding same (1.7); review
                              and respond to email from
                              Ms. Rodriquez regarding
                              same (.1); draft email to Mr.
                              Feurstein regarding draft
                              Stalking Horse Agreement
                              (.1).
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January 3 1 , 2020       JCM    Draft email to Mr. Romero          $495.00      0.10         $49.50
                                regarding need to review
                                draft Stalking Horse
                                Agreement (.1).
                          MM    Review status of plan and          $365.00      0.20         $73.00
                                disclosure statement.

                          MM    Review status of stalking          $365.00      0.60        $219.00
                                horse agreement, JLL listing
                                agreement, and sale motion
                                (0.4). Review
                                correspondence re: budget
                                (0.1). Review
                                correspondence re: listing
                                agreement (0.1).


                Totals                                                        216.20      $93,312.50
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                            MELAND RUSSIN & BUDWICK
                                      PROFESSIONAL ASSOCIATION

                                 3200 SOUTHEAST FINANCIAL CENTER
                                  200 SOUTH BISCAYNE BOULEVARD
                                        MIAMI, FLORIDA 331 31




                                                                             TELEPHONE (305) 358-6363


                                                                              FACSIMILE (305) 358-1221
Costa Hollywood Property Owner, LLC
                                                                             FID# XX-XXXXXXX
c/o Moses Bensusan
201 N Ocean Drive                                                            February 26, 2020
Hollywood, FL 33019

Attention:
                                                                             Matter #:            5589-7

                                                                             Invoice #:            69839



RE:    Costa Hollywood Property Owner - CI 1 BKC (Fee App/Employ)



DATE            LAWYER       DESCRIPTION                           RATE      HOURS                FEE


September 23,         MM     Research re: whether                $350.00        0.50              $175.00

2019                         disputed claims are counted
                             toward liabilities in UST
                             guidelines for retention and
                             applications in larger cases
                             (0.5).
                      LRT    Research large case UST               $255.00      0.40              $102.00
                             guidelines.

September 24,         MM     Revise retention application          $350.00      1.20              $420.00

2019                         in compliance with UST
                             large case guidelines (0.4).
                             Revise PDR affidavit in
                             compliance with UST large
                             case guidelines (0.3). Draft
                             Debtor's affidavit in
                             compliance with UST large
                             case guidelines (0.5).
September 25,         MM     Prepare retention application         $350.00      0.30              $105.00

2019                         for final review and
                             signature prior to filing
                             (0.3).
September 26,         PDR    Application of the Debtor             $695.00      0.40              $278.00

2019                         for an Order, on an Interim
                             Basis, Authorizing the
                             Employment and Retention
                             of Meland Russin &
                             Budwick, PA. as Attorneys
                             for the Debtor and Debtor In
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                             Possession Nunc Pro Tunc
                             to the Petition Date (.4);

                       MR    Revise, compile exhibits and         $180.00      0.30      $54.00
                             finalize Application to
                             Employ MRB
September 27,          MR    Receipt of Notice of Hearing         $180.00      0.30      $54.00

2019                         re: Application to Employ
                             MRB; review local rules for
                             proper service list for
                             Certificate of Service; serve
                             Notice; update calendar [.1];
                             compile documents and
                             prepare PDR for hearing on
                             Application to Employ [.2]
                       PDR   Review disclosure of                 $695.00      0.20      $139.00
October 2, 2019
                             compensation

                       MR    Revise and finalize Order on         $180.00      0.10       $18.00
                             Application to Employ
                             MRB [DE 21]
                       LRT   Email re special tax counsel         $255.00      0.80      $204.00
October 7, 2019
                             retention (.1). Revise
                             invoices for fee app
                             purposes (.7).
                       JCM   Draft email regarding                $495.00      0.10       $49.50
October 14, 2019
                             application to employ
                             special tax counsel to pursue
                             tax appeal.
                        PH   Draft application to employ          $245.00      1.80      $441.00
                             Robb Udell, Esq. as special
                             tax appeal counsel. Draft
                             affidavit and order granting
                             same.

                       JCM   Review draft application to          $495.00      0.20       $99.00
October 15, 2019
                             retain special counsel and
                             affidavit; draft email
                             regarding same (.2).
                        PH   Work on draft employment             $245.00      0.40       $98.00
                             application for Udell. Email
                             to Udell re same.
                        MR   Review docket re: Order on           $180.00      0.20       $36.00
October 16, 2019
                             Application to Employ
                             MRB; email exchange with
                             Christina Romero re: status
                             of Order
                       JCM   Draft email regarding                $495.00      0.20       $99.00
October 17, 2019
                             Court's ruling on record
                             regarding order approving
                             retention of MRB as counsel
                             to the Debtor and
                             preparation of final order.
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October 18, 2019       JCM    Review proposed final order       $495.00      0.20      $99.00
                              authorizing employment of
                              MRB; draft email regarding
                              same (.2).
                        LRT   Prepare final order               $255.00      0.30      $76.50
                              authorizing retention of
                              MRB as debtor's counsel.
October 22, 2019       JCM    Draft and respond to emails       $495.00      0.20       $99.00
                              regarding retention of Mr.
                              Udell for tax appeal of a d
                              valorem taxes (.2).
                        LRT   Telephone conference with         $255.00      0.80      $204.00
                              Jairo re resume (.1). Draft
                              retention app, affidavit and
                              proposed order (.7).
                        MR    Finalize and upload Final         $180.00      0.10       $18.00
                              Order Approving
                              Employment of MRB
                         PH   Follow up email to Robb           $245.00      0.10       $24.50
                              Udell re app to employ.

October 24, 2019        MM    Review final executed order       $350.00      2.40      $840.00
                              on application to employ
                              MRB (0.1). Legal research
                              re: prepetition payment to
                              necessary professionals
                              (0.4). Revise application to
                              employ Jairo Romero and
                              pay prepetition amounts due
                              (1.6). Revise order
                              authorizing employment and
                              payment to Jairo (0.2).
                              Revise affidavit of Jairo
                              (0.1).
                         MR   Receipt of Final Order            $180.00      0.20       $36.00
October 29, 2019
                              Authorizing the
                              Employment and Retention
                              of PDR and MRB [DE 113];
                              review local rules for proper
                              service list for certificate of
                              service of ECF No. 113
                         PH   Review updated affidavit          $245.00      0.40       $98.00
                              from Robb Udell. Review
                              draft employment
                              application and order.
                              Communications with Udell
                              re his draft employment
                              application.
                        LRT   Read Consulting Agreement         $255.00      0.20       $51.00
October 30, 2019
                              and email re same.

                        JCM   Review signed affidavit           $495.00      0.20       $99.00
October 31, 2019
                              from Mr. Udell; draft email
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                         regarding filing of
                         application for employment.

                   MR    Compile exhibits; revise and         $180.00      0.50      $90.00
                         finalize Application to
                         Employ Robb Udell
                    PH   Communications with Robb             $245.00      0.30      $73.50
                         Udell. Review executed
                         affidavit. Finalize
                         application to employ.
November 4,        MR    Receipt of Notice of Hearing         $180.00      0.20      $36.00

2019                     on Application of the Debtor
                         for an Order Authorizing the
                         Employment and Retention
                         of Robb Udell, Esq., and
                         Rennert Vogel Mandler &
                         Rodriguez, P.A. as Special
                         Tax Appeal Counsel Nunc
                         Pro Tunc to September 1 9,
                         2019 [ECFNo. 127]; review
                         local rules for proper service
                         list for Certificate of Service
                         re: same; update calendar
                   MM    Revise JV Consulting                 $350.00      1.20      $420.00
November 5,
2019                     agreement (0.6). Review
                         independent contractor
                         agreement for JV Consulting
                         (0.2). Revise application to
                         employ Jairo as controller
                         (0.2). Revise order on
                         application to employ Jairo
                         (0.1). Revise Jairo's affidavit
                         (0.1).
                    PH   Email communications with            $245.00      0.10       $24.50
                         Robb Udell re employment
                         application and hearing.
                   JCM   Review and revise                    $495.00      0.50      $247.50
November 6,
2019                     application and affidavit for
                         retention of Mr. Romero as
                         controller; draft emails
                         regarding same.
                    MR   Compile exhibits; revise and         $180.00      0.50       $90.00
                         finalize Expedited Motion to
                         Employ Jairo Romero as
                         Controller and for Payment
                         of Prepetition Amounts Due
                    MR   Receipt of Notice of Hearing         $180.00      0.20       $36.00
November 7,
2019                     on Application of the Debtor
                         for an Order Authorizing the
                         Employment and Retention
                         of Robb Udell, Esq., and
                         Rennert Vogel Mandler &
                          Rodriguez, P.A. as Special
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                          Tax Appeal Counsel Nunc
                          Pro Tunc to September 19,
                          2019 [ECFNo. 142]; update
                          calendar; review local rules
                          for proper service list for
                          Certificate of Service re:
                          same

November 19,        MR    Review docket re:                  $180.00      0.20      $36.00
2019                      Application to Employ Jairo
                          Romero (DE 143); discuss
                          with MEM; email exchange
                          with Susan (JA) re: same
November 20,        MR    Receipt of Notice of Hearing       $180.00      0.20      $36.00
2019                      on Expedited Application of
                          the Debtor for an Order
                          Authorizing the
                          Employment and Retention
                          of Jairo Romero of JV
                          International Consultants,
                          Inc. as Controller Nunc Pro
                          Tunc to September 19, 2019
                          and Authorizing Payment of
                          Prepetition Amounts Due
                          [ECF No. 156]; review local
                          rules for proper service list
                          for certificate of service;
                          update calendar
November 21,        MR    Compile documents re:              $180.00      0.20      $36.00
2019                      multiple applications to
                          employ and prepare JCM for
                          hearing on 11-26-19
November 27,        LRT   Revise Udell order.                $255.00      0.10      $25.50

2019

December 5,         JCM   Draft email regarding filing       $495.00      0.20      $99.00

2019                      of first fee application and
                          review response (.2);
                    MR    Review Order Authorizing           $180.00      0.10       $18.00
                          the Employment and
                          Retention of Robb Udell,
                          Esq., and
                          Rennert Vogel Mandler &
                          Rodriguez, P.A. as Special
                          Tax Appeal Counsel Nunc
                          Pro Tunc to September 1 9,
                          2019 [ECF No. 167]; review
                          local rules for proper service
                          list for Certificate of Service
December 9,         LRT   Review and revise invoices         $255.00      0.80      $204.00

2019                      for fee app purposes.

December 10,        LRT   Revise invoices for fee app.       $255.00      0.90      $229.50

2019
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December 13,       JCM    Review and respond to             $495.00      0.10       $49.50
2019                      email from Mr.Kassower
                          regarding retention (.1).
December 14,       JCM    Draft email to Mr. Kassower       $495.00      0.30      $148.50
2019                      regarding MaxCom
                          adversary case and Costa
                          402 case.
December 15,        JCM   Review and respond to             $495.00      0.50      $247.50
2019                      email from Mr. Kassower
                          regarding retention; call
                          with Mr. Kassower
                          regarding same (.5).
December 16,        JCM   Review and respond to             $495.00      1.10      $544.50
2019                      emails regarding retention of
                          special counsel; review edits
                          to application and affidavit
                          (.5); research regarding
                          disinterestedness standard
                          pursuant to 11 U.S.C. Sec.
                          327(e) (.6).
                    LRT   Telephone conference with         $255.00      0.20       $51.00
                          Michael Kassower re
                          information for retention
                          app.

December 17,        JCM   Review and respond to             $495.00      0.80      $396.00

2019                      email from Mr. Kassower
                          regarding employment as
                          special counsel, call with
                          Mr. Kassower regarding
                          same (.5); revise and edit
                          draft application to employ
                          Mr. Kassower, draft email
                          regarding same (.3).
                    LRT   Prepare retention                 $255.00      0.70      $178.50
                          application, affidavit and
                          proposed order re Kassower
                          as special counsel.
                     MR   Review Notice of Hearing in       $180.00      0.10       $18.00
                          Maxcom adversary (ECF
                          No. 5); review local rules for
                          deadline to respond;
                          calculate and calendar
                          deadline
December 19,        LRT   Review emails and                 $255.00      0.30       $76.50

2019                      pleadings re amended
                          disclosure.
                     MR   Email exchange with               $180.00      0.60      $108.00
                          Michael Kassower, Esq.;
                          compile exhibits; revise and
                          finalize Expedited
                          Application to Employ
                          Michael Kassower as
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                             Special Counsel; email
                             exchange with Judicial
                             Assistant regarding
                             expedited hearing
December 20,           MR    Receipt of Notice of Hearing        $180.00      0.50      $90.00
2019                         on Application to Employ
                             Michael Kassower, Esq. (DE
                             192); update calendar;
                             review local rules for proper
                             service list for Certificate of
                             Service of same; compile
                             documents and prepare
                             binder for hearing on
                             12-27-19
December 23,          JCM    Call with Ms. Murphy to             $495.00      0.30      $148.50

2019                         discuss hearing on retention
                             of Mr. Kassower and
                             secured lender funding (.3).
                       PDR   Review and revise amended           $695.00      0.20      $139.00
December 26,
2019                         disclosures re: Groisman
                             prior representation of J&R
                       LRT   Prepare amended declaration         $255.00      0.20       $51.00
                             of Peter adding Gabe
                             disclosures.
                       JCM   Review emails regarding             $495.00      0.20       $99.00
December 27,
2019                         outcome of hearing on
                             retention of special counsel
                             (.2).
                       MM    Prepare for hearing on              $350.00      2.40      $840.00
                             application to retain Michael
                             Kassower (0.5). Attend
                             hearing on application to
                             retain Michael Kassower
                             (1.0). Correspondence with
                             client re: special counsel
                             retention (0.2). Call with
                             Kassower re: approval of
                             retention (0.2). Draft order
                             granting application to retain
                             special counsel (0.5).
                       MM    Review status of order              $350.00      0.20       $70.00
December 3 1 ,
2019                         approving Kassower
                             retention.
                       LRT   Work on first interim fee           $260.00      1.70      $442.00
January 3, 2020
                             app and exhibits.

                       MM    Review order authorizing            $365.00      0.20       $73.00
January 6, 2020
                             Kassower retention (0.1).
                             Correspondence with
                             Kassower re: entered order
                             (0.1).
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January 7, 2020         MR    Receipt of Order                  $180.00      0.20         $36.00
                              Authorizing the
                              Employment and Retention
                              of Michael R. Kassower,
                              Esq. and Frank Weinberg
                              Black, RL. as Special
                              Counsel Nunc Pro Tunc to
                              December 9, 2019 [ECF No.
                              207]; review local rules for
                              proper service list for
                              Certificate of Service of DE
                              207
January 8, 2020         LRT   Work on exhibits to fee           $260.00      1.10        $286.00
                              app.


January 10, 2020        LRT   Work on exhibits to fee           $260.00      1.30        $338.00
                              app.


January 13, 2020        MR    Prepare Notice of Filing          $180.00      0.20         $36.00
                              Amended Declaration of
                              Peter D. Russin, Esq. in
                              Support of Debtor's
                              Application to Employ and
                              Retain Meland Russin &
                              Budwick, P. A. as Attorney
                              for the Debtor and Debtor in
                              Possession Nunc Pro Tunc
                              to the Petition Date; revise
                              and finalize same
January 14, 2020        PDR   Finalize and file amended         $695.00      0.20        $139.00
                              disclosures (Gabe Groisman
                              joining firm)
                        LRT   Work on fee app exhibits.         $260.00      2.40        $624.00



                        JCM   Review and respond to             $495.00      0.30        $148.50
January 24, 2020
                              email regarding potential for
                              collection actions by Mr.
                              Kassower (.3).
                        LRT   Work on invoices for fee          $260.00      0.60        $156.00
January 27, 2020
                              app.


                        JCM   Review invoices from Mr.          $495.00      0.30        $148.50
January 28, 2020
                              Kassower and discussion of
                              fee structure for collections
                              activity (.3).


              Totals                                                        35.90      $11,400.50
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                            MELAND RUSSIN & BUDWICK
                                      PROFESSIONAL ASSOCIATION

                                  3200 SOUTHEAST FINANCIAL CENTER
                                   200 SOUTH BISCAYNE BOULEVARD
                                         MIAMI, FLORIDA 331 31




                                                                              TELEPHONE (305) 358-6363


                                                                               FACSIMILE (305) 358-1221
Costa Hollywood Property Owner, LLC
                                                                              FID# XX-XXXXXXX
c/o Moses Bensusan
201 N Ocean Drive                                                             February 26, 2020
Hollywood, FL 33019

Attention:
                                                                              Matter #:            5589-8

                                                                              Invoice #:            69840



RE:    Costa Hollywood Property Owner - CI 1 BKC (Business Op)



                LAWYER       DESCRIPTION                            RATE      HOURS                FEE
DATE

                      PDR    Review budgets for cash                $695.00      1.70            $1,181.50
September 20,
2019                         collateral motion (.5);
                             Review additional matters
                             that may require expedited
                             relief including critical
                             vendor list etc. (.5) TCs with
                             Jerry Feuerstein re: first day
                             motions and pending
                             litigation matters that need
                             to be resolved and related
                             matters. (.7)
                      PDR    Exchange emails with Josh              $695.00      1.60            $1,112.00

                             Rubens re: bankruptcy filing
                             and stay of pending
                             litigation (.3); TC from
                             Judge Ray's chambers
                             asking if any matters need to
                             be set on short notice (.3);
                             Review issues re: use of
                             cash and critical vendors
                             procedural issues and timing
                             for hearings given flux of
                             Judge's calendar (.5);
                             Review and revise letter to
                             Evolution re: restrictions on
                             use of cash collateral and
                             bank accounts (.3); Consider
                              Evolution demands and
                              related issues (.2);
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    PDR    Review email from Steven             $695.00      0.30       $208.50
           Davis re: request that unit
           owners be able to rent their
           own units despite rules to
           the contrary; Review rules
           related issues
    JCM    Review and analyze emails            $495.00      6.90      $3,415.50
           (.3); review and analyze
           draft pleadings and related
           support (1.4); research for
           and drafting of cash
           collateral motion (3.5);
           meeting with clients (1.1);
           review various email
           correspondence related to
           filing (.6).
    JCM    Review management                    $495.00      7.90      $3,910.50
           agreement with Evolution
           regarding events of default
           and termination issues (.5);
           conference regarding same
           (.8); review and analyze
           draft pleadings and related
           support for filing bankruptcy
           (1.4); research for and
           drafting of cash collateral
           motion (3.5); meeting with
           clients (1.1); review various
           email correspondence
           related to filing (.6).
     JCM   Research for and drafting of         $495.00      7.80      $3,861.00
           letters to management
           companies to stop all
           payments (.7); draft email to
           Mr. Romero regarding
           discussion of budget and
           critical vendors (.2); review
           and analyze draft budget
           (1.2); draft email and call to
           Mr. Feurstein (.2); calls with
           Mr. Romero regarding
           budget (1.5); review and
           analyze draft parking
           services contract; analyze
           whether the debtor can and
           should enter contract
           postpetition (.5); review and
           analyze critical vendors and
           amounts due and how to
           handle payments (2.4);
           review and consider issue of
           unit owners attempting to
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                           terminate their RMAs (.6);
                           call with Mr. Dunn and Ms.
                           Read regarding bankruptcy
                           and impact on Evolution's
                           management (.5).
                     MM    Review status and necessary      $350.00      0.80       $280.00
                           items.

                     LRT   Review and email re budget       $255.00      1.70       $433.50
                           for cash collateral motion
                           (.4).
                           Revise cash management
                           motion and proposed order
                           (.2).
                           Revise insurance premium
                           motion and proposed order
                           (.2).
                           Revise customer programs
                           motion and proposed order
                           (.2).
                           Draft motion to pay critical
                           vendors and proposed order
                           (.7).
September 22,        PDR   Review revised draft budget      $695.00      2.00      $1,390.00

2019                       for cash collateral motion
                           (.4); Review draft pleadings
                           re: same (.6); Review issues
                           with Evolution contract and
                           consider management issues
                           (.8);
September 23,        PDR   TC w Jerry Feuerstein re:        $695.00      2.10      $1,459.50

2019                       status of draft motion for use
                           of cash/financing and related
                           matters (.3); Review further
                           revised draft motion and
                           order re: same (.4); Review
                           and comment on further
                           revised draft budget (.3);
                           Review critical vendor list
                           (.4); Review issues and
                           concerns raised by Lender
                           re: funding operational short
                           falls (.3); Review cash
                           management motion draft
                           (•4)
                     JCM   Draft email to Mr. Romero        $495.00      8.80      $4,356.00
                           regarding budget
                           preparations (.1); review and
                           analyze draft budget; callS
                           with Mr. Romero regarding
                           adjustments to same (3.8);
                           research for and drafting of
                           motion for use of cash
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                           collateral (4.4); draft email
                           to and call with Mr.
                           Feurstein regarding first day
                           motions (.5).
                     MM    Review status of first days        $350.00      1.80       $630.00
                           and determine necessary
                           steps for review and filing
                           (0.2). Review notice of
                           deficiency (0.1). Review
                           notices of appearance (0.1).
                           Review and revise motion
                           and order re: customer
                           programs (0.3). Review and
                           revise cash management
                           motion and order (0.5).
                           Review and revise insurance
                           motion and order (0.3).
                           Review and revise critical
                           vender motion and order
                           (0.3).
                     LRT   Telephone conferences with         $255.00      0.20        $51.00
                           Jairo re budget and critical
                           vendor listing (.2).
                     PDR   Review multiple emails re:         $695.00      1.10       $764.50
September 24,
2019                       use of cash, budget, critical
                           vendor issues etc. (.6);
                           Review numerous emails
                           with Evolution's counsel re:
                           inappropriate demands by
                           Evolution and related issues
                           (.5)
                     JCM   Call with Mr. Feurstein            $495.00      8.80      $4,356.00
                           regarding cash collateral
                           issues (.2); research for and
                           drafting of 1 month cash
                           collateral motion (4.0); draft
                           and respond to emails from
                           Mr. Romero regarding same
                           (.3); review and respond to
                           emails from counsel for
                           Evolution; draft email to Mr.
                           Romero regarding same (.2);
                           discuss budget edits with
                           Mr. Romero (1.4); call with
                           counsel for Evolution
                           regarding budget issues (.2);
                           draft and respond to various
                           emails regarding report that
                           Mr. Greene of Evolution is
                           failing to turnover required
                            inforamtion to Mr. Romero
                            (.6); draft and respond to
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           emails with Mr. Feurstein
           regarding suggestion of
           bankruptcy needed for case
           (.3); call with Evolution
           counsel and Mr. Romero
           regarding budgetary issues
           with Evolution work product
           (.5); review list of
           prepetition litigation in
           which Costa was a
           defendant or cross-defendant
           (.2); review draft
           suggestions of bankruptcy;
           draft email to Mr. Feurstein
           regarding same (.3); review
           and respond to email from
           Mr. Romero regarding
           cancellation of wedding
           event (.2); review and
           respond to email regarding
           review of first day motions
           for consistency (.2).
     MM    Review revised cash                 $350.00      1.50      $525.00
           collateral motion (0.2).
           Review IDI correspondence
           (0.1). Review cash
           management motion and
           order re: DIP financing issue
           (0.1). Review insurance
           motion and order re: DIP
           financing issue (0.1).
           Review customer program
           motion and order re: DIP
           financing issue (0.1).
           Review and revise critical
           vendor motion and order re:
           DIP financing issue (0.2).
           Review correspondence re:
           Evolution and ASG
           information needed (0.3).
           Participate in conference
           call with management
           counsel re: budget (0.4).
     LRT   Strategize re cash collateral       $255.00      1.00      $255.00
           (.2). Email Jairo re one
           month budget (.1). Review
           budget (.3). Telephone
           conference re Initial Period
           budget (.3). Telephone
           conference and email with
           Jairo re 366 Utilities (.1).
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September 25,        PDR   Review numerous emails re:          $695.00      0.80       $556.00
2019                       issues with Evolution,
                           Review revised budget and
                           related issues to use of cash
                           collateral; TC with counsel
                           re: strategic issues in deal
                           with Evolution issues
                     JCM   Draft email memorandum to           $495.00      7.50      $3,712.50
                           Mr. Feurstein regarding need
                           for procedure for approval
                           of use of cash collateral
                           outside of budget (.4)j;
                           review and analyze budget
                           and work with Mr. Romero
                           on edits (6.2); draft email to
                           Mr. Feurstein requesting use
                           of cash collateral to pay
                           Evolution payroll (.2);
                           review and respond to
                           inquiry regarding payroll
                           from Mr. Feurstein (.2); call
                           with Ms. Read regarding
                           Evolution issues (.3); call
                           with Mr. Feurstein to discuss
                           edits to budget line items
                           (.3).
                     JCM   Revise and edit first day           $495.00      0.40       $198.00
                           motions, draft email
                           regarding same (.4).
                     MM    Review correspondence re:           $350.00      1.50       $525.00
                           cash collateral motion and
                           DIP financing (0.1). Revise
                           critical vendor motion (0.1).
                           Revise case management
                           system motion (0.1). Revise
                           insurance motion (0.1).
                           Revise customer program
                           motion (0.1). Review
                           revised insurance, cash
                           management, customer
                           program motions for
                           approval for filing (0.3).
                           Review notice of filing
                           master service list for filing
                           (O.l).Revise and prepare
                           insurance motion and order
                           (0.2). Revise and prepare
                           cash management motion
                           and order (0.2). Revise and
                           prepare customer programs
                           motion and order (0.2).
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                     LRT   Telephone conferences and            $255.00      3.40       $867.00
                           emails with Alexis Read and
                           Michael Dunn re numerous
                           operations issues such as
                           payroll, budget items, DIP
                           accounts, cash management
                           motion, etc. (.8). Emails re
                           same (.8). Telephone
                           conferences and emails with
                           Jairo re revisions to Initial
                           Period budget for cash
                           collateral motion (.6).
                           Review first day pleadings
                           (1.2).
September 26,        PDR   Review and revise draft use          $695.00      0.80       $556.00

2019                       of cash motion etc.; Review
                           basis for title company
                           holding funds in escrow
                     PDR   Debtor's Expedited Motion            $695.00      1.10       $764.50
                           for Authrization to (I)
                           Continue Insurance
                           Programs; and (II) Pay All
                           Insurance Obligation (.4);
                           Debtor's Expedited Motion
                           Pursuant to Sections 105(a),
                           363(b), and 503(b)(1) of the
                           Bankruptcy Code for
                           Authorization to Honor
                           Certain Prepetition
                           Customer Programs (.3);
                           Debtor's Expedited Motion
                           for (A) Authority to (I)
                           Maintain Certain Bank
                           Accounts and Continue to
                           Use Existing Business
                           Forms and Checks, and (II)
                           Continue to Use Existing
                           Cash Management System,
                           and (B) Waiver of Certain
                           Investment and Deposit
                           Guidelines (.4).
                     JCM   Review and analyze issues            $495.00      6.90      $3,415.50
                           related to estate assets
                           vis-a-vis funds held in
                           escrow by Greenberg
                           Traurig (.4); review and
                           respond to email from Mr.
                           Feurstein regarding changes
                           to draft cash collateral
                           motion and order; analyze
                           suggested edits and
                           incorporate accepted edits
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                           (.7); work with Mr. Romero
                           to revise and edit budget and
                           motion and proposed interim
                           order (3.2); review and
                           respond to emails from Ms.
                           Read regarding various
                           inquiries related to cash
                           collateral motion (.3);
                           attention to finalizing and
                           filing first day motions (2.3).
                     LRT   Exchange emails re money             $255.00      0.40       $102.00
                           held in trust at GT (.1).
                           Exchange emails re
                           finalizing first day motions
                           and exhibits (.3).
                     MR    Revise, compile exhibits and         $180.00      1.30       $234.00
                           finalize Motion to Maintain
                           Bank Accounts; Motion to
                           Continue Insurance
                           Programs and Pay
                           Obligations; Motion to Use
                           Cash Collateral and Motion
                           to Honor Certain Prepetition
                           Customer Programs
September 27,        JCM   Review and respond to                $495.00      7.40      $3,663.00

2019                       emails from Mr. Romero
                           regarding opening of DIP
                           Accounts (.2); review and
                           respond to email from Ms.
                           Read regarding closure of
                           DIP Accounts and transfer of
                           funds inquiry (.2); review
                           email from Ms. Read
                           regarding past due amounts
                           owed to Evolution and
                           reimbursement requests;
                           draft email to Mr. Romero
                           regarding same (.4); review
                           draft of schedules and
                           SOFA, review areas where
                           information is still required
                           (.3); review first day
                           motions in preparation for
                           hearing (3.4); review and
                           analyze AP list regarding
                           amounts due and owing to
                           Evolution and Aimbridge
                           (.3); review email from Mr.
                           Romero with edits to
                           schedules (.2); research and
                           preparation for hearing on
                           first day motions (2.5).
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                       LRT   Exchange emails re deposits         $255.00      0.80       $204.00
                             pending opening of DIP
                             operating account. Review
                             proposed order for first day
                             pleadings.
                       MR    Receipt of Notices of               $180.00      1.00       $180.00
                             Hearing re: Motion for Cash
                             Collateral; Motion to
                             Maintain Bank Accounts;
                             Motion for Authorization to
                             Continue Insurance
                             Programs and Motion to
                             Honor Prepetition Customer
                             Programs; review local rules
                             for proper service list for
                             Certificate of Service; serve
                             Notices; update calendar
                             [.5]; compile documents and
                             prepare PDR for hearings on
                             10-2-19 [.5]
September 30,          PDR   Review emails with UST              $695.00      0.20       $139.00

2019                         and follow up re: bank
                             account issues;
                       JCM   Review email from Ms.               $495.00      5.40      $2,673.00
                             Read regarding life safety
                             and pest control (.2); draft
                             email to Mr. Romero
                             regarding same (.1);
                             research contracts and
                             determine if critical vendor
                             status with Mr. Romero (.4);
                             review and consider
                             inquiries from UST; call
                             with UST regarding same
                             (.4); review correspondence
                             on status of DIP Accounts
                             (.2); review correspondence
                             regarding proposal for
                             purchase (.1); review
                             correspondence from Ms.
                             Read re: ad buys; consider
                             response (.2); review
                             petition, case management
                             summary and draft first day
                             motions in preparation for
                             hearing; review statutory
                             and caselaw support for
                             authorities (3.7).
October 1, 2019        PDR   Review issues raised by             $695.00      0.70       $486.50
                             Andrew Zaron (Beauchamp)
                             re: cash collateral issues;
                             Review issues raised by
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                             Evolution counsel re:
                             prepetition taxes due and
                             consider if necessary to pay
                             before plan confirmation
                      JCM    Review and consider email          $495.00      8.90      $4,405.50
                             from Ms. Read regarding
                             past due sales and tourism
                             tax (.2); draft email to Mr.
                             Romero regarding same (.1);
                             call with Mr. Romero
                             regarding same (.2); call
                             with Ms. Read regarding
                             same (.3); review and
                             consider email from Mr.
                             Zaron regarding Beauchamp
                             issues with proposed cash
                             collateral order (.1); call to
                             Mr. Zaron regarding same
                             (.2); review and respond to
                             email from Mr. Welt
                             regarding interest in
                             purchase of property (.2);
                             review schedules and
                             underlying documentation
                             relevant to hearing on First
                             Day motions; prepare for
                             hearing (7.6).
                       LRT   Telephone conference with          $255.00      0.90        $229.50
                             Jim, Michael and Alexis re
                             pending budget items and
                             critical vendors (.3). Update
                             pending items memo (.2).
                             Review proposed orders for
                             tomorrow's hearing (.4).
October 2, 2019        PDR   Review revised draft of            $695.00      1.30        $903.50
                             Cash Collateral order and
                             UST suggested revisions
                             (.4); Review Stay Relief
                             motions filed by Costa 402,
                             incorporate company and
                             PSO Investments and
                             consider response to same
                             (.6); Review email from
                             Alexis Read re: operational
                             issues (.3)
                       JCM   Prepare for hearing on First       $495.00      8.40      $4,158.00
                             Day Motions and draft
                             prepared argument (3.1);
                             discussions with UST and
                             counsel for secured lender
                             and Evolution prior to
                             hearing (.4); attend hearing
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           on First Day Motions (2.0);
           revise and edit cash
           collateral order and cash
           management order based on
           comments from UST (.6);
           review and respond to
           emails and calls from Mr.
           Feurstein regarding cash
           collateral order (.3); revise
           and edit proposed cash
           collateral order (.2); review
           and respond to emails with
           Mr. Battista regarding cash
           collateral order (.2); review
           and consider email from Ms.
           Read regarding Evolution
           payment issues; draft email
           to Mr. Romero regarding
           same (.3); review and
           consider email from Ms.
           Read regarding FFE account
           transfer request; draft email
           to Mr. Romero regarding
           same (.3); review and
           consider email from Mr.
           Romero regarding claims
           against estate (.2); review
           emails from Mr. Romero
           regarding DIP bank account
           status (.2); review and
           respond to emails from Ms.
           Read regarding DIP
           Accounts; calls with Mr.
           Romero regarding same (.6).
     LRT   Review numerous emails re          $255.00      0.80      $204.00
           business ops issues like cash
           collateral budget and bank
           accounts.
     MR    Revise and finalize Interim        $180.00      0.60      $108.00
           Order Granting Debtor's
           Amended Expedited Motion
           for Use of Cash Collateral
           (DE 23); revise and finalize
           Order Granting Debtor's
           Expedited Motion for
           Authorization to Honor
           Certain Pre-Petition
           Customer Programs [DE
           20]; revise and finalize
           Order Granting Expedited
           Motion to Continue
           Insurance Programs [DE 1 8]
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October 3, 2019       PDR    Review emails from Alexis         $695.00      0.50       $347.50
                             Read and with Jerry
                             Fuerstein re: Critical Vendor
                             issues and related matters
                             and issues with funding
                             from Lender;
                      JCM    Review and consider, then         $495.00      7.00      $3,465.00
                             respond to various emails
                             from Ms. Read regarding
                             Evolution request to pay
                             prepetition critical vendor
                             past due invoices with cash
                             collateral; discuss with Mr.
                             Romero (2.2); review
                             schedules and disclosure of
                             compensation and finalize
                             for filing (.4); review and
                             respond to emails and call
                             with Mr. Feurstein regarding
                             PSA and related case issues
                             (.4); calls with Mr. Romero
                             regarding 6-month budget
                             preparation and consider
                             issues related to same (3.2);
                             draft email to Ms. Read
                             regarding preparation of 6
                             month budget and
                             slow-walking from
                             Evolution (.2); review and
                             respond to emails regarding
                             DIP bank accounts at
                             Marquis Bank (.2); call with
                             Mr. Feurstein regarding
                             debtor business operational
                             issues and plan
                             considerations (.4).
                       MM    Consider issues raised by         $350.00      0.90        $315.00
                             Evolution's counsel re:
                             nonpayment of booking
                             vendors (0.3). Review
                             motions for stay relief filed
                             by unit owners (0.6).
                       JCM   Draft email to Mr. Romero         $495.00      5.20      $2,574.00
October 4, 2019
                             regarding second hearing on
                             use of cash collateral (.1);
                             review and respond to email
                             regarding Boucher Bros,
                             threat to terminate service;
                             calls with Mr. Romero
                             regarding same and various
                             budget issues and responses
                             to critical vendors (4.2); call
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                             to Boucher to explain cash
                             collateral issues (.6); call
                             with Mr. Cendrati and
                             follow up email regarding
                             treatment of pre- and
                             post-petition debt of
                             Boucher Bros. (.3).
                       MR    Email exchange with Edy            $180.00      0.50        $90.00
                             (JA) re: hearing on Cash
                             Collateral Motion and Cash
                             Management Motion; revise
                             and finalize Orders on ECF
                             Nos. 19 and 23
October 7, 2019        PDR    TC from potentially               $695.00      0.60       $417.00
                             interested buyer (Doug
                             Wolfe)(he may send offer)
                             (.3); TC from Jeff Coppell
                             re: interest in property (.3)
                       JCM   Review and respond to              $495.00      8.30      $4,108.50
                             emails regarding DIP
                             account and prepetition bank
                             account closure status (.2);
                             draft email to UST regarding
                             her motion to dismiss (.1);
                             calls with UST regarding
                             motion to dismiss (.5);
                             review emails regarding
                             information for turnover
                             prior to IDI (.3); review
                             latest draft of 6-month
                             budget; transmit to Mr.
                             Feurstein for his preliminary
                             review (.4); investigate
                             sprinkler safety issue; call
                             with Mr. Romero regarding
                             same; draft email to UST
                             regarding same (.6); draft
                             email to Mr. Feurstein
                             regarding potential
                             protective advance for
                             booking services (.3);
                             review and respond to email
                             regarding retention of
                             special tax counsel on
                             contingency (.2); review and
                             analzye hotel management
                             agreement for default and
                             remedy issues; research
                             regarding rejection issues
                             (2.4); Review secured
                             lender's request for
                             documentation; research
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                             files for same; draft email to
                             ms. Tannenbaum regarding
                             retrieval of same (.5);
                             review and analyze
                             documents to be turned over
                             pursuant to UST Guidelines
                             prior to IDI and prepare for
                             IDI (2.2); review and
                             consider email regarding
                             issue of payment of
                             prepetition taxes (.3); review
                             email from Mr. Romero
                             regarding funds availability
                             for Boucher Bros.; call with
                             Mr. Romero regarding same
                             (.3).
                       LRT   Export Sched G and begin             $255.00      1.80       $459.00
                             compiling master
                             contracts/leases spreadsheet.
October 8, 2019        PDR   Review numerous budget               $695.00      0.40       $278.00
                             issues raised by Lender

                       JCM   Draft email to Mr. Romero            $495.00      9.40      $4,653.00
                             regarding budget (.1);
                             review and consider email
                             from Ms. Read regarding
                             sweep of FFE account for
                             paying payroll and status of
                             payment of sales and use
                             tax; draft email to Mr.
                             Romero regarding same (.4);
                             review and consider claim
                             filed by Broward County
                             regarding tax liability (.2);
                             research regarding executory
                             contracts and status (.6);
                             calls with Mr. Romero
                             regarding budget (2.2);
                             review and respond to email
                             from Ms. Read regarding
                             sweep of FFE account (.1);
                             review and respond to email
                             from Mr. Romero regarding
                             effect of bankruptcy on
                             condo association (.1); draft
                             email to Mr. Feurstein
                             regarding responses to
                             inquiries from secured
                             lender (.5); draft and
                             respond to emails from Ms.
                             Read to confirm constitution
                             of FFE funds (.4); consider
                             response to UST Motion to
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                             dismiss (1.3); review and
                             analyze motion to strike
                             affidavit of Alexey Bury and
                             order granting same; review
                             and respond to emails
                             regarding same (.4); prepare
                             for and participate in call
                             with counsel for prepetition
                             litigants against the Debtor
                             (.5); review and consider
                             email from Mr. Feurstein
                             regarding budget inquiry
                             items (.4); review and
                             consider joinders of various
                             unit owners to motion to
                             dismiss; draft email
                             regarding same (.3); review
                             and consider issue with
                             respect to developer; draft
                             email regarding same (.3);
                             review and analyze
                             executory contracts for
                             potential assumption
                             rejection issues (1.6).
                       LRT   Review and reply to                  $255.00      1.60       $408.00
                             numerous emails and docs
                             re back up for budgeted
                             items.
October 9, 2019        JCM   Review documents                     $495.00      9.50      $4,702.50
                             requested by Secured Lender
                             (.3); draft email transmitting
                             same to Mr. Feurstein and
                             inquiring regarding request
                             for protective advance of
                             Expedia bill (.2); draft email
                             to Mr. Romero regarding
                             budget development (.1);
                             review emails regarding
                             conversion of Chase bank
                             accounts to DIP Accounts
                             (.1); analyze proposed
                             budget; challenge
                             assumptions and research
                             backup for numbers; review
                             and analyze critical vendors;
                             draft emails regarding same;
                             calls with Mr. Romero
                             regarding same (7.8); review
                             and respond to email from
                             Mr. Feurstein regarding
                             Expedia bill (.2); research
                             regarding use of cash
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                          collateral and retroactive
                          approval from court (.6);
                          call with Mr. Romero
                          regarding preparation for
                          IDI (.4).
                    MM    Review entered interim cash         $350.00      4.60      $1,610.00
                          collateral order (0.1). Emails
                          with Jairo re: response to
                          motion to dismiss (0.3).
                          Continue drafting response
                          to motion to dismiss (3.1).
                          Legal research re: unproven
                          allegations in motions (0.2).
                          Legal research re: standards
                          to establish cause for
                          appointment of a trustee
                          (0.5) Legal research re: best
                          interests of creditors and
                          estate for appointment of a
                          trustee (0.4).
                    LRT   Review Sched                        $255.00      3.80       $969.00
                          G/Spreadsheet and compare
                          to current docs provided,
                    MR    review email from Judicial          $180.00      0.20         $36.00
                          Assistant re: Cash
                          Management Order; revise
                          Order as requested and
                          upload same
October 10, 2019    PDR   Review updated budget for           $695.00      0.40       $278.00
                          use of cash and financing
                          motion
                    JCM   Draft email to Mr. Feurstein        $495.00      0.50        $247.50
                          regarding budget (.2);
                          review parking contract with
                          M&M; transmit to Mr.
                          Feurstein (.2); review
                          documents from Mr.
                          Romero regarding budget
                          backup from Evolution;
                          draft email regarding same
                          (.1);
                    MM    Review upcoming hearings            $350.00      0.10         $35.00
                          and associated deadlines
                          (0.1).
                    LRT   Review Expedia invoice and          $255.00      0.30         $76.50
                          add re critical vendor.
                          Review parking contract and
                          compare to Schedule G.
                     MR   Review Interim Order                $180.00      0.60        $108.00
                          Granting Motion for Cash
                          Collateral (DE 69); calendar
                          all dates and deadlines;
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                              review Re-Notice of
                              Hearing on Motion for Cash
                              Collateral (DE 70); update
                              calendar; review local rules
                              for proper service list for
                              Certificate of Service of
                              ECF Nos. 69 and 70
October 11, 2019       JCM    Consider issues related to         $495.00      7.40      $3,663.00
                              DIP Financing and Secured
                              Lender's funding mechanism
                              and terms for DIP
                              Financing; draft emails
                              regarding same (3.6); review
                              and consider email from Mr.
                              Romero regarding
                              threatening letter from Unit
                              Owner attorney re: revenue
                              share and how to respond;
                              research regarding 365 and
                              executory contract issues
                              (2.6); review and consider
                              email from Mr. Feurstein
                              regarding removal of state
                              court action (.4); review
                              email from Ms. Read
                              regarding condo dec. Send
                              email regarding same (.2);
                              review condo declaration
                              (.2); review GL entries from
                              Evolution and ASG (.4).
                         MR   Review Order Granting              $180.00      0.60        $108.00
                              Debtor's Expedited Motion
                              for Authority to Maintain
                              Bank Accounts and
                              Continue Use of Cash
                              Management System (DE
                              78); calculate and calendar
                              deadline(s); receipt of
                              Re-Notice of Hearing on
                              Motion for Cash
                              Management (DE 80);
                              review Re-Notice of
                              Hearing on Motion for Use
                              of Cash Collateral (DE 79);
                              review local rules for proper
                              service lists for Certificate
                              of Service of ECF Nos. 78,
                              79, and 80
                        JCM   Research regarding                 $495.00      0.90        $445.50
October 13, 2019
                              requirements for filing
                              removal of state court action
                               (.6); review and respond to
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                              email from Mr. Feurstein
                              (.1); call with Mr. Feurstein
                              regarding removal issues
                              (.2).
October 14, 2019        PDR   Review critical vendor and           $695.00      0.30       $208.50
                              financing issues including
                              procedural matters
                        PDR   Review issues raised by              $695.00      0.70       $486.50
                              Lender's counsel to budget
                              and cash collateral motion
                              and order
                        JCM   Draft email regarding status         $495.00      9.90      $4,900.50
                              of bank accounts to comply
                              with Cash Management
                              Order (.2); draft email
                              regarding allegations made
                              against Mr. Bensusan and
                              the Debtor (.2); review and
                              respond to various emails
                              from Ms. Read regarding
                              allegations regarding Mr.
                              Romero (.6); draft email and
                              call with Mr. Romero
                              regarding same (.4); review
                              and analyze proposed
                              6-month budget; draft
                              emails and call with Mr.
                              Feurstein regarding same
                              (3.2) review and respond to
                              emails with Ms. Read
                              regarding Expedia service
                              (.2); review and analyze
                              critical vendors list; draft
                              email regarding same (.4);
                              research regarding funds
                              held in escrow account at
                              GT on behalf of Stewart
                              Title; draft emalis regarding
                              same (2.1); review booking
                              service invoitces; draft email
                              regarding same (.3); review
                              and consider draft PSA (.5);
                              draft email to Mr. Vega
                              regarding review of PSA
                              (.1); revise and edit cash
                              collateral and financing
                              motion; draft email to Mr.
                              Feurstein regarding same
                              (1.2); draft and respond to
                              various emails regarding
                              cash collateral budget and
                              interim order (.5);
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                        LRT   Review critical vendor and        $255.00      0.60       $153.00
                              create exhibit to motion (.2).
                              Revise motion to pay critical
                              vendors (.2). Review
                              numerous emails re critical
                              vendors and invoices (.2).
October 15, 2019        PDR   Review revised draft order        $695.00      0.80       $556.00
                              on use of cash and
                              financing; Call with
                              Lender's counsel re: cash
                              collateral/financing order
                        JCM   Review and analyze RMAs;          $495.00      9.50      $4,702.50
                              consider
                              assumption/rejection issues
                              related to RMAs (2.1); draft
                              email to Mr. Romero and
                              Mr. Bensusan regarding
                              hearing on motion to
                              dismiss (.1); research
                              regarding escrow held at GT
                              for Stewart Title (.6); call
                              with Mr. Romero regarding
                              escrow held at GT (.3);
                              review limited objection
                              filed by Beauchamp (.2);
                              review and analyze motions
                              for relief from stay; draft
                              email to Mr. Romero
                              regarding same (.6); draft
                              email to Mr. Romero
                              regarding status of
                              conversion of Chase
                              accounts to DIP accounts
                              (.1); draft email to Mr.
                              Feurstein and Mr. Battista
                              regarding review of budget
                              and cash collateral order
                              (.1); draft email to Mr.
                              Sharpe at GT regarding
                              escrow account for Stewart
                              Title; call with Mr. Sharpe
                              regarding same (.5); draft
                              email to Ms. Supple
                              regarding interaction with
                              GT lawyers regarding
                              escrow account for Stewart
                              Title (.1); call with Mr.
                              Feurstein regarding escrow
                              account at GT for Stewart
                              Title (.3); review and revise
                              draft responses to motions to
                              lift stay; draft emails
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                          regarding same (.4); revise
                          and edit draft interim cash
                          collateral order; draft emails
                          regarding same (2.8); review
                          critical vendor list; draft
                          email regarding same (.3);
                          review and respond to email
                          from Ms. Read regarding
                          payment due to Cintas (.2);
                          draft email to Mr. Romero
                          regarding Cintas and
                          consider response (.2); call
                          with Mr. Andron regarding
                          county tourism trust fund
                          taxes due; consider issue
                          and research trust fund taxes
                          (•6);
                   JCM    Review edits to proposed            $495.00      0.40      $198.00
                          Cash Management Order
                          from counsel for Chase
                          Bank; draft email regarding
                          same (.3); draft email to
                          counsel for Chase Bank
                          regarding her proposed edits
                          to proposed Cash
                          Management Order (.1)
                    MR    Meeting with JCM to                 $180.00      1.20      $216.00
                          discuss cash collateral
                          motion and critical vendor
                          motion; discuss upcoming
                          hearing on 10-17-19 [.5];
                          Revise, compile exhibit(s)
                          and finalize Expedited
                          Motion to Use Cash
                          Collateral [.7]
                    MR    Revise, compile exhibit(s)          $180.00      0.60      $108.00
                          and finalize Expedited
                          Motion to Pay Critical
                          Vendors Prepetition Claims
                     PH   Prepare redline cash                $245.00      1.30      $318.50
                          management order (.1) Work
                          on critical vendor motion
                          and exhibit (.4) Review
                          budget and discuss same
                          with Jim Moon. Work on
                          cash collateral exhibit and
                          motion (.8)
                    PDR   TCs from Thomas Lehman,             $695.00      0.30      $208.50
October 16, 2019
                          counsel for certain unit
                          owners re: cash collateral
                          budget and financing issues
                          and specific line items re:
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           distribution of room revenue
           to unit owners

    JCM    Call with client to discuss         $495.00     10.70      $5,296.50
           hearing and sale process for
           bankruptcy case (.8); review,
           consider and respond to
           email from Ms. Read
           regarding past due sales and
           use tax (.4); research
           regarding payment of
           prepetition trust fund taxes;
           draft email to Mr. Feurstein
           regarding same (1.6);
           review, consider and
           respond to Ms. Read's email
           regarding past due amounts
           owed to Evolution and its
           affilates and employees;
           draft email to Mr. Feurstein
           regarding same (.4); draft
           email to Mr. Romero
           regarding amounts due to
           Evolution (.2); review and
           respond to emails requesting
           meeting with Mr. Bensusan;
           call with Mr. Bensusan
           regarding preparation for
           hearing on motion to
           dismiss and other motions
           (.6); review email and
           attachment from Mr.
           Romero regarding task force
           receivable; draft email to
           Ms. Read regarding same
           (.3); review and respond to
           emails regarding American
           Pool (.2); review email from
           Mr. Romero regarding job
           duties of Mr. Bensusan (.2);
           review email from Mr.
           Romero regarding Stewart
           title indemnity agreements;
           draft email to Mr. Feurstein
           regarding same (.2);
           research regarding status of
           appeal of state court action
           regarding Burya; draft email
           regarding same (.3); review
           email from Mr. Lehman
           regarding postpetition
           payments to unit owners he
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                                 represents; research issue
                                 and respond (.4); review
                                 email regarding Hotelier
                                 threat to suspend service;
                                 consider response; draft
                                 emails regardng same (.7);
                                 review email from Mr.
                                 Andron regarding trust fund
                                 taxes; review form moition
                                 and caselaw references; draft
                                 email regarding same (1.2);
                                 review motions and
                                 responses to be heard at
                                 hearing on 10/17 and
                                 prepare for hearing (3.2).
                           MR    Compile extensive                  $180.00      0.50        $90.00
                                 documents and prepare JCM
                                 and MEM for hearing on
                                 10-17-19 re: Motions to
                                 Maintain Bank Accounts,
                                 Cash Collateral, et al
                           PDR   Review issue re: Lender            $695.00      0.20       $139.00
October 1 7, 20 1 9
                                 interest rate for post petition
                                 advances
                           JCM   Consider mechanism for             $495.00     10.30      $5,098.50
                                 funding shortfalls in budget;
                                 draft email to Mr. Feurstein
                                 regarding same (.4); review
                                 and respond to email from
                                 Mr. Battista regarding
                                 language in interim cash
                                 collateral order to resolve
                                 objection of Beauchamp
                                 (.2); prepare for and attend
                                 hearing on Motion to
                                 Dismiss and other motions;
                                 negotiate critical vendor
                                 issues at court (8.5); review
                                 and consider emails from
                                 Mr. Davies regarding his
                                 motions for stay relief (.3);
                                 draft email to Mr. Romero
                                 inquring regarding the issues
                                 described by Mr. Davies
                                 (.2); draft and respond to
                                 emails regarding status of
                                 state court appeal in Burya
                                 matter (.3); review email
                                 from Mr. Halperin regarding
                                 his client's financing of gym
                                 equipment; forward to Mr.
                                 Feurstein (.2); review email
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                              regarding reinstatement of
                              valet charge to room; draft
                              email to Mr. Romero
                              regarding same (.2).
                        MM    Work on updated critical           $350.00      0.80       $280.00
                              vendor list and totals (0.3).
                              Review orders that need to
                              be updated post-hearing
                              prior to submission (0.2).
                              Review necessary tasks
                              following hearing (0.3).
                        LRT   Email critical vendor              $255.00      2.00       $510.00
                              spreadsheet v6. Read
                              recently filed pleadings (.9).
                              Strategize re status of case
                              and next steps (.8). Obtain
                              status of hearings (.3).
October 18, 2019        JCM   Review and respond to              $495.00      0.10        $49.50
                              email from UST regarding
                              upload of Cash Management
                              Order.
                        JCM   Review and respond to              $495.00      5.40      $2,673.00
                              email from Mr. Battista
                              regarding DIP Financing
                              priming lien (.2); review
                              voicemail from Mr. Lehman
                              regarding inquiry related to
                              hearing on 10/17; draft
                              email regarding same (.2);
                              review and respond to email
                              regarding upload of Cash
                              Management Order (.1);
                              review DIP Report
                              documentation prepared by
                              ASG (.4); review email from
                              Mr. Romero to Mr. Chu
                              asking for input on critical
                              vendors; draft email to Mr.
                              Romero regarding
                              modification of critical
                              vendor list (.2); revise and
                              edit draft second interim
                              order approving use of cash
                              collateral and Postpetition
                              Financing; draft email to Mr.
                              Feurstein and Mr. Battista
                              regarding same (1.2); review
                              email from Ms. Read
                              regarding payment and
                              reporting of trust fund tax
                              (.2); review comments to
                              draft PSA from RE team
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                              (.3); research regarding
                              executory contracts -
                              assumption/rejection issues
                              (1.4); review and consider
                              email inquiry from Mr.
                              Romero regarding
                              accounting for debt owed by
                              debtor to debtor; draft email
                              regarding same (.2); review,
                              consider and respond to
                              email inquiry from Mr.
                              Romero regarding unit
                              owner revenue share
                              treatment (.6); review emails
                              and attached agreements
                              from Mr. Halperin regarding
                              his client United Leasing's
                              position that it has a PMSI
                              in the gym equipment and
                              reservation of rights (.4).
                        MR    Revise and finalize Final          $180.00      0.10        $18.00
                              order on Cash Management
                              System (DE 19)
October 20, 2019        JCM   Review and consider email          $495.00      0.90       $445.50
                              from Mr. Romero regarding
                              difficulty getting
                              information from Evolution
                              to do the DIP Reports; call
                              with Mr. Romero regarding
                              same (.5); review email
                              from Mr. Battista regarding
                              review of proposed cash
                              collateral order (.1); draft
                              email to Mr. Romero
                              regarding status of revised
                              cash collateral budget (.1);
                              review email from Mr.
                              Romero to Mr. Chu
                              requesting various
                              information for the DIP
                              Report (.1); review response
                              from Mr. Chu regarding
                              information needed for the
                              DIP Report (.1).
October 2 1 , 20 1 9    PDR   Review management issues           $695.00      0.40       $278.00
                              with Evolution and consider
                              alternatives
                        JCM   Consider information               $495.00      4.60      $2,277.00
                              needed from Mr. Romero
                              and DIP responsibilities;
                              draft email to Ms.
                              Tannenbaum regarding same
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                          (.4); draft email regarding
                          review of United Leasing
                          financing documents; review
                          response from Ms. Murphy
                          (.2); draft update email to
                          Mr. Feurstein and Mr.
                          Battista regarding status of
                          open items for Debtor (.4);
                          review email from Mr.
                          Feurstein regarding hotel
                          management; draft email to
                          client regarding same (.2);
                          review and respond to email
                          from Ms. Murphy regarding
                          DIP Report status (.1);
                          review email from Mr.
                          Kassower and response from
                          Ms. Murphy; consider
                          automatic stay violation
                          issue (.4); review emails
                          between Mr. Andron and
                          Ms. Read regarding tax
                          payment logistics (.3);
                          review various emails
                          regarding DIP Report and
                          issues preventing filing
                          (1.5); call with Mr. Feurstein
                          regarding management
                          issues and budget shortfall
                          funding (.4); review AP
                          request from Mr. Chu (.2);
                          review email from Mr.
                          Davis regarding negotiations
                          over rental rules (.1); review
                          proofs of claim filed against
                          estate (.2); review letter
                          from IRS requesting
                          business information (.2);
October 22, 2019    JCM   Call with Mr. Orlovski              $495.00      7.20      $3,564.00
                          regarding his unit owner
                          clients and request to
                          negotiate regarding terms for
                          renting condos outside of
                          RMA (.2); review email
                          regarding call from Mr.
                          Kessler re: creditor (.1);
                          review letter from Mr.
                          Kassower re: High
                          Horizons; consider stay
                          violation issues; review and
                          respond to emails regarding
                          same (.5); review letter
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           from IRS requesting
           business information (.2);
           review draft HMA and email
           regarding same (.2);
           consider retention of Mr.
           Romero and related issues;
           draft email regarding same
           (.7); consider issues related
           to payment of bed taxes and
           motion seeking approval to
           pay same; draft email with
           form of motion (.4); review
           and respond to email from
           Ms. Read regarding payment
           of critical vendors (.2);
           review and analyze Stewart
           Title Indemnity Agreements
           (.4); review and respond to
           emails regarding DIP Report
           filing status and issues
           completing information (.3);
           review email from Ms. Read
           regarding valet charges;
           draft email to Mr. Romero
           regarding same (.2); review
           correspondence from AFCO
           representative regarding
           payment of insurance
           premiums (.2); review
           critical vendor list; draft
           email to Mr. Romero
           regarding same (.2); review
           and respond to email
           regarding amount due to
           Johnson Controls (.2);
           consider issues with
           finalizing DIP Report;
           review and respond to
           emails regarding same (.9);
           review and respond to
           emails from Ms. Read
           regarding payment of taxes
           due (.2); consider issues
           with completing DIP Report
           (.8); review and revise notes
           for DIP Report (.3); review
           and respond to email
           regarding reach out to UST
           (.2); review email and call
           with Ms. Israel regarding
           PMSI status of United
           Leasing; review financing
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                              documents (.7); review
                              email regarding stop
                              payment of checks (.1);
                        MR    Review Final Order                $180.00      0.20        $36.00
                              Granting Debtor's
                              Expedited Motion for (A)
                              Authority to (I) Maintain
                              Bank Accounts and
                              Continue to Use Existing
                              Business Forms and Checks,
                              and (II) Continue to Use
                              Existing Cash Management
                              System, and (B) Waiver of
                              Certain Investment and
                              Deposit Guidelines [ECF
                              No. 103]; review local rules
                              for proper service list for
                              Certificate of Service of
                              same

October 23, 2019       PDR    Review issues with secured        $695.00      0.30       $208.50
                              claim of gym equipment
                              financier and adequate
                              protection payments per
                              budget; Review issue re:
                              insurance premium
                              financing
                        JCM   Draft email to Mr. Romero         $495.00      7.90      $3,910.50
                              regarding need for critical
                              vendor list (.1); consider the
                              issue of adequate protection
                              payments for United
                              Leasing; review agreements
                              and draft email to Mr.
                              Halperin and Ms. Israel and
                              review response (.7); review
                              and respond to email from
                              Mr. Feurstein regarding
                              United Leasing's PMSI (.1);
                              review and analyze revised
                              draft DIP Report; draft email
                              with inquires regarding
                              same (.8); preparation for
                              and call with UST regarding
                              DIP Report (.6); draft email
                              to Ms. Ryan regarding
                              payment of insurance
                              premium (.2); review edits
                              to proposed second interim
                              cash collateral order; draft
                              email regarding same (.3);
                              review edits to critical
                              vendor proposed order; draft
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           email regarding same (.2);
           draft email to, and review
           response from Mr. Davis
           regarding discussion to
           consider settlement of issues
           with unit owners he
           represents (.2); revise and
           edit notes to DIP report;
           draft email regarding same
           (.4); consider whether DIP
           Report reflects gross
           revenue accurately; draft
           email to Mr. Romero
           regarding same (.3); review
           critical vendor list; draft
           email with required edits
           (.4); review email regarding
           edits to draft purchase and
           sale agreeement (.2); draft
           email to Mr. Feurstein
           regarding edits to critical
           vendor list (.1); draft email
           with required edits to critical
           vendor list (.2); review and
           respond to email from Mr.
           Romero regarding payment
           of insurance (.1); revise
           draft proposed order
           approving payment of
           critical vendors; draft email
           to Mr. Feurstein regarding
           same (.2); review, consider
           and respond to inquiry from
           Mr. Chu regarding change
           order with bank (.2); draft
           critical vendor order and
           budget to UST, hotel
           management company and
           secured lender (.2); review
           and respond to email from
           Ms. Read regarding funding
           from the secured lender
           protocol (.3); review and
           analyze draft HMA; draft
           email to Mr. Romero
           regarding same (.6); meeting
           with Mr. Romero and Mr.
           Bensusan regarding case
           sale issues (1.5);
     MM    Review outstanding tasks           $350.00      4.10      $1,435.00
           and priority (0.2). Review
           notice of hearing on Terry
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                              motion for relief from stay
                              (0.1). Legal research re:
                              relationship between tourist
                              development tax and trust
                              fund tax (0.5). Draft and
                              revise motion to pay
                              prepetition tourist
                              development tax (0.9). Draft
                              proposed order authorizing
                              payment of tourist
                              development tax (0.3).
                              Meeting with client re:
                              strategy for various
                              outstanding tasks including
                              retention of professionals
                              and timing of sale motion
                              (1.0) Continue review of
                              draft stalking horse
                              agreement (0.5). Revise
                              stalking horse agreement to
                              include additional
                              bankruptcy protections and
                              bidding procedures (0.6).
October 24, 2019        JCM   Draft email regarding              $495.00      5.00      $2,475.00
                              fmalization and upload of
                              critical vendor proposed
                              order (.2); review United
                              Leasing PMSI agreement for
                              gym equipment; draft email
                              regarding same (.3); draft
                              and respond to emails
                              regarding cash collateral
                              budget (1.2); draft and
                              respond to emails regarding
                              retention of RE broker (.3);
                              draft email regarding
                              retention of Mr. Udell as
                              special counsel for tax
                              appeal (.2); review and
                              respond to emails from Mr.
                              Chu and Ms. Read regarding
                              AP list (.3); review and
                              respond to emails regarding
                              line items in DIP report (.3);
                              review and respond to
                              emails regarding sweep of
                              the FFE account (.3); review
                              proposed pest control
                              contract; review and respond
                              to emails regarding same
                              (.4); review and analyze LOI
                              from potential purchaser and
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                          email regarding same (.2);
                          review email from Mr.
                          Andron regarding motion
                          for payment of county bed
                          taxes (.2); review shared
                          facilities invoices from Mr.
                          Chu (.3); draft email
                          regarding questionaire for
                          IRS (.1); review MCR
                          contract and redline; call
                          with Mr. Feurstein regarding
                          same (.6).
                    MR    Revise and finalize Order          $180.00      0.20        $36.00
                          Granting Motion
                          Authorizing Payment of
                          Prepetition Claims of
                          Critical Vendors (DE 98)
                          [.1]; discuss claim of The
                          Plumbing Experts with
                          JCM; review claims register
                          [.1]
October 25, 2019    JCM   Draft emails regarding             $495.00      4.80      $2,376.00
                          selection of broker for sale
                          of project (.2); draft email
                          regarding status of budget
                          (.1); review and respond to
                          email from Mr. Chu
                          regarding timing of funding
                          from Madison (.1); review
                          email from Mr. Chu
                          attaching invoices for
                          certain vendors (.2); draft
                          email to Mr. Bensusan
                          regarding the execution of
                          postpetiton contracts (.2);
                          review and analyze AP
                          request from Mr. Chu; draft
                          email requesting
                          clarification of intent of
                          email (.3); call with Mr. Chu
                          regarding AP request (.3);
                          review and analyze draft
                          Second Interim Cash
                          Collateral Order; draft email
                          requiring clarification of
                          UST fees (.5); consider
                          payments to critical vendors;
                          draft email regarding order
                          approving such payments
                          (.2); review LOI for
                          property; consider
                          sufficiency of offer (.3);
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                          review and consider budget
                          and shortfall funding issues
                          (1.3); circulate draft budget
                          and draft second interim
                          order to Mr. Feurstein and
                          request interim amount (.2);
                          draft email regarding filing
                          of motion to pay trust fund
                          taxes (.1); review and
                          respond to emails regarding
                          security at property (.2);
                          ddraft email to UST
                          regarding motion to pay
                          trust fund taxes (.1); review
                          email regarding business
                          information request from
                          IRS (.1); draft email to Mr.
                          Romero regarding need for
                          updated budget for
                          circulation (.1); review and
                          respond to email from Mr.
                          Chu regarding payment to
                          specific critical vendors;
                          review critical vendor list
                          (.2); review email from Ms.
                          Israel regarding United
                          Leasing adequate protection
                          issue (.1);
                    MM    Review strategy re:                $350.00      0.60      $210.00
                          Evolution (0.1). Revise
                          motion to pay tourist
                          development tax and order
                          on same (0.1). Email to
                          Scott Andron re: motion to
                          pay tax (0.1). Review status
                          of security for hotel (0.2).
                          Email to Jairo re: security
                          (0.1).
                    LRT   Review AP request no. 1            $255.00      1.00      $255.00
                          (.2). Read emails re broker
                          for marketing business (.1).
                          Review contract/lease
                          schedule and compare to zip
                          file contracts/leases (.7).
October 26, 2019    JCM   Draft email regarding              $495.00      1.00      $495.00
                          Evolution request regarding
                          valet charges (.1); review
                          and respond to email from
                          Ms. Besu of City Group
                          Consulting regarding unit
                          owner inquiry (.2); review
                          and analyze demands from
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                           unit owners reprsented by
                           Mr. Davis; review condo
                           declaration; draft email to
                           Mr. Romero regarding same
                           (•7);
October 28, 2019    JCM    Draft emaii to Mr. Romero           $495.00      2.20       $1,089.00
                           regarding call with UST and
                           availability (.1); draft email
                           to Ms. Israel regarding
                           United Leasing PMSI
                           financing and consideration
                           of adequate protection issues
                           (.2); review and respond to
                           email from Mr. Romero
                           regarding unit owner issues
                           of clients of Mr. Davis (.2);
                           review and respond to email
                           from Ms. Murphy regarding
                           filing of motion to approve
                           payment of taxes (.2);
                           review and analyze revised
                           budget; draft email to Mr.
                           Romero regarding same (.3);
                           review request for business
                           information (.1); review and
                           consider responses to issues
                           of unit owners represented
                           by Mr. Davis (.4); call with
                           Mr. Feurstein regarding
                           funding issues (.2); review
                           email from Ms. Israel
                           regarding her client's
                           preparation of adequate
                           protection motion (.1);
                           review email from Mr.
                           Rochford with offer for
                           Hilco to provide auction and
                           brokerage services for
                           bankruptcy case (.3); review
                           email from Mr. Udell
                           regarding affidavit for
                           application to employ (.1);
                           review and consider email
                           from Mr. Chu regarding
                           need for funding (.3).
                     LRT   Read numerous emails and             $255.00     0.80         $204.00
                           attachments re budget items
                           and follow up.
                     MR    Revise and finalize Motion           $180.00     0.60         $108.00
                           to Pay Prepetition Tourist
                           Tax [.4]; prepare
                           correspondence to IRS re:
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                          Request for Business
                          Information Form [.2]

October 29, 2019    JCM   Review and analyze revised        $495.00      6.70       $3,316.50
                          budget; draft email to Mr.
                          Romero regarding same (.4);
                          draft email to Mr. Feurstein
                          regarding budget and need
                          for interim amount (.2);
                          review and analyze emails
                          and documentation related
                          to payment of critical vendor
                          Itekz (.4); review edits to
                          affidavit made by Mr. Udell;
                          draft email regarding same
                          (.2); draft email regarding
                          approval of PE services
                          contract (.1); review emails
                          from Ms. Tecedor regarding
                          payment of critical vendor
                          Cintas (.2); review email
                          from Mr. Romero regarding
                           amount of interim amount
                           (. 1); review revised budget;
                           draft email to Mr. Romero
                          regarding interim amount
                           needed for order (.3); review
                           emails and draft motion and
                           affidavit regarding
                           employment of Mr. Udell
                           (.3); review and analyze
                           revised budget; draft email
                           to Mr. Feurstein regarding
                           same (.4); review redline of
                           purchase and sale
                           agreement; call with Ms.
                           Murphy regarding same (.3);
                           review and analyze email
                           from Mr. Chu regarding
                           funding request; draft email
                           to Mr. Romero regarding
                           same (.4); draft email to Mr.
                           Feurstein regarding edits to
                           budget (.1); call with Mr.
                           Feurstein regarding budget
                           and funding interim amount
                           (.3); review and analyze
                           draft consulting agreement
                           for Mr. Romero's LLC (.7);
                           review and analyze revised
                           budget and projections from
                           Evolution (2.3);
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                    MM    Compare budget with                 $350.00      1.60        $560.00
                          funding request from
                          Evolution to determine
                          discrepancy (0.2). Analyze
                          non-bankruptcy provisions
                          of Stalking Horse agreement
                          from Secured Lender (0.3).
                          Further revise Stalking
                          Horse agreement (1.1).
October 30, 2019    PDR   Review issues re: payments          $695.00      0.20        $139.00
                          due to internet and related
                          service provider
                    JCM   Review email from Mr.               $495.00      8.20       $4,059.00
                          Romero regarding budget
                          issues; call with Mr. Romero
                          regarding same (.5); review
                          and respond to email
                          requesting call with
                          Evolution and Counsel and
                          Costa and Counsel (.1); call
                          with Ms. Read regarding
                          budget issues (.4); call with
                          Mr. Romero regarding
                          budget issues (.3); call with
                          Evolution and counsel with
                          Costa (.6); review and
                          respond to email regarding
                           conversion of bank accounts
                          to DIP accounts (.1);
                           consider postpetition
                           contract approval and timing
                           (.4); review and analyze
                           updated funding chart from
                           Mr. Chu; draft email to Mr.
                           Romero regarding same (.4);
                           review and analyze the
                           condo declaration; consider
                           issues of Mr. Davis' client
                           and potential for settlement
                           (2.6); draft email to Mr.
                           Romero regarding issues of
                           Mr. Davis' clients (.2); draft
                           email to Mr. Davis setting
                           up call to discuss his issues
                           (.1); call with Mr. Davis to
                           discuss potential settlement
                           and draft email regarding
                           same (.7);j review and
                           analyze latest draft of
                           budget; draft email to Mr.
                           Romero regarding same (.4);
                           review and respond to
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                          inquiry regarding payment
                          to critical vendors (.2);
                          review condo declaration;
                          draft email to Mr. Vega
                          requesting analysis of
                          amendement v. Rule
                          promulgation authority (.9);
                          review and respond to email
                          from Ms. Read regarding
                          payment to critical vendors
                          (.1); review and respond to
                          inquiry regarding payment
                          of cable provider (.2).
                    LRT   Read numerous issues on             $255.00     2.00        $510.00
                          pending items relative to
                          budget and critical vendors
                          (.9). Update pending items
                          memo (.2). Review Comcast
                          invoices and issues (.2).
                          Review condo dec and
                           RMA issues (.7).
October 31, 2019    JCM    Draft email regarding              $495.00     4.40       $2,178.00
                           inquiry from Evolution
                           regarding charging of valet
                           charges to rooms (.1);
                           review funding calculations
                           from Mr. Chu; draft email to
                           Mr. Romero regarding same
                           (.4); review and respond to
                           email from Mr. Chu
                           regarding ability to pay
                           critical vendors (.2); listen to
                           voicemail from potential
                           unit owner; draft email to
                           Mr. Romero regarding same
                           (.3); review analysis of
                           condo dec. From Mr. Vega
                           (.3); draft update email to
                           Mr. Feurstein regarding
                           budget and funding issues
                           (.4); review email from Mr.
                           Andron regarding tax
                           liability and related emails
                           in response (.4); review
                           funding update from Mr.
                           Chu; draft email to Mr.
                           Feurstein regarding same
                           (.2); review and analyze
                           latest draft of budget;
                           forward to Evolution for
                           their review (.4);draft update
                           email to UST with draft
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                         budget (.2); draft email to
                         Mr. Feurstein with new draft
                         budget (.1); review draft
                         consulting agreement for
                         Mr. Romero; draft email of
                         preliminary thoughts based
                         on review (.6); revise draft
                         second interim cash
                         collateral order; draft email
                         to Mr. Feurstein with draft
                         order and budget (.3);
                         review demand letter sent
                         from counsel for unit owner;
                         draft email regarding stay
                         violation (.2); draft email
                         directing fmalization and
                         upload of order and budget
                         (.1); review email from Ms.
                          Israel regarding agreement
                          on adequate protection;
                          consider response (.2).
                   BNV    Review Condo Dec for              $325.00     0.50        $162.50
                          amendment provisions;
                          review and respond to
                          correspondence
                    MM    Review and consider issues        $350.00     0.20         $70.00
                          pertaining to continued cash
                          collateral problems (0.2).
                   JCM    Review and respond to             $495.00     2.60       $1,287.00
November 1,
2019                      email from Ms. Israel
                          regarding United Leasing's
                          adequate protection issue
                          (.2); review notice of
                          hearing for Motion for
                          Relief from Stay filed by
                          creditor Pamela Terry;
                          review motion for relief
                          from stay; draft email
                          regarding same (.4); draft
                          detained email to Mr.
                          Romero regarding
                          negotiation points with Mr.
                          Davis' unit-owner clients
                          (.4); review email from Mr.
                          Romero with responses to
                          Mr. Davis' issues (.2);
                          review demand letter re:
                          Unit 302 and email
                          regarding same (.2); review
                          email from Mr. Romero
                          regarding valet charges to
                          room (.1); review response
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                         email from Ms. Israel
                         regarding United Leasing
                         adequate protection issue
                         (.1); review and respond to
                         email from Mr. Romero
                         regarding budget (.1); draft
                         emails regarding fmalization
                         and filing of draft cash
                         collateral order and budget
                         (.3); review and respond to
                         email from Mr. Romero
                         regarding payment of
                         vendors (.1); review draft
                         agreement for potential
                         retention post-petition (.6);
                   MM    Review order setting hearing           $350.00     0.70        $245.00
                         on motion for payment of
                         prepetition trust fund taxes
                         (0.1). Call with Eduardo
                         Rodriguez re: potential
                          Whats Contact demand
                          letter stay violation (0.2).
                          Review client comments on
                          issues involving unit owners
                          claims and valet parking
                          (0.3). Email to client re: stay
                          relief violation (0.1).
                    MR    Revise and finalize Second            $180.00     0.50         $90.00
                          Interim Order on Cash
                          Collateral [.3]; receipt of
                          Notice of Hearing on
                          Debtor's Motion To Pay
                          Prepetition Tourist
                          Development Tax [ECF No.
                          123]; review local rules for
                          proper service of list re:
                          same [.2]
November 4,        PDR    Consider consulting                   $695.00     0.30        $208.50
2019                      agreement with Jairo
                          Romero;
                   JCM    Review and consider issues            $495.00     7.00       $3,465.00
                          raised by Mr. Davis' clients
                          regarding condo rules (.5);
                          Call with Mr. Romero
                          regarding case issues and
                          negotiation regarding Mr.
                          Davis' clients (.5); call with
                          Mr. Davis to discuss
                          settlement with his client
                          PSO Investments (.3);
                          review entered Second
                          Interim Cash Collateral
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           Order; send to Mr. Romero
           (.2); consider open to do
           items for bankruptcy case
           (.5); review and consider
           email from Mr. Romero
           regarding responses to Mr.
           Davis (.2); review and
           respond to inquiry regarding
           payment to specific vendor
           (.2); call with Mr. Zaron
           regarding Beachamp issues
           and proposed discovery (.2);
           review and respond to email
           from Mr. Feurstein
           regarding Beauchamp
           discovery request; call with
           Mr. Feurstein regarding
           same (.4); review and
           respond to email regarding
           budget item for security
           personnel (.2); review and
           analyze potential HMA from
           prospective manager; draft
           emails regarding same (3.2);
           review and consider email
            from Mr. Romero regarding
            PSO Investment issue (.4);
            review draft consulting
            agreement from Mr.
            Romero; review emails
            regarding same (.3); review
            emails regarding status of
            stalking horse purchase and
            sale agreement (.1);
      MM    Review notice of hearing on          $350.00     3.10       $1,085.00
            application to employ Udell
            (.1). Review status of stay
            relief motions filed by unit
            owners and consider
            potential resolutions (0.2).
            Prepare for meeting re:
            upcoming filings, deadlines
            and hearings (0.3). Develop
            strategy re: necessary
            motions to approve
            postpetition contracts,
            motions relating to APA and
            bidding procedures, plan and
            disclosure statement,
            necessity of liquidating
            trustee and trustee (1.5).
            Correspondence with Jairo
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                         re: security company (0.1).
                         Review draft consulting
                         agreement for Jairo (0.3).
                         Correspondence with Jairo
                         re: changes to consulting
                         agreement, request for
                         additional letter agreements
                         for maintenance workers
                         (0.3). Review entered
                         second interim cash
                         collateral order (0.2).
                         Correspondence with Jerry
                         F. Re: APA(O.l).
                   LRT   Respond to email re stay              $255.00     2.80        $714.00
                         relief and requests (.1).
                         Review certain contracts and
                         email re same (.4). Continue
                         work on adding claim info
                         on contract/lease
                         spreadsheet (2.3).
November 5,        PDR   Review draft independant              $695.00     0.30        $208.50

2019                     contractor agreement with
                         Jairo Romero
                   JCM   Review draft consulting               $495.00     2.70       $1,336.50
                         agreement (.4); draft
                         independent contractor
                          agreement; draft and
                         respond to emails regarding
                         same (1.7); review emails
                         regarding retention of Mr.
                          Udell as special counsel (.1);
                          review and respond to email
                          from Mr. Romero regarding
                          his independent contractor
                          agreement; call with Mr.
                          Romero regarding same (.5);
                   LRT    Update contracts/leases              $255.00     0.40        $102.00
                          spreadsheet to include proof
                          of claims amounts,
                    MR    review Second Interim                $180.00     0.20          $36.00
                          Order Granting Expedited
                          Motion of the Debtor for
                          Entry of Interim and Final
                          Orders (I) Authorizing the
                          Debtor to (A) Use Cash
                          Collateral Nunc Pro Tunc to
                          September 19, 2019, (B)
                          Obtain Secured Postpetition
                          Financing from 777 North
                          Ocean Drive, LLC, (II)
                          Granting Adequate
                          Protection, and (III)
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                          Scheduling Final Hearing
                          [ECF No. 129]; calendar
                          dates and deadlines; review
                          local rules for proper service
                          list for certificate of service
                          of same
November 6,        JCM    Review and respond to               $495.00      2.00       $990.00
2019                      email from Mr. Romero
                          regarding Johnson Controls
                          (.3); review and respond to
                          email from Mr. Romero
                          regarding dumpster service
                          inquiry (.2); review and
                          respond to inquiry regarding
                          payment of pest control
                          vendor (.1); review emails
                          from Mr. Chu and Ms. Read
                          regarding owner relations
                          notification; consider
                          response (.3); review emails
                          regarding hotel operations
                          issues (.2); review and
                          respond to emails regarding
                          status of orders on
                          maintaining insurance
                          policies and customer
                          programs (.3); consider
                          outstanding action items for
                          motions to be filed and plan
                          and and disclosure statement
                          (and related motions) timing
                          issues (.6);
                    MM    Review issues re: Johnson            $350.00      1.20      $420.00
                          controls (0.2).
                          Correspondence with Jairo
                          re: application to employ
                          (0.2). Emails with Johanna
                          A. Re: application to employ
                          Jairo (0.2). Review updated
                          docket entries following
                          judicial reassignment (0.2).
                          Revise Jairo application and
                          order (0.2). Review and
                          approve application for
                          filing (0.2).
                    LRT   Follow up on orders                  $255.00      0.90      $229.50
                          submitted 10/3 that have not
                          been docketed (.1). Work on
                          contracts/leases spreadsheet
                          (.8).
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                    PH   Prepare motion to approve          $245.00      1.10       $269.50
                         pest control agreement and
                         order granting same.
November 7,        JCM   Draft email to Mr. Romero          $495.00      1.90       $940.50
2019                     and Mr. Bensusan regarding
                         retention of broker (.2); draft
                         email to Mr. Feurstein
                         requesting title report (.1);
                         review title report sent by
                         Mr. Feurstein (.2); prepare
                         for and participate in call
                         with Mr. Feurstein and MCR
                         representatives regarding
                         hotel operations; review
                         draft MCR HMA(.7);
                         review and respond to email
                         from Mr. White regarding
                         management issues (.2);draft
                         email to Mr. Romero
                         regarding review of HMA;
                         review response (.2); review
                         and consider emails from
                         Mr. Romero and Ms.
                         Tannenbaum regarding
                         prepetition sales contracts
                          (.2); review email regarding
                          DIP Reports (.1).
                    MM    Review current status of           $350.00     0.90       $315.00
                          retaining broker (0.2).
                          Review current status of
                          locating new management
                          (0.2). Review notices of
                          hearing from court on
                          outstanding motions (0.2).
                          Review foreclosure
                          commitment for title issues
                          impacting plan (0.3).
                    MR    Receipt of Notice of Hearing       $180.00     0.40        $72.00
                          on Debtor's Motion To Pay
                          Prepetition Tourist
                          Development Tax [ECF No.
                          140]; update calendar;
                          review local rules for proper
                          service list for certificate of
                          service of same [.2]; receipt
                          of Order Granting Debtor's
                          Expedited Motion Pursuant
                          to Sections 105(A), 363(B),
                          and 503(B)(1) of the
                          Bankruptcy Code for
                          Authorization to Honor
                          Certain Prepetition
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                          Customer Programs [ECF
                          No. 146] and Order
                          Granting Debtor's Expedited
                          Motion for Authorization to
                          (I) Continue Insurance
                          Programs and to (II) Pay All
                          Insurance Obligations [ECF
                          No. 147]; review local rules
                          for proper service lists for
                          certificate of service of same
                          [•2]
                     PH   Continue work on draft           $245.00      0.60        $147.00
                          motion to approve pest
                          elimination services
                          agreement. Draft order
                          granting same.
November 8,         JCM   Draft email to Ms. Israel        $495.00      0.80        $396.00

2019                      regarding adequate
                          protection issues for United
                          Leasing; call with Ms. Israel
                          regarding same (.4); review
                          and respond to emails from
                          Mr. Romero regarding his
                          postpetition retention; call
                          with Mr. Romero regarding
                          same (.4).
                    LRT   Review numerous emails re         $255.00     0.70        $178.50
                          budget and organize files.

                    JCM   Review and respond to             $495.00     0.40        $198.00
November 11,
2019                      email from Ms. Israel
                          regarding call to discuss
                          issues related to Plan
                          treatement of United
                          Leasing claim (.1); review
                           emails from Mr. Chu and
                           Ms. Read regarding request
                           for commission payment;
                           draft email to Mr. Romero
                           regarding same (.2); review
                           email from Ms. Weyland of
                           Itekz regarding statement of
                           account due (.1).
                    JCM    Draft email to Mr. Romero        $495.00     2.60       $1,287.00
November 12,
2019                       regarding amount due to
                           United Leasing for Gym
                           equipment; review and
                           consider response; draft
                           email to Ms. Israel regarding
                           same (.4); review and
                           consider email from Mr.
                           Chu regarding recently
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                          discovered past due invoices
                          and how to pay; draft email
                          to Mr. Romero regarding
                          same (.4); revise and edit
                          draft stalking horse purchase
                          and sale agreement (1.8).
                    LRT   Review email re gym                 $255.00      0.20         $51.00
                          financing payments and
                          reply to same.
November 13,        JCM   Revise and edit draft               $495.00      2.70       $1,336.50
2019                      stalking horse purchase and
                          sale agreement; draft email
                          regarding same (1.9); review
                          email from Hilco regarding
                          interest in performing broker
                          services (.1); review and
                          respond to email from Mr.
                          Bensusan regarding
                          retention of counsel and
                          broker (.2); draft email to
                          Mr. Feurstein and Mr.
                          Battista regarding status of
                          case and request for call (.2);
                          review email describing
                          exclusivity deadlines (.1);
                          review invoices from Itekz
                          (.2).
                     MR   telephone conference with            $180.00     0.10          $18.00
                          Susan at Judge Cristol's
                          chambers re: final hearing
                          on ECF No. 97
November 14,        JCM   Draft email to Mr. Romero            $495.00     0.50        $247.50

2019                      regarding status of budget
                          (.1); draft clarification of no
                          default email to Mr.
                          Feurstein; review response
                           (.4).
                     MR   Receipt of Notice of Hearing         $180.00     0.20          $36.00
                          on Debtor's Expedited
                          Motion of the Debtor for
                          Entry of Interim and Final
                           Orders (I) Authorizing the
                           Debtor to (A) Use Cash
                           Collateral Nunc Pro Tunc to
                           September 19, 2019, (B)
                           Obtain Secured Postpetition
                           Financing from 777 North
                           Ocean Drive, LLC, (II)
                           Granting Adequate
                           Protection, and (III)
                           Scheduling Final Hearing
                           [ECF No. 154]; review local
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                          rules for proper service list
                          for certificate of service;
                          update calendar
November 15,        JCM   Review plan provisions and        $495.00      1.90        $940.50
2019                      determine open items for
                          fmalization (1.2); draft
                          email to Mr. Romero
                          regarding status of contract
                          with Johnson controls and
                          discussions with broker (.2);
                          consider postconfirmation
                          issues for liquidating trust;
                          draft email regarding same
                          (.3); review and respond to
                          email from Mr. Romero
                          regarding payments to Itekz
                          (.2).
November 17,        JCM   Review and respond to             $495.00      0.40        $198.00
2019                      email from Mr. Romero with
                          attached invoices from Itekz
                          (.4).
November 18,        JCM   Review email regarding            $495.00      0.20         $99.00
2019                      postpetition contracts of the
                          Debtor (.1); review email
                          from Ms. Weyland regarding
                          past due invoices of Itekz
                          (.1).
                    MM    Review status of 6 month           $350.00     4.10       $1,435.00
                          budget and DIP report prior
                          to upcoming hearing (0.2).
                          Call with Jairo re: status of
                          pending items (0.2).
                          Continue drafting and
                          revising bid procedures
                          motion (1.1). Draft bid
                          procedures order (1.1). Draft
                           exhibit 1 to bid procedures
                           order (bidding procedures)
                           (0.8). Draft exhibit 2 to bid
                          procedures motion (cure
                          notice) (0.4). Draft exhibit 3
                          to bid procedures motion
                          (sale notice) (0.3).
                    LRT    Exchange emails re post           $255.00     0.20         $51.00
                           petition contracts requiring
                           Court approval.
November 19,        JCM    Draft email to Mr. Romero         $495.00     1.70        $841.50

2019                       and Mr. Bensusan regarding
                           information and deliverable
                           requests (.3); review IRS
                           POC 23 (.1); review email
                           from Ms. Weyland regarding
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                          Itekz invoices; draft email to
                          Mr. Romero regarding same
                          (.2); review budget draft
                          from Mr. Romero; draft
                          email in response (.3);
                          review draft budget; draft
                          email regarding same (.3);
                          draft email regarding
                          procedures for introducing
                          new budget to court; review
                          responses (.3); review and
                          respond to email from Ms.
                          Read regarding hearings on
                           11/26 (.2).
                    MM    Call with Jairo re: budget           $350.00     1.20       $420.00
                          (0.2). Review what is set for
                          all upcoming scheduled
                          hearings (0.2). Address
                          court's failure to set hearing
                           on application to employ
                           Jairo (0.2). Begin drafting
                           hearing script for 11/26
                           hearing (0.6).
November 20,        PDR    Review updated cash                 $695.00     0.60       $417.00

2019                       collateral budget and
                           procedural issues
                    JCM    Draft email regarding budget        $495.00      1.40      $693.00
                           review and circulation (.2);
                           review and respond to email
                           from Ms. Read regarding
                           hearing on cash collateral
                           order (.1); review email
                           from Ms. Weyland regarding
                           past due payments to Itekz;
                           draft email to Mr. Romero
                           regarding same (.2); review
                           and respond to email from
                           Ms. Israel regarding plan
                           (.1); draft email regarding
                           adequate protection
                           payments for United Leasing
                           and budget inclusion and
                           review response (.2); review
                           and analyze draft budget
                           (.6).
                     MM    Review budget from Jairo            $350.00      2.60      $910.00
                           and compare with prior
                           budget to ensure consistency
                           (0.3). Correspondence with
                           Jairo re: budget items (0.3).
                           Emails to secured lender,
                           Beauchamp, United Leasing
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                            and UST re: 6 month budget
                            (0.2). Continue drafting
                            hearing outline for 11/26
                            hearing (1.8).
                      LRT   Prepare notice of filing six        $255.00     1.30        $331.50
                            month budget (.1). Work on
                            leases/contracts spreadsheet
                            (1.2).
November 2 1 ,        JCM   Review and respond to               $495.00     7.60       $3,762.00
2019                        emails regarding 6 month
                            budget (.5); draft email to
                            and review response from
                            Mr. Feurstein regarding
                            payment of FPL deposits
                             (.2); review and respond to
                             email regarding interest in
                             bidding and document
                            request (.2); review motion
                            to approve pest elimination
                            services contract; draft email
                             regarding same (.3); review
                             and respond to email
                             regarding Itekz debt (.2);
                             review drafts of Oct. DIP
                             Report and emails
                             discussing edits and
                             clarifications (.5); review
                             revised 6 month budget (.3);
                             consider issue of budget
                             shortfall and funding
                             requirements; review and
                             respond to emails regarding
                             same (3.6); calls with Mr.
                             Romero regarding Itekz and
                             budget issues (.4); draft
                             email to Ms. Weyland
                             regarding Itekz debt (.2);
                             call with Mr. Feurstein
                             regarding budget funding
                             issues (.3); consider issue of
                             release of funds held by
                             Greenberg Traurig (.4); draft
                             email to Mr. Feurstein with
                             invoices from Itekz and
                             description of debt (.3);
                             review email from Mr. Chu
                             regarding bonus payment
                             request (.2);
                       MM    Correspondence with                $350.00     2.90       $1,015.00
                             Evolution's counsel re:
                             budget (0.2).
                             Correspondence with Jairo
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                          re: budget (0.2). Additional
                          revisions to hearing outline
                          for 11/26 (0.5). Review
                          updated budget and consider
                          significantly increased
                          shortfalls and issue with
                          critical vendors (0.5).
                          Correspondence with Jairo
                          re: updated budget (0.2).
                          Call with Melissa Groisman
                          re: unit owner issues (0.2).
                          Call with Ryan Tables re:
                          unit owner issues (0.2). Call
                          with Jairo re: shortfall issues
                          (0.2). Consider potential
                          ways to cut budget shortfalls
                          (0.2). Consider strategy re:
                          addressing budget shortfalls
                          with Secured Lender (0.5).
                    LRT   Review budget emails (.3).            $255.00     0.40        $102.00
                          Email re FPL post petition
                           deposits (.1).
                     MR    Compile documents re:                $180.00     0.70        $126.00
                           Motion to Use Cash
                           Collateral and Motion for
                           Payment of Taxes and
                           prepare JCM for hearing on
                           11-26-19 [.3]; Compile
                           exhibits; revise and finalize
                           Motion to Approve Pest
                           Elimination Services
                           Agreement; email Susan
                           (Judicial Assistant)
                           regarding expedited hearing
                           on same [.4]
                    JCM    Draft email to Mr. Romero            $495.00     4.50       $2,227.50
November 22,
2019                       and Mr. Bensusan regarding
                           attendance at hearing (.1);
                           draft emails to and respond
                           to emails from Ms. Weyland
                           regarding call to discuss
                           Itekz debt (.3); call with Ms.
                           Weyland and Mr. Rivas
                           regarding Itez debt (.4);
                           review email from Mr.
                           Feurstein regarding Itekz;
                           draft email to Mr. Romero
                           regarding same (.2);
                           consider budget shortfall
                           issue; call with Mr. Romero
                           regarding same (2.5); review
                           and respond to email from
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                          Mr. Zaron regarding cash
                          collateral order language
                          (.2); draft email to Mr.
                          Romero regarding status of
                          Itekz negotiations (.1);
                          review email from Ms.
                          Groisman regarding unit
                          owner inquiries; review
                          emails regarding same (.3);
                          review and refvise draft of
                          final cash collateral order
                          (.4);
                    MM    Consider necessary                 $350.00      2.10        $735.00
                          preparation ahead of 1 1/26
                          hearing (0.6). Review
                          updated budget (0.2).
                          Circulate updated budget to
                          Evolution, United Leasing,
                          Beauchamp and UST (0.4).
                          Draft final cash collateral
                          order (0.9).
                     MR   Revise and finalize Notice          $180.00     0.20         $36.00
                          of Filing Sixth Month
                          Budget
                    PDR   Review revised final order          $695.00     0.40        $278.00
November 25,
2019                      on use of cash collateral

                    JCM    Revise and edit draft final        $495.00     7.90       $3,910.50
                           cash collateral order (1.2);
                           draft email to and review
                           response from Mr. Romero
                           regarding edits to final cash
                           collateral order (.3); review
                           and respond to email from
                           Mr. Feurstein regarding total
                           funding commitment (.2);
                           review and respond to email
                           from Lenny's Painting
                           representative regarding
                           document request (.2);
                           review and respond to
                           emails from Mr. Battista
                           regarding edits to final cash
                           collateral order; review and
                           consider edits (.4); draft
                           email to Mr. Romero
                           regarding attendance at
                           hearing (.1); review and
                           respond to emails from Mr.
                           Romero regarding funding
                           request (.4); draft email to
                           Mr. Feurstein with funding
                           request from Debtor (.2);
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                          review email regarding
                          commission request for
                          insider; draft email to Mr.
                          Bensusan and Mr. Romero
                          regarding same (.2); revise
                          and edit draft final cash
                          collateral order; draft and
                          respond to emails regarding
                          same (.8); review email
                          from Mr. Romero regarding
                          Johnson Controls contract
                          issues; review attachments
                          (.3); prepare for hearing on
                           11/26 (3.6).
                    MM    Updated hearing outline for         $350.00     1.60        $560.00
                          11/26 hearing (0.4). Review
                          revisions to cash collateral
                          order from secured lender
                          (0.3). Review motions set
                          for hearing on 1 1/26 in
                          preparation for same (0.9).
                    LRT   Read emails re budget and           $255.00     1.00        $255.00
                          pending items. Proposed
                           final order on cash
                           collateral. Prepare notice of
                           filing. Review updated title
                           report.
                     MR    Receipt of Notice of Hearing       $180.00     0.20         $36.00
                           on Motion for Approval of
                           Pest Elimination Services
                           Agreement [ECF No. 160];
                           review local rules for proper
                           service list for certificate of
                           service of same
                    PDR    Review issues re: "challenge       $695.00     0.30        $208.50
November 26,
2019                       period" for cash collateral
                           order
                    JCM    Review and respond to              $495.00     9.30       $4,603.50
                           email from Mr. Feurstein
                           regarding new default dates
                           (.2); review and respond to
                           email from Mr. Feurstein
                           regarding need for debtor to
                           use funds prior to funding
                           from secured lender
                           (.3);review email from Mr.
                           Chu regarding unit owner
                           payments (.2); review and
                           respond to emails from Mr.
                           Battista and Mr. Zaron
                           regarding edits to final cash
                           collateral order (.3); review
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            and respond to emails from
            Mr. Feurstein regarding use
            of cash collateral and terms
            of financing (.2); review and
            respond to request for draft
            of bidding procedures
            motion (.2); call with UST
            regarding issues with Mr.
            Romero application;
            consider how to address
            (1.6); prepare for and attend
            hearing on 11/26 (5.5);
            review emails between Mr.
            Andron and Mr. Chu
            regarding bed tax payment
            to county (.3); review and
            respond to emails regarding
            upload of final cash
            collateral order (.2); call
            with Mr. Feurstein regarding
            hearing on 1 1/26 and
            post-hearing issues (.3);
     MM     Review additional revisions           $350.00     4.60       $1,610.00
            to proposed final cash
            collateral order (0.2).
            Update hearing outline to
            include substantial revisions
            with regard to cash collateral
            and financing (0.5).
            Additional preparation for
            hearing including review of
            docket and outstanding
            motions (0.5). Attend
            hearing on cash collateral
            motion, motion to pay taxes,
            application to employ Udell
            and application to employ
            Jairo (3.0). Call with
            Melissa Groisman re: unit
            owner reconcilitation issues
            (0.2). Correspondence with
            Jairo re: reconciliations and
            ledgers to unit owners (0.2).
      LRT   Calculate plan track                  $255.00      1.70       $433.50
            deadlines and email Jim re
            same (.3). Review and
            update pending items memo
            (.7). Work on
            contracts/leases spreadsheet
            (.7).
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November 27,        JCM   Draft and respond to emaisl        $495.00      1.90        $940.50
2019                      regarding orders that need to
                          be uploaded as a result of
                          hearing on 11/26 (.4); call
                          with Ms. Armengol
                          regarding Romero
                          application (.3); review and
                          respond to emails regarding
                          funding requests from
                          Debtor (.2); review and
                          respond to emails regarding
                          payments authorized by
                          second interim cash
                          collateral order v. payments
                          needed to be paid under the
                          final cash collateral order
                          (.3); review draft letter to
                          unit owners; review and
                          respond to emails regarding
                           same (.7);
                    LRT    Revise Order re Tourist            $255.00     0.10         $25.50
                           Taxes.

December 2,         JCM    Review email regarding unit        $495.00     0.10         $49.50
2019                       owner notices.

                     MM    Correspondence with                $350.00     0.80        $280.00
                           secured lender re: bid
                           procedures exhibits (0.2).
                           Correspondence with
                           Melissa Groisman re:
                           notices to unit owners (0.2).
                           Email to Jairo re: notice
                           address for unit owner (0.2).
                           Call with Rodrigo da Silva
                           re: unit owner objections
                           (0.2).
December 3,         JCM    Draft email regarding need         $495.00     6.50       $3,217.50

2019                       to draft proposed order
                           denying motion to lift stay
                           (.1); draft email to Mr.
                           Romero and Mr. Bensusan
                           regarding status of
                           discussions with prospective
                           broker (.1); review budget
                           line items and financing
                           needs in short and long term
                           (1.2); review order
                           authorizing payment of
                           tourist development tax;
                           review and respond to
                           emails from Mr. Chu and
                           Mr. Romero regarding same
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                         (.2); call with Mr. Davis
                         regarding motion to lift stay;
                         draft and respond to emails
                         regarding same (.4); review
                         and respond to emails from
                         Ms. Israel regarding the final
                         cash collatateral order (.3);
                         review and respond to email
                         from Ms. Armengol
                         regarding UST position on
                         motions before the court on
                          12/4 (.2); review email and
                         voicemail re: prepetition
                         counsel for Debtor and stay
                         relief issues (.2); prepare for
                         hearing on 12/4 (3.8).
                   MM    Review executed order               $350.00     0.50        $175.00
                         authorizing payment of
                         prepetition tourist
                         development taxes (0.1).
                         Develop strategy re: motions
                         for stay relief given newly
                          filed adversary (0.2).
                          Review status, upcoming
                          deadlines and outstanding
                          tasks (0.2).
                    MR    Compile documents and              $180.00     0.50         $90.00
                          prepare JCM for hearing on
                          12-4-19
                   JCM    Draft email to Mr. Romero          $495.00     5.30       $2,623.50
December 4,
2019                      and Mr. Bensusan regarding
                          hearing today and matters to
                          be heard (.2); call with Ms.
                          Armengol regarding calls
                          and correspondence from
                          counsel for Costa Monrovia
                          (.4); draft email and review
                          response from Mr. Romero
                          regarding same (.2); review
                          and respond to email from
                          Mr. Romero regarding
                          funding request pursuant to
                          second interim cash
                          collateral order; draft email
                          to Mr. Feurstein regarding
                          same (.2); draft email to Mr.
                          Udell with the order
                          approving his retention (.1);
                          review email and draft order
                          denying motion for stay
                          relief (.3); draft email to Mr.
                          Feurstein confirming no
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                          default with respect to the
                          Plan filing date (.1); prepare
                          for and attend hearing on
                          various motions (3.4);
                          review and consider email
                          from Mr. Romero regarding
                          friends and family renter
                          issue (.3); review email
                          regarding meeting with
                          proopective broker (.1);
                   MM     Review information from            $350.00      2.70        $945.00
                          Jairo re: notices to unit
                          owners (0.1).
                          Correspondence with
                          Melissa Groisman re:
                          notices and payments to unit
                          owners (0.2). Draft proposed
                          order denying Costa 402's
                          motion for stay relief (2. 1).
                          Review final cash collateral
                          order and circulate (0.2).
                          Review issues raised by
                          Debtor re: unit owner's
                          friends and family program
                          (0.1).
December 5,        JCM    Research regarding funds            $495.00     4.00       $1,980.00

2019                      held in escrow by Stewart
                          Title (3.8); review and
                          respond to email from Mr.
                          Romero regarding potential
                          broker (.1); review and
                          respond to emails with Mr.
                          Romero regarding funding
                          requests (.1);
                    LRT   Numerous emails re                  $255.00     0.40        $102.00
                          indemnification contract
                          with STG.
                    MR    Review Final Order                  $180.00     0.20          $36.00
                          Granting Expedited Motion
                          of the Debtor for Entry of
                          Interim and
                          Final Orders (I) Authorizing
                          the Debtor to (A) Use Cash
                          Collateral Nunc Pro Tunc to
                          September 19, 2019, (B)
                          Obtain Secured Postpetition
                          Financing from 777 North
                          Ocean Drive, LLC, and (ii)
                          Granting Adequate
                          Protection [ECF No. 169];
                          calculate and calendar all
                          dates and deadlines; review
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                           local rules for proper service
                           list for certificate of service

December 6,         JCM    Review and analyze condo            $495.00      2.40       $1,188.00

2019                       declaration and rules and
                           regulation promulagated by
                           Debtor on July 12, 2019
                           (1.4); revise and edit draft
                           order denying motion to lift
                           stay; draft email regarding
                           same (.7); review and
                           respond to email and
                           proposed contract regarding
                           formula 1 racing (.3).
December 9,         JCM    Revise and edit draft Order         $495.00      1.50        $742.50

2019                       denying motion to lift stay;
                           draft email regarding same
                           (.5); review and respond to
                           various emails regarding
                           rules for competing orders
                           and submission to court (.3);
                           review and consider
                           purported notice of
                           termination of rental
                           management agreement and
                           accompanying email; draft
                           email regarding same (.3);
                           review and consider email
                           from Mr. Romero regarding
                           insurance coverage issues;
                           draft email to Mr. Feurstein
                           regarding same (.3); review
                           and respond to email from
                           Mr. Romero regarding
                           approval of pest control
                           services contract (.1).
                     LRT   Review emails re contract.           $255.00     0.10          $25.50



                      IH   Review local rules for               $180.00      0.20         $36.00
                           proper service list for
                           certificate of service of
                           Order Authorizing Debtor's
                           Motion for Approval of Pest
                           Elimination Services
                           Agreement.
                    JCM    Research regarding funds             $495.00      4.50      $2,227.50
December 10,
2019                       held by Greenberg Traurig
                           for Stewart Title; draft email
                           to Mr. Sharpe regarding
                           same (3.4); review and
                           respond to email from Mr.
                            Sharpe regarding escrowed
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                            funds (.3); research caselaw
                            regarding executory nature
                            of indemnity agreements
                            (.6); review and respond to
                            email from Mr. Romero
                            regarding financing request
                            (.1); draft email to Mr.
                            Feurstein with documents
                            provided by insurance
                            broker (.1).
                      LRT   Exchange emails and               $255.00      0.20         $51.00
                            discuss CHPO condo assn.

December 1 1 ,        JCM   Draft email to Mr. Feurstein      $495.00      3.10       $1,534.50
2019                        regarding Mr. Romero's
                            request for input regarding
                            timing of funding for
                            Debtor's funding request
                            (.1); research regarding
                            release of funds held in
                            escrow for Stewart Title
                            (2.1); review and respond to
                            email from Mr. Flail
                            regarding escrowed funds
                            for Stewart Title (.4); review
                            and respond to email
                            regarding renewal of
                            insurance issue; consider
                            how to resolve; draft email
                            to Mr. Feurstein regarding
                            same (.4); review email
                            regarding need to amend
                             schedules (.1).
December 12,          JCM    Draft and respond to email        $495.00     0.50        $247.50

2019                         regarding confirmation of
                             non-default status under
                             Final Cash Collateral Order
                             regarding date to file Plan
                             and Disclosure Statement
                             (.2); draft email to Mr.
                             Romero regarding status of
                             discussions with prospective
                             broker (.1)1 draft and review
                             response to email to Mr.
                             Romero regarding status of
                             broker negotiations (.2).
                       MM    Review status and strategy        $350.00     0.70         $245.00
                             for completing bidding
                             procedures motion and order
                             (0.2). Consider strategy re:
                             open insurance issues (0.2).
                             Participate in call with
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                          Kassower re: special counsel
                          (0.3).

December 13,        JCM   Draft email to Mr. Hall            $495.00      5.20       $2,574.00

2019                      regarding need to discuss
                          Debtor funds held in escrow
                          by Stewart Title (.1); draft
                          email to Mr. Feurstein
                          regarding confirmation of no
                          default pursuant to final
                          cash collateral order; review
                          and respond to response
                          from Mr. Feurstein (.2);
                          review email and
                          attachments from Mr.
                          Romero regarding insurance
                          renewal issue; call with Mr.
                          Romero regarding same (.6);
                          review and respond to email
                          from Ms. Read regarding
                          request to discuss hotel
                           operation issues (.2); call
                           with Mr. Hall of Stewart
                           Title regarding escrow
                           issues; draft email to Mr.
                           Feurstein regarding same
                           (.6); review email from Mr.
                           Davis regarding use of
                           rooms during holidays; draft
                           email to Mr. Romero
                           regarding same (.1); review
                           and consider email from Ms.
                           Israel inquring about
                           payment of adequate
                           protection; draft email to
                           Mr. Romero regarding same
                           (.1); respond to email from
                           Ms. Israel regarding budget
                           needed as attachment to
                           final cash collateral order
                           (.2); research regarding
                           executory nature of
                           indemnity contracts (3.1).
December 15,        JCM    Review email from Mr.              $495.00     0.10          $49.50

2019                       Battista regarding Stewart
                           Title issue.
December 16,        JCM    Review emails from Mr.             $495.00      1.70        $841.50

2019                       Romero and Ms. Israel
                           regarding status of adequate
                           protection payments to
                           United Leasing; draft emails
                           to Ms. Israel regarding same
                           (.4); review and respond to
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                           emails regarding budget
                           missing from Final Cash
                           Collateral Order (.2); review
                           and respond to emails
                           regarding insurance
                           coverage and downpayment
                           for financing (.4); review
                           email from Mr. Romero
                           regarding status of 6 month
                           funding request (.1); call
                           with Mr. Romero regarding
                           insurance funding needs and
                           deadlines (.4); review email
                           from Mr. Romero regarding
                           specific funding needs (.2).
                     MR    telephone conference with         $180.00     0.30        $54.00
                           Judge Cristofs chambers
                           regarding cash collateral
                           order; prepare and finalize
                           Amended Cash Collateral
                           Order as to budget
December 17,        JCM    Review email from Mr.             $495.00     0.90       $445.50

2019                       Feurstein regarding
                           insurance financing (.1);
                           review and respond to email
                           regarding exclusivity
                           deadline (.1); review emails
                           regarding insurance
                           premium financing and
                           analyze orders needed (.5);
                           review and respond to email
                           regarding Itekz financing
                           (.2).
December 18,         MM    Review verified statement         $350.00     0.50       $175.00

2019                       and claims filed by multiple
                           creditors represented by
                           Tripp Scott (0.2). Review
                           and prioritize all upcoming
                           deadlines and necessary
                           tasks (0.3).
                     LRT   Review email and insurance        $255.00     0.20        $51.00
                           docs. Email client re same.

                     MR    Review Amended Final              $180.00     0.30        $54.00
                           Order Granting Expedited
                           Motion of the Debtor for
                           Entry of Interim and Final
                           Orders (I) Authorizing the
                           Debtor to (A) Use Cash
                           Collateral Nunc Pro Tunc to
                           September 19, 2019, (B)
                           Obtain Secured Postpetition
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                           Financing from 777 North
                           Ocean Drive, LLC, (II)
                           Granting Adequate
                           Protection, and (III)
                           Scheduling Final Hearing
                           [ECF No. 189]; calendar all
                           dates/deadlines; review local
                           rules for proper service list
                           for certificate of service of
                           same

December 19,        MM     Review bidding procedures           $350.00     5.10       $1,785.00
2019                       motion to be consistent with
                           revised bidding procedures
                           order (2.3). Revise bidding
                           procedures order (0.2)
                           Correspondence with Jerry
                           and Paul re: revised bidding
                           procedures motion (0.1).
                           Correspondence with
                           lender's counsel re:
                           confirmation of no default
                           (0.2). Review significant
                           revisions to purchase and
                           sale agreement from secured
                           lender (1.6).
                           Correspondence with Jairo
                           re: status of broker
                           engagement, commercial
                           tenants (0.2). Revise motion
                           to pay USPF insurance (0.3).
                           Revise USPF insurance
                           order (0.2).
                      PH   Review forms from USPF.             $245.00      1.20       $294.00
                           Draft motion to approve
                           premium finance agreement
                           and order granting same.
                           Discuss issues re same with
                           Meaghan Murphy.
December 27,        JCM    Review emails regarding             $495.00     0.40         $198.00

2019                       status of JLL negotiations
                           (.2); call with Ms. Murphy
                           regarding status of JLL
                           negotiations and related
                           business operation issues
                           (.2).
                     MM    Correspondence with Jairo           $350.00     0.40         $140.00
                           re: broker (0.1).
                           Correspondence with Jerry
                           re: confirmation of no
                           default, status of PSA and
                           related items (0.3).
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                       MM    Consider issues re: delay in       $350.00     0.20         $70.00
                             retaining broker and
                             correspondence with Jerry
                             re: same (0.2).
December 30,           JCM   Review letter from Costa           $495.00     0.40        $198.00
2019                         402 to Judge Bidwell;
                             review emails between Mr.
                             Kassower and Mr. Davis
                             regarding same (.4).
January 2, 2020        LRT   Email Jairo re deadline to         $260.00     0.10         $26.00
                             assume/reject leases for
                             non-residential real property.
January 3, 2020        JCM   Call with Ms. Fgigeles             $495.00     1.10        $544.50
                             regarding PSA that was not
                              closed prior to bankruptcy
                              (.2); review email
                              correspondence between Mr.
                              Udell and Mr. Romero
                              regarding tax appeal issues
                              (.3); review draft HMA (.6).
January 6, 2020        JCM    Review and respond to             $495.00     0.20         $99.00
                              email from Mr. Romero
                              regarding status of
                              discussions with potential
                              broker (.2).
January 7, 2020        JCM    Review email regarding            $495.00     0.10         $49.50
                              information needed for
                              amending schedules. (.1).
January 10, 2020       JCM    Draft and respond to emails       $495.00     0.20         $99.00
                              with Mr. Romero regarding
                              update regarding broker (.2)
                        MM    Review re-notices of hearing      $365.00     3.80       $1,387.00
                              on pending matters filed by
                              court (0.2). Correspondence
                              with Jerry re: confirmation
                              of no default (0.3). Legal
                              research re: standard on
                              extension of time to file 523
                              complaint (0.6). Legal
                              research re: exception to
                              discharge for actually
                              fraudulent transfers (0.6).
                              Legal research re: exception
                              to discharge for
                              constructively fraudulent
                              transfers (0.4). Draft
                              response in opposition to
                              Costa Investors motion to
                              extend time to file 523
                              complaint (1.7).
                        MR    Receipt of Re-Notice of           $180.00     0.20          $36.00
                              Hearing on Motion for
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                          Authorization to (I) Enter
                          Into Insurance Premium
                          Financing Agreement and
                          (II) Pay All Insurance
                          Obligations [ECF 214];
                          update calendar; review
                          local rules for proper service
                          list for certificate of service
                          of DE 214
January 13, 2020    JCM   Review and respond to               $495.00      0.80       $396.00
                          email regarding Ms. Terry
                          action against Liberty
                          Grande; call with Mr.
                          Romero regarding same (.4);
                          review email from Ms.
                          Feigeles regarding
                          alternative assurances and
                          escrow agreement; draft
                          email to Mr. Romero
                          regarding same (.3); review
                          email from Ms. Barzilay
                          regarding interest in
                          purchasing property (.1).
                    MM    Revise and finalize response         $365.00     0.70       $255.50
                          to Costa Investors motion to
                          compel 2004 examination
                          (0.3). Revise and finalize
                          response to Costa Investors
                           motion to extend time to file
                           523 complaint (0.2). Review
                           correspondence concerning
                          tax appeal status (0.2).
January 14, 2020    JCM   Review surety and escrow             $495.00     1.30       $643.50
                          documents; draft email to
                           Ms. Feigeles regarding
                           same. (.7); review email
                           from Ms. Israel regarding
                           alleged nonpayment of
                           monthly payment for gym
                           equipment (.2); draft email
                           to Mr. Romero regarding
                           same (.1); draft email to Ms.
                           Israel regarding payment
                           sent (.1); draft email to Ms.
                           Israel request invoice from
                           United Leasing; review
                           response from Ms. Israel
                           (.2).
                     MR    Compile documents and               $180.00     0.20        $36.00
                           prepare JCM for hearing on
                           1-15-20 re: Motion to Enter
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                          Financing Agreement and
                          Pay Insurance

January 15, 2020    JCM   Review email from Ms.                $495.00     0.30       $148.50
                          Feigeles regarding surety
                          bond (.1); draft email to Mr.
                          Romero regarding Surety
                          Bond (.1); draft email to Mr.
                          Romero with invoice from
                          United Leasing (.1).
                    LRT   Read and reply to email re           $260.00     0.20        $52.00
                          settling tax issues.

January 16, 2020    PDR   Review insurance financing           $695.00     0.30       $208.50
                          motion

                    JCM   Review chart of information          $495.00     0.10        $49.50
                          for amendments to
                          schedules (.1).
January 17, 2020    JCM   Draft email to Mr. Romero            $495.00     0.20        $99.00
                          regarding surety bond and
                          review response (.1); review
                          emails regarding payment of
                          insurance premium and
                          threat to cancel (.1).
January 20, 2020    JCM   Review email from Mr.                $495.00     0.20        $99.00
                          Romero including
                           TripAdvisor review;
                           consider and respond.
January 21, 2020    JCM    Review MOR for December             $495.00     0.20        $99.00
                           (.2).

January 22, 2020    JCM    Draft email to Mr. Romero           $495.00     2.00       $990.00
                           regarding broker (.1); review
                           email from Ms. Feigeles,
                           draft email to Mr. Romero
                           regarding surety bond (.2);
                           review escrow agreement
                           and related surety bond
                           documents provided by Mr.
                           Romero (.7); review and
                           respond to emails regarding
                           UST fees and payment (.4);
                           draft email to Mr. Romero
                           regarding collections
                           counsel (.1); call with Mr.
                           Rumpel of JLL regarding
                           market and sale process for
                           Debtor's assets (.5).
                    MM     Review JLL qualifications           $365.00     0.50       $182.50
                           packet (0.5).

                     MR    Receipt of Order Granting           $180.00     0.10        $18.00
                           Debtor's Motion For
                           Authorization To (I) Enter
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                          Into Insurance Premium
                          Financing Agreement And
                          (II) Pay All Insurance
                          Obligations [ECF No. 223];
                          review order and local rules
                          for proper service list for
                          Certificate of Service of DE
                          223
January 24, 2020    JCM   Review and respond to               $495.00      1.00       $495.00
                          email from Ms. Feigeles
                          regarding surety bond (.1);
                          draft email to Mr. Romero
                          regarding same (.1); review
                          surety bond information
                          received from Mr. Romero;
                          forward to Ms. Feigeles (.2);
                          review and consider email
                          from Mr. Romero regarding
                          various issues to discuss
                          regarding operations; call
                          with Mr. Romero regarding
                          same (.6).
                    LRT   Exchange emails with Jairo           $260.00     0.10        $26.00
                          re trademark.

January 27, 2020    JCM   Review and respond to                $495.00     1.90       $940.50
                          email from Mr. Shelomith
                          regarding his client's
                          prepetition judgment against
                          the Debtor (.2); review state
                          court pleadings, proof of
                          claim and correspondence
                          from Mr. Shelomith
                          regarding creditor Betje
                          Investments; draft email to
                          Mr. Romero regarding same
                          (.8); review, consider and
                          respond to email
                          memorandum from Mr.
                          Kassower regarding
                          recommendation for
                          collection of delinquent
                           shared facilities dues; draft
                           email to Mr. Romero
                          regarding same (.5); review
                           email string from Mr.
                           Romero detailing unit owner
                           abuses and potential
                           remedies; respond to same
                           (.1); call with Mr. Kassower
                           regarding potential
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                              expansion of retention and
                              related issues (.4);

                        MM    Review correspondence re:           $365.00     0.20            $73.00
                              potential litigation targets,
                              retention of collections
                              attorney (0.20).
January 28, 2020        JCM   Review accounting of                $495.00      1.10          $544.50
                              revenue for Unit #N222,
                              draft email to Mr. Shelomith
                              regarding same (.3); draft
                              email to Mr. Feurstein
                              regarding proposal from Mr.
                              Kassower regarding
                              collections (.1); call with
                              Mr. Romero regarding
                              dispute with Airstron,
                              review and analyze contract
                              between Debtor and
                              Airstron; draft email
                              memorandum regarding
                              defaults and remedies and
                              send to Mr. Romero (.7);
                        LRT   Exchange emails re Airstron         $260.00     0.20            $52.00
                              (.2).

January 29, 2020        JCM   Review and consider email           $495.00     0.50           $247.50
                              from Ms. Read regarding
                              Evolution Management's
                              recommendation to spend
                              additional funds on specific
                              marketing; draft email to
                              Mr. Romero regarding
                              availability of funds and
                              response to other substantive
                              matters in email (.5).
January 3 1 , 2020      JCM   Review email from Mr.              $495.00      0.20            $99.00
                              Romero regarding additional
                              marketing costs and budget
                              shortfall (.2).


               Totals                                                       472.80       $216,307.50
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                             MELAND RUSSIN & BUDWICK
                                      PROFESSIONAL ASSOCIATION

                                   3200 SOUTHEAST FINANCIAL CENTER
                                    200 SOUTH BISCAYNE BOULEVARD
                                          MIAMI, FLORIDA 33131




                                                                              TELEPHONE (305) 358-6363


Costa Hollywood Property Owner, LLC                                           FACSIMILE (305) 358-1221


c/o Moses Bensusan                                                           FID# XX-XXXXXXX

20 1 N Ocean Drive                                                           February 26, 2020
Hollywood, FL 33019

Attention:
                                                                             Matter #:           5589-9

                                                                             Invoice #:           69841



RE:    Costa Hollywood Property Owner - CI 1 BKC (Litigation)



DATE              LAWYER      DESCRIPTION                            RATE    HOURS               FEE


September 27,         JCM     Review Motion to lift                $495.00      0.50              $247.50
2019                          automatic stay; draft email
                              recommending response
                              (.2); review and respond to
                              emails regarding same (.2);
                              draft email to Mr. Romero
                              regarding same (.1).
                      MM      Review filed motion for              $350.00      0.20               $70.00
                              relief from stay (0.1).
                              Correspondence with state
                              court counsel re: stay relief
                             motion (0.1).
October 2, 2019       PDR     Review results of hearings           $695.00      0.80             $556.00
                              and follow up issues (.3);
                              Review motions for stay
                             relief filed by PSO and
                              Costa 402 and consider
                             response to same (.5)
October 4, 2019       PDR    Review UST Emergency                  $695.00      0.80             $556.00
                             Motion to Dismiss and
                             consider responses to
                             arguments in motion
                      MM     Review motion to dismiss              $350.00      0.60             $210.00
                             filed by UST (0.3). Consider
                             motion to dismiss strategy
                             (0.2). Call with Tom
                             Lehman re: 363 sale (0.1).
October 7, 2019       PDR    Review joinders to UST                $695.00      0.20             $139.00
                             motion (.2)
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                        MM    Review strategy re: motion        $350.00     0.30        $105.00
                             to dismiss filed by UST
                              (0.2). Review joinder in
                              motion to dismiss filed by
                              Evolution (0.1).
October 8, 2019        PDR    TC from Victor Rones re:          $695.00     0.40        $278.00
                              motion to dismiss filed by
                              UST; Review joinders filed
                             by unit owners;
                        MM    Review notice of hearing on       $350.00     2.90       $1,015.00
                             UST motion to dismiss or
                              convert (0.1). Review
                             upcoming deadlines (0.2).
                              Work on response to UST's
                              emergency motion to
                              dismiss (2.1). Review
                             background information re:
                              Costa Investors and alleged
                              security interest in property
                              (0.4). Review joinders filed
                             to motion to dismiss (0.1).
October 10, 2019       PDR   Review and revise draft            $695.00     1.30        $903.50
                             response to UST Motion to
                             Dismiss;
October 11, 2019       PDR   Review and revise further          $695.00     0.40        $278.00
                             revised draft of response to
                             UST MTD
                       JCM   Revise and edit response to        $495.00     0.80        $396.00
                             UST Motion to Dismiss;
                             draft email regarding same
                             (.8).
                        PH   Research rules re removal.         $245.00     0.40         $98.00
                             Communications with Jim
                             Moon re same.
October 14, 2019       JCM   Review and analyze motions         $495.00     0.70        $346.50
                             for relief from stay; draft
                             email regarding same (.7);
                       MM    Review revised response to        $350.00      0.40        $140.00
                             UST motion to dismiss
                             (0.2). Review order of
                             recusal and reassignment to
                             Judge Olson (0.1). Review
                             re-notices of hearing on
                             outstanding motions (0.1).
                       MM    Legal research re: purposes       $350.00      4.90       $1,715.00
                             of automatic stay (0.4).
                             Legal research re: standard
                             for stay relief under
                             362(d)(1) (0.5). Legal
                             research re: standard for stay
                             relief under 362(d)(2) (0.5).
                             Draft response in opposition
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                           to PSO Investment LLC's
                           motion for stay relief (1.5).
                           Draft response in opposition
                          to multiple unit owner's
                           motion for stay relief (1.4).
                           Correspondence with client
                           re: motions for stay relief
                           (0.2). Revise response in
                           opposition to multiple unit
                           owner's motion for stay
                           relief (0.4).
October 15, 2019    PDR    Consider issues raised by          $695.00     0.30        $208.50
                           unit owners in stay relief
                           motion and response to
                           same in consideration of
                           Debtor's view of facts
                     MM    Revise response to PSO's           $350.00     0.50        $175.00
                           motion for stay relief based
                           on additional information
                           from Jairo (0.5).
October 16, 2019     MM    Review Secured Lender's            $350.00     0.90        $315.00
                           response to UST motion to
                           dismiss (0.2). Prepare for
                           hearing on motion to
                           dismiss and motions for stay
                           relief (0.7).
October 17, 2019     MM    Attend hearing on UST              $350.00     6.20       $2,170.00
                           motion to dismiss, motions
                           for stay relief, cash collateral
                           and financing motion, and
                           critical vendor motion.
November 7,         PDR    Consider efforts by Victor         $695.00     0.40        $278.00
2019                       Rones, counsel for
                           non-creditor to take
                           discovery and potential for
                           MPO
                    JCM    Review email regarding             $495.00     0.20         $99.00
                           request from Mr. Rones for
                           deposition dates; consider
                           and respond.
November 8,         JCM    Prepare for and participate        $495.00     0.50        $247.50
2019                       in call with Mr. Rones to
                           discuss standing to conduct
                           discovery.
November 14,        JCM    Draft and transmit                 $495.00     0.60        $297.00
2019                       settlement communication
                           to Mr. Davis (.6).
November 27,        JCM    Review and consider                $495.00     0.60        $297.00
2019                       adversary complaint filed by
                           MaxCom Advisors; draft
                           emails regarding same (.6).
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December 2,         MM    Review adversary complaint        $350.00      0.30       $105.00
2019                      filed by Maxcom.

December 5,         MM    Legal research re: relief         $350.00      1.60       $560.00
2019                      from stay where case is in
                          pleadings stage (0.6). Legal
                          research re: relief from stay
                          when identical adversary is
                          pending (0.5). Revise draft
                          proposed order denying
                          Costa 402's motion for stay
                          relief (0.5).
                     PH   Review pending state court        $245.00      0.40        $98.00
                          cases re appellate matters.

December 6,         PDR   Review draft order on Stay        $695.00      0.60       $417.00
2019                      Relief Motion

                    MM    Review and revise draft           $350.00      0.20        $70.00
                          proposed order denying
                          Costa 402 stay relief (0.2).
December 9,         PDR   Review additional                 $695.00      0.40       $278.00
2019                      arguments for proposed
                          order on stay relief motion
                    MM    Review additional revisions       $350.00      0.70       $245.00
                          to draft proposed order
                          denying Costa 402 motion
                          for relief from stay (0.3).
                          Review correspondence
                          from unit owner re:
                          purported cancellation (0.2).
                          Correspondence with Jairo
                          re: unit owner stay violation
                          (0.2).
                    LRT   Review proposed order on          $255.00      0.10        $25.50
                          stay relief.

December 10,        MM    Review order granting             $350.00      0.10        $35.00
2019                      Pamela Terry relief from the
                          stay (0.1).
December 11,        JCM   Review and analyze                $495.00      1.20       $594.00
2019                      MaxCom complaint;
                          consider defense; draft email
                          regarding same (.7); draft
                          email regarding requirement
                          to provide competing order
                          to opposing counsel and
                          request for same (.1); review
                          draft order submitted by
                          Costa 402; draft email to
                          Mr. Romero and Mr.
                          Bensusan regarding same
                          (.4).
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                    MM    Review deadlines in                  $350.00     0.20        $70.00
                          Maxcom adversary (0.2).

                    LRT   Email deadlines re                   $255.00     0.10        $25.50
                          MaxComm AR

                     MR   Review docket for Maxcom             $180.00     0.10        $18.00
                          AP; calendar dates/deadlines

December 12,        JCM   Review amended motion for            $495.00     0.20        $99.00
2019                      enforcement of settlement
                          agreement flied by Pamela
                          Terry in state court; consider
                          whether motion is consistent
                          with lift stay order issued by
                          bankruptcy court (.2).
December 13,        JCM   Review and analyze                   $495.00     0.50       $247.50
2019                      MaxCom's Motion to
                          Expedite or Abstain (.3);
                          draft email regarding same
                          to Mr. Romero and Mr.
                          Bensusan and to Mr.
                          Feurstein and Mr. Battista
                          (.2).
                    MM    Review and consider merits          $350.00      0.50       $175.00
                          of motion for expedited
                          ruling or to abstain filed by
                          MaxCom (0.5).
                    MM    Review strategy re: Stewart         $350.00      0.90       $315.00
                          Title and funds held by
                          Greenberg (0.5). Review
                          docket and pleadings for
                          Burya matter re: Stewart
                          reference to pending motion
                          (0.4).
December 14,        JCM   Review Court's Order lifting        $495.00      0.60       $297.00
2019                      automatic stay; draft email
                          to Mr. Bensusan and Mr.
                          Romero regarding same (.4);
                          draft email to Mr. Feurstein
                          regarding same; review
                          response (.2).
December 16,        PDR   Review Court's order                $695.00      0.40       $278.00
2019                      granting Costa 402 Stay
                          Relief Motion and consider
                          litigation issues
                    JCM   Review notice of filing of          $495.00      0.40       $198.00
                          Order lifting stay filed in
                          state court by Costa 402 (.1);
                          review email and attachment
                          from Mr. Udell regarding
                          tax appeal hearing date and
                          request for information
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                           needed for hearing (.2);
                          review email from Mr.
                           Kassower regarding state
                           court case (.1);
                    MM     Review notice of hearing on          $350.00     0.30       $105.00
                           MaxCom's motion for
                           expedited ruling on
                           adversary complaint (0.1).
                           Review issues for attention
                           in Jm's absence (0.2).
December 17,        JCM    Review Memorandum in                 $495.00     0.30       $148.50
2019                       Support filed by Costa 402
                           in state court case; draft
                           emails to Mr. Romero and
                           Mr. Kassower regarding
                           same (.3).
                    MM     Brief review of new                  $350.00     0.50       $175.00
                           pleadings in Costa 402 state
                           court case and consider
                           status prior to retention of
                           special counsel (0.5).
December 18,        MM     Call with Michael Kassower           $350.00     0.80       $280.00
2019                       re: retention application,
                           expedited relief, general
                           litigation strategy (0.3).
                           Email to Michael re: follow
                           up items (0.1). Review
                           Kassower retention
                           application (0.2). Review
                           Kassower affidavit (0.2).
                    MM     Call with Mike Kassower re:          $350.00     1.00       $350.00
                           possible automatic stay
                           violations (0.3). Email to
                           Steven Davis re: stay
                           violation (0.3). Email to
                           Alex Orlofsky re: stay
                           violation (0.4).
December 19,        PDR    Review issues caused by              $695.00     0.20       $139.00
2019                       Costa 402 violation of 14
                           day finality rule
                    MM     Correspondence with                  $350.00     0.20        $70.00
                           Kassower re: stay of state
                           court litigation (0.2).
December 24,        JCM    Review email from Mr.                $495.00     0.50       $247.50
2019                       Udell requesting
                           information for appeal (.1);
                           review motions filed by Mr.
                           Rones regarding 2004
                           examination and to extend
                           deadline to object to
                           dischargeability of a debt
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                              and email related to same
                              (.4).

                       MM     Review motion to compel               $350.00     0.80       $280.00
                              2004 examination filed by
                              Victor Rones (0.2). Review
                              motion to extend time to file
                              dischargeability complaint
                              filed by Victor Rones (0.2).
                              Email to client re: filed
                              motions, strategy (0.3).
                              Review correspondence
                              from Rob Udell (0.1).
December 27,           JCM    Review Motion to Compel               $495.00     0.80       $396.00
2019                          2004 examination and
                              motion to extend 523
                              deadline filed by Mr. Rones;
                              review emails regarding
                              same (.4); review lawsuit
                              filed in state court by
                              Visualscape; review emails
                              regarding same (.4).
                        MM    Correspondence with                   $350.00     0.50       $175.00
                              Kassower re: new lawsuit
                              (0.2). Review new lawsuit
                              filed against Debtor (0.2).
                              Review and approve
                              suggestion of bankruptcy for
                              new lawsuit (0.1).
                       LRT    Review new lawsuit and                $255.00     0.60       $153.00
                              email Jairo re amending
                              schedules. Update pending
                              items memo.
December 30,            MM    Review correspondence to              $350.00     0.20        $70.00
2019                          state court judge from
                              Steven Davis (0.2).
December 3 1 ,         JCM    Review motion for status              $495.00     0.20        $99.00
2019                          conference and emails
                              related to same. (.2).
                       LRT    Review emails re state court          $255.00     0.10        $25.50
                              proceeding.

January 2, 2020        JCM    Review letter to Judge                $495.00     0.80       $396.00
                              Bidwell and related email
                              from Mr. Kassower (.2); call
                              with Ms. Murphy regarding
                              inquiry regarding proposal
                              to MaxCom (.2); review
                              email from Mr. Kassower
                              regarding same (.2); review
                              proposed agreed order
                              regarding Maxcom
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                              adversary and email from
                              Mr. Kassower (.2).

                       MM    Review status and upcoming           $365.00     0.40       $146.00
                              deadlines and associated
                             tasks (0.2). Correspondence
                              with Kassower re: litigation
                              issues (0.2).
January 3, 2020        JCM    Review email                        $495.00     0.20        $99.00
                              correspondence regarding
                              status conference on Costa
                              402 Motion for TRO (.2).
January 6, 2020        JCM    Draft and respond to emails         $495.00      1.90      $940.50
                              with Mr. Kassower
                              regarding hearings in
                              bankruptcy court on
                              adversary proceeding and
                              response deadline and state
                              court hearing (.4); prepare
                              for and call with Mr. Stern
                              and Mr. Kassower regarding
                              state court and adversary
                              proceeding issues. (1.2);
                              review response to motion
                              to expedite; draft email to
                              Mr. Kassower regarding
                              same (.3).
                        MM    Review status of litigation         $365.00     0.40       $146.00
                              matters given upcoming
                              deadlines (0.2). Brief review
                              of proposed response to
                              MaxCom motion to expedite
                              adversary (0.2).
January 7, 2020        JCM    Draft and respond to emails         $495.00     0.50       $247.50
                              with Mr. Kassower inquring
                              about the MaxCom
                              adversary procedural posture
                              and upcoming hearing (.2);
                              review MaxCom settlement
                              offer and email from Mr.
                              Kassower regarding same
                              (.3).
                        MM    Confirm filing of response          $365.00     0.50       $182.50
                              to motion in adversary (0.1).
                              Determine and prioritize
                              outstanding matters (0.4).
January 9, 2020        JCM    Review and respond to               $495.00     0.40       $198.00
                              email from Mr. Kassower
                              (.1); call with Mr. Kassower
                              regarding litigation against
                              Debtor in state court (.3).
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                    MM    Legal research re: whether          $365.00      2.80       $1,022.00
                          Costa Investors is a "party in
                          interest" under Rule 2004
                          (0.4). Legal research re:
                          using Rule 2004 for an
                          improper purpose or scope
                          (0.3). Review background
                          documents concerning
                          claims by Costa Investors,
                          including state court
                          pleadings, appeal
                          documents, and proof of
                          claim (0.5). Draft response
                          in opposition to Costa
                          Investor's motion to compel
                          2004 examination (1.6).
January 10, 2020    JCM   Review and edit draft                $495.00     1.40        $693.00
                          response to Motion to
                          Compel 2004 Examination
                          (.9); review and edit draft
                          response to Motion to
                          Extend Exclusivity; research
                          regarding standard for
                          extension (.5).
January 13, 2020    JCM   Revise and edit response to          $495.00     1.90        $940.50
                          Motion to Extend
                          Exclusivity; draft and
                          respond to emails regarding
                          same (.6); review email
                          from Mr. Udell regarding
                          property tax appeal (.2);
                          review and comment on
                          draft proposed Order on
                          MaxCom Motion to abate
                          adversary; draft email
                          regarding same (.4); review
                          and analyze transcript of
                          hearing to determine Court's
                          intent with respect to
                          non-movant relief from the
                          automatic stay (.7).
                    MM    Review and consider                  $365.00     0.80        $292.00
                          counsel's proposed order
                          after hearing on motion to
                          expedite filed in adversary
                           (0.3). Review special
                           counsel correspondence re:
                           adversary hearing order
                           (0.2). Brief review of
                           adversary hearing transcript
                          to determine extent of
                          potential stay relief (0.3).
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                     MR   Compile exhibits; revise and         $180.00     0.50        $90.00
                          finalize Debtor's Response
                          in Opposition to Motion to
                          Compel 2004 Examination
                           [DE 197]
January 14, 2020    JCM   Review and respond to                $495.00     0.80       $396.00
                          email from Ms. Armengol
                          regarding UST position on
                          motions set for hearing on
                           1/15/20 (.1); review and
                          consider email memo from
                          Mr. Kassower and proposed
                          order on MaxCom Motion
                          to Expedite or Abstain; draft
                          email to Mr. Kassower
                          regarding same (.6); review
                          and respond to email from
                          Mr. Udell regarding
                          bankruptcy court approval of
                           any settlement Broward
                           County Property Appraiser
                           (.1).
                    MM     Call with Mike Kassower re:         $365.00     0.40       $146.00
                          adversary issues (0.2).
                           Consider strategy re:
                          requests by Orlofsky
                          concerning other unit
                           owners and turning over
                           association (0.2).
                     MR    Compile documents and               $180.00     0.20        $36.00
                          prepare JCM for hearing on
                           1-15-20 regarding Motion to
                           Compel Deposition
January 15, 2020    PDR    Review results of hearings          $695.00     0.30       $208.50
                           on

                           1) Motion to Extend Time to
                           File Section 523 Complaint
                           Objecting to
                           Dischargeability of a Debt
                           [DE 196]


                           2) Motion to Compel [DE
                           197]


                           3) Motion for Authorization
                           to (I) Enter Into Insurance
                           Premium Financing
                           Agreement and (II) Pay
                           Alllnsurance Obligations
                           [DE 198]


                           4). Debtor's Expedited
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                          Motion to Extend
                          Exclusivity Period to file
                          Plan and Solicit Acceptances
                          [DE 211]
                    JCM   Review, consider and                $495.00       3.90       $1,930.50
                          respond to email from Mr.
                          Udell regarding status of tax
                          appeal negotiations and
                          process for approving
                          settlement in banrkutpcy
                          (.2); prepare for and attend
                          hearing on Burya Motions
                          and Debtor's Motions (3.6);
                          review email from Mr.
                          Davis regarding potential for
                          settlement; draft email to
                          Mr. Romero regarding same
                          (.1).
                    MM    Prepare for hearing on              $365.00       2.60        $949.00
                          pending motions (0.7).
                          Attend hearing on pending
                          motions (1.2). Revise order
                          granting motion to extend
                          exclusivity (0.1). Revise
                          order granting USPF motion
                          (0.1). Draft order denying
                          Costa Investors motion to
                          extend time to object to
                          dischargeability (0.2). Draft
                          order denying Costa
                          Investors motion to compel
                          Debtor's 2004 exam (0.2).
                           Correspondence with Jairo
                          re: United Leasing (0.1).
January 16, 2020    JCM   [DO NOT BILL] Attend                     $0.00    1.00           $0.00
                          Motion for Status
                           Conference Regarding
                          Litigation between Costa
                          402 and Debtor (1.0).
                    JCM   Review draft Orders from            $495.00       0.20         $99.00
                          hearing on Jan. 15; draft
                          email regarding same (.2).
January 17, 2020    JCM   Review complaint filed in           $495.00       0.60        $297.00
                           state court naming Debtor as
                          defendant; consider
                          response; draft email
                          regarding same (.3); review
                           and consider email from Mr.
                          Kassower regarding his firm
                          prosecuting collections
                           actions on unpaid
                           assessments (.1); review
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                           Order on MaxCom's Motion
                           to Expedite and email from
                           Mr. Kassower regarding
                           same (.2).
                     MM    Review new lawsuit naming            $365.00     0.60       $219.00
                           Debtor as junior lienholder
                           (0.3). Review status of entry
                           of orders from 1/15 hearing
                           (0.2). Correspondence with
                           Jairo re: entered order (0.1).
January 20, 2020     MM    Review correspondence                $365.00     0.10        $36.50
                           from special counsel re:
                           order entered in adversary,
                          possibility of settlement
                          negotiations.
January 21, 2020    LRT    Review mortgage                      $260.00     0.10        $26.00
                           foreclosure litigation filed
                          naming debtor and reply to
                           email.
January 22, 2020    JCM    Review Julio Wajs                    $495.00     0.30       $148.50
                           complaint; draft email to Mr.
                           Romero and Mr. Bensusan
                          regarding same.
                     MM    Review and approve filing            $365.00     0.10        $36.50
                           of suggestion of bankruptcy
                           in newly filed state court
                           foreclosure matter (0.1).
                     MR    Review Complaint re: Wajs            $180.00     0.40        $72.00
                          v. CHPO; prepare
                           Suggestion of Bankruptcy
                          re: same [.2]; Receipt of
                           Order Denying Costa
                          Investors LLC's Motion to
                           Compel the 2004 Deposition
                           of the Corporate
                          Representative of Costa
                          Hollywood Property Owner
                          LLC [ECF No. 225]; review
                           Order and Local Rules for
                          proper service list for
                           Certificate of Service of DE
                          225 [.2]
                     MR   Receipt of Order Denying              $180.00     0.10       $18.00
                           Costa Investors LLC's
                          Motion for Extension of
                          Time to Object to Notice of
                          Dischargeability [ECF No.
                          224]; review order and local
                          rules for proper service list
                          for Certificate of Service of
                          DE 224
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January 27, 2020      JCM   Draft email to Mr. Udell          $495.00     0.20          $99.00
                            regarding status of
                            settlement negotiations (.1);
                            review response from Mr.
                            Udell regarding same (.1).


             Totals                                                      66.70       $28,115.00
